Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 1 of 293 PageID #: 48701
                                                                                   1



    1                    IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
    2                             MARSHALL DIVISION

    3     OPTIS WIRELESS TECHNOLOGY,          (   CAUSE NO. 2:19-CV-066-JRG
          LLC., et al,                        )
    4               Plaintiffs,               (
                                              )
    5     vs.                                 (
                                              )
    6     APPLE, INC.,                        (   AUGUST 10, 2021
                                              )   MARSHALL, TEXAS
    7                Defendant.               (   9:00 A.M.

    8     ______________________________________________________________

    9

   10
                                         VOLUME 1
   11

   12
          ______________________________________________________________
   13
                                   TRIAL ON THE MERITS
   14
                       BEFORE THE HONORABLE RODNEY GILSTRAP
   15                   UNITED STATES CHIEF DISTRICT JUDGE
                                    and a jury
   16     ______________________________________________________________

   17

   18

   19

   20

   21                         SHAWN M. McROBERTS, RMR, CRR
                                  100 E. HOUSTON STREET
   22                            MARSHALL, TEXAS 75670
                                      (903) 237-7464
   23                      shawn_mcroberts@txed.uscourts.gov

   24

   25

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 2 of 293 PageID #: 48702
                                                                                   2



    1
                                  A P P E A R A N C E S
    2
                     FOR PLAINTIFFS:           IRELL & MANELLA, LLP -
    3                                          LOS ANGELES
                                               1800 AVENUE OF THE STARS
    4                                          SUITE 900
                                               LOS ANGELES, CA 90067-4276
    5                                          (310) 277-1010
                                               BY: MR. JASON SHEASBY
    6
                                               McKOOL SMITH, P.C. - MARSHALL
    7                                          104 EAST HOUSTON ST., STE. 300
                                               MARSHALL, TEXAS 75670
    8                                          (903) 923-9000
                                               BY: MS. JENNIFER TRUELOVE
    9                                               MR. SAM BAXTER

   10                FOR DEFENDANT:            WILMER HALE - BOSTON
                                               60 STATE STREET
   11                                          BOSTON, MA 02109
                                               (617) 526-6000
   12                                          BY: MR. JOSEPH MUELLER

   13
                                               GILLAM & SMITH, LLP
   14                                          303 SOUTH WASHINGTON AVENUE
                                               MARSHALL, TEXAS 75670
   15                                          (903) 934-8450
                                               BY: MS. MELISSA SMITH
   16
                     OFFICIAL REPORTER:        SHAWN M. McROBERTS, RMR, CRR
   17                                          100 E. HOUSTON STREET
                                               MARSHALL, TEXAS 75670
   18                                          (903) 923-7464

   19

   20

   21

   22

   23

   24

   25

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 3 of 293 PageID #: 48703
                                                                                        3



                                            INDEX
          EXAMINATION

          Witness Name                                                           Page
          BRIAN BLASIUS
             Direct By MR. SHEASBY ...........................................   164
             Cross By MS. SMITH ..............................................   184
             Recross By MS. SMITH ............................................   227
          MARK MAHON, PhD
             Direct By MR. SHEASBY ...........................................   230
             Cross By MR. MUELLER ............................................   258
             Redirect By MR. SHEASBY .........................................   284
             Recross By MR. MUELLER ..........................................   286
             Redirect By MR. SHEASBY .........................................   288




                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 4 of 293 PageID #: 48704
                                                                                       4



    1                  THE COURT:   Thank you.   Be seated, please.

    2             Good morning, ladies and gentlemen.      Thank you for being

    3     here.

    4             My name is Rodney Gilstrap, and I am the chief United

    5     States District Judge for the United States District Court for

    6     the Eastern District of Texas.

    7             I've lived in Marshall since 1981.      I practiced law in

    8     this area in East Texas for 30 years, and in 2011 I was

    9     appointed and confirmed as judge in this court and have been

   10     on the bench here since 2011.

   11             Let me make a small confession.     I was not born in Texas.

   12     I was born in Florida, but I got here as quick as I could.               I

   13     came to Texas at the ripe old age of 18 to attend college and

   14     then law school at Baylor University.

   15             I am married, and I have two grown children, and my wife

   16     owns and operates a retail floral business here in Marshall.

   17             Now, I tell you all these things about myself because in

   18     a few minutes I'm going ask each of you to give me the same

   19     kind of information about each of you, and I think you're

   20     entitled to know as much about me as I'm about to find out

   21     about each of you-all.

   22             Let me mention early in the process this morning that

   23     we're going to observe certain public health protocols through

   24     this trial.    Everyone in the gallery is going to remain masked

   25     throughout the entire trial whether they've been vaccinated or

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 5 of 293 PageID #: 48705
                                                                                   5



    1     not.

    2            Those of you that are selected to serve on the jury --

    3     we're going to select and seat eight jurors this morning to

    4     hear the evidence in this case.       Once those jurors are

    5     selected and sworn and seated and we begin the trial, I'm

    6     going to ask those eight individuals to remove their mask and

    7     put on a plastic face shield like this in lieu of the mask.

    8     It's just practically impossible to try a jury trial if you

    9     can't see the faces of the jury.       So that's what we're going

   10     to do there.

   11            Also, ladies and gentlemen, you probably don't see them,

   12     but on both sides of the courtroom there are new industrial

   13     air filtration units that are running at all times.           The air

   14     in this room is filtered constantly.

   15            Also, those of you that are selected on the jury are

   16     going to have lunch provided for you each day by the court,

   17     which means you will not be coming and going from the building

   18     out into the community to find your own lunch and then

   19     returning.    You'll be here in the building from the time you

   20     arrive in the morning until we recess for the evening and you

   21     go home to your respective places each evening.

   22            There may be some other precautions that I'll mention to

   23     you as we go forward, but I want you to be aware of those now

   24     at the beginning of the process.

   25            Also, if you'll indulge me for a minute, I'd like to

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 6 of 293 PageID #: 48706
                                                                                   6



    1     review briefly with you why we came to have our American civil

    2     jury system that you're all here for this morning.

    3          If you go back in ancient history and if you begin with

    4     the first five books of the Old Testament, called the

    5     Pentateuch, you find the ancient Hebrew nation impaneled

    6     juries to decide issues of property ownership and property

    7     value.

    8          The ancient Greeks began using a jury system about

    9     1500BC.   The Romans, as they did with many things, copied the

   10     jury system from the Greeks, and it was the ancient Romans

   11     that brought what we know to be the jury trial system to

   12     England when they crossed the English Channel and conquered

   13     that island in the fourth century AD.

   14          And the jury trial system came with the Romans and was in

   15     place in what we now know to be Great Britain until about the

   16     12th century AD when a rather tyrannical king came to the

   17     throne of Britain, King John.       And King John became embroiled

   18     in a series of serious arguments and disputes with his nobles,

   19     one of which was the king's effort to curtail the right to

   20     trial by jury.

   21          Those disputes almost led to civil war, but civil war was

   22     avoided by a resolution of their disputes at a place called

   23     Runnymede, and the document that was generated and signed by

   24     the king and his nobles that solved those disputes and were

   25     stored in writing the right to trial by a jury in England

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 7 of 293 PageID #: 48707
                                                                                   7



    1     you've all heard of before:       It's called the Magna Carta.

    2          In fact, ladies and gentlemen, 28 of our United States

    3     have adopted the language verbatim from the Magna Carta

    4     guaranteeing the right to trial by jury in their own state

    5     constitutions.

    6          So you can see that the right to trial by jury was well

    7     engrained in our founding fathers when they came to this

    8     continent as British colonists, and the right to trial by jury

    9     flourished in colonial America for over a hundred years until

   10     another tyrannical king came to the throne of Great Britain.

   11     This time his name was King George, the III.

   12          And King George, the III, as we all know from our history

   13     courses in the past, became embroiled with various disputes

   14     with his colonists here in North America.         One of those

   15     disputes was King George's efforts to curtail the right to

   16     trial by jury.

   17          As a matter of fact, when Thomas Jefferson sat down to

   18     write the Declaration of Independence, setting forth in

   19     writing the various reasons and issues that necessitated us

   20     separating from England and becoming our own independent

   21     nation, spelled out in the Declaration of the Independence is

   22     the king's attempt to curtail the right to trial by jury as

   23     one of the reasons why we must and felt compelled to become

   24     our own independent nation.

   25          As a matter of fact, we did, as you well know, become our

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 8 of 293 PageID #: 48708
                                                                                    8



    1     own independent nation after the Revolution, and shortly

    2     thereafter we adopted the governing document for our country,

    3     the supreme law of the land, you all know to be the

    4     Constitution of the United States.

    5          And shortly after the Constitution was ratified, Congress

    6     immediately moved to amend the Constitution and add 10

    7     amendments.    You know those 10 amendments from your days in

    8     school as the Bill of Rights.       And those 10 amendments were

    9     ratified and added to the Constitution in 1791.

   10          One of those first 10 amendments, the Seventh Amendment

   11     to the U.S. Constitution, guarantees the right to have civil

   12     disputes resolved by a jury of your peers, a civil jury trial.

   13          So, ladies and gentlemen, since 1791, every American

   14     citizen has had a constitutionally guaranteed right to have

   15     their civil disputes resolved through trial by jury.

   16          I always tell citizens such as yourselves who appear for

   17     jury duty like you have this morning that in my personal

   18     opinion jury service is the second highest form of public

   19     service any American can perform.        In my personal view, the

   20     highest form of public service for any American are those

   21     young men and women that serve in our armed forces.

   22          Now, the lawyers are going to address you later this

   23     morning, and they're going to ask you various questions.            And

   24     I want you to understand that they are not seeking to inquire

   25     unduly into your personal affairs.        Let me say that another

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 9 of 293 PageID #: 48709
                                                                                   9



    1     way.   They're not trying to be nosey, to pry into your

    2     personal business.     They're simply asking relevant questions

    3     to help secure a fair and an impartial jury to hear the

    4     evidence in this case.

    5            The important thing for each of you to remember, ladies

    6     and gentlemen, is that when those questions are asked, as long

    7     as your answers are fair -- excuse me, full, complete, and

    8     truthful, there are no wrong answers.        You can't give a wrong

    9     answer as long as your response is full, complete, and

   10     truthful.

   11            Now, I don't know if it will happen this morning, it

   12     rarely does, but it's possible so I want to mention this to

   13     you.   If there's any question that you're asked as a part of

   14     jury selection that you believe is so personal and private

   15     that you're not comfortable answering it in front of everyone

   16     else on the panel, you always have the option to say, I'd like

   17     to talk about that with Judge Gilstrap.         And if that's your

   18     response, I'll provide an opportunity where you can answer

   19     that outside of the presence of the rest of the members of the

   20     panel.   However, that doesn't come up very often.         I'll be

   21     surprised if it does this morning, but I want you to know that

   22     you have that option.

   23            Now, the trial in this case is going to begin later

   24     today, as soon as the jury's selected, and I expect that it

   25     will run in all likelihood through the end of this week.

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 10 of 293 PageID #: 48710
                                                                                 10



     1    There is a small chance that it could actually extend over to

     2    Monday of next week.       I don't anticipate it would go further

     3    than that under any scenario that I can envision, but I want

     4    you to have an idea of what the timeline is for those of you

     5    that would be selected to serve on this jury.

     6          If there are any of you on the panel that, if you were

     7    selected, either have a surgical procedure scheduled through

     8    the remainder of this week or into Monday or there's some

     9    other very serious impediment to you being available to be

    10    here, that's something I need to know about.

    11          If there's anybody that falls in that category, would you

    12    raise your hand and let me make a note of it.          Okay.   Panel

    13    Member No. 4 and Panel Member No. 14.         Do I see any other

    14    hands?   No. 24.    Thank you, sir.     Anybody else?    No. 7.

    15          4, 7, 14, and 24.      All right.   Thank you, ladies and

    16    gentlemen.

    17          Now, at this time I'm going to call for announcements in

    18    the case of Optis Technology, LLC, et al. versus Apple, Inc.

    19    This is civil Case No. 2:19-CV-066.

    20          Counsel, as you give your announcements on the record,

    21    please identify those of your trial team that are with you and

    22    any corporate representatives you may have in the courtroom at

    23    this time.

    24          We'll begin with the Plaintiff.       What says the Plaintiff?

    25                 MR. BAXTER:    Good morning, Your Honor.     I'm Sam

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 11 of 293 PageID #: 48711
                                                                                 11



     1    Baxter from McKool Smith, along with my law partner, Jennifer

     2    Truelove, and my co-counsel, Mr. Jason Sheasby.

     3          And we're ready, Your Honor.

     4                THE COURT:    Thank you.

     5          What says the Defendant?

     6                MR. MUELLER:    Good morning, Your Honor, and good

     7    morning, ladies and gentlemen.

     8          Joe Mueller, on behalf of Apple.        And with me today are

     9    Ms. Melissa Smith, Ms. Mindy Sooter, Mr. Mark Selwyn.           With us

    10    this morning is another member of our team Jamie Laird and

    11    finally, Your Honor, representative of Apple, Ms. Heather

    12    Mewes.

    13          We are ready to proceed, Your Honor.

    14                THE COURT:    Thank you, counsel.     As I've told you,

    15    ladies and gentlemen, this is a patent case arising under the

    16    patent laws of the United States.        I want you to understand

    17    that in a previous trial between these same parties, it's

    18    already been established that the Defendant Apple, Inc.,

    19    infringes certain claims of the Plaintiff's patents.           It's

    20    also been established in that earlier proceeding that those

    21    claims are valid, or said in a more technically correct way,

    22    it's been determined that the Plaintiff's claims are not

    23    invalid.

    24          However, the issue of what money damages are due to the

    25    Plaintiff as compensation for that infringement remains yet to

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 12 of 293 PageID #: 48712
                                                                                 12



     1    be resolved.    And that's why you are here.       The jury selected

     2    in this case will have the responsibility for setting and

     3    awarding a fair and reasonable compensation to the Plaintiff

     4    Optis in the form of a reasonable royalty for that previously

     5    established infringement.

     6          Now, having seen the patent video film, which I know

     7    you-all saw prepared by the Federal Judicial Center this

     8    morning, you already know more about patent litigation than

     9    most citizens do when they appear for jury duty.          However,

    10    during this trial it's likely that you're going to hear about

    11    something that's not mentioned in the patent video, and that's

    12    that the patents in this suit are referred to as standard and

    13    essential patents.     And they are sometimes called SEPS.         That

    14    stands for standard essential patents.

    15          SEPS are patents that have been declared to be a part of

    16    a standard in a certain field.       This standard is set and

    17    maintained by a global body to ensure that certain processes

    18    and devices operate and work in the same way anywhere in the

    19    world.

    20          For example, it would be counterproductive, wouldn't make

    21    much sense, if the cell phone that you have in here in America

    22    only worked in America such that if you got on a plane and

    23    flew to London, England, when you got off the plane, your cell

    24    phone wouldn't work.

    25          To prevent this, standard technologies are created such

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 13 of 293 PageID #: 48713
                                                                                 13



     1    that communication devices like cell phones interwork across

     2    different places in the world and across different brands of

     3    devices.    Patents relating to such a common and standard

     4    technology are recognized as impacting that standard

     5    technology and are contributed to and declared by their owners

     6    to be essential to that standard.        These are called standard

     7    essential patents.

     8          In this case, the five patents at issue, the asserted

     9    patents, have been declared by their owners to be SEPs,

    10    standard essential patents, related to the field of wireless

    11    communications.     In this case one of the groups or global

    12    bodies that oversees and maintains this standard is called the

    13    European Telecommunications Standards Institute, or ETSI,

    14    which you'll hear referred to throughout the trial as ETSI.

    15          Since the asserted patents have been declared to be

    16    standard essential patents, you'll hear about the standard,

    17    the contributions of these patents to the standard, and the

    18    work of the governing body, ETSI, in regulating and relating

    19    to that standard.     That's all as a part of the trial that will

    20    take place in this case.

    21          Now, as I mentioned earlier, the lawyers for both sides

    22    are about to question members of the panel to gather

    23    information so that they can exercise their prerogatives and

    24    help complete the process of securing eight fair and impartial

    25    jurors to hear the evidence in this case.         Again, there are no

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 14 of 293 PageID #: 48714
                                                                                 14



     1    wrong answers to any questions you'll be asked as long as the

     2    answers you give are full, complete, and truthful responses.

     3            As I mentioned, the lawyers are entitled to ask the

     4    questions that they'll ask to help secure a fair and impartial

     5    jury.    I want you to understand, ladies and gentlemen, if for

     6    any reason I think a question asked by any of the lawyers is

     7    not proper in any way, I will certainly stop them.           But I want

     8    you to understand, these are extremely skilled trial lawyers

     9    on both sides of this case, and I really don't expect that to

    10    happen at all.

    11            Now, one thing I want to call your attention to before

    12    the lawyers begin with their questions, because it's possible

    13    that they're going to ask you about your ability to apply this

    14    if you're selected as a juror, is the burden of proof.           In a

    15    patent case, the jury's called upon to apply a burden of

    16    proof.    In this particular case, the jury will apply one

    17    specific burden of proof, and that's the burden of proof known

    18    as the preponderance of the evidence.

    19            Now, when responding to lawyers' questions about the

    20    burden of proof, I need to instruct you that when a party has

    21    a burden of proof on any claim or defense by a preponderance

    22    of the evidence, it means that the jury must be persuaded by

    23    the credible or believable evidence that that claim or defense

    24    is more probably true than not true.        Let me say that again:

    25    More probably true than not true.        Sometimes this is talked

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 15 of 293 PageID #: 48715
                                                                                 15



     1    about as being the greater weight and degree of credible

     2    testimony.

     3          Let me give you an example that I hope will be helpful in

     4    this regard.    If you look in front of our court reporter, you

     5    will see that there is a statue of the Lady of Justice.            She

     6    is blindfolded.     She holds in her right hand, lowered at her

     7    right side, the unsheathed sword of justice.          She holds in her

     8    left hand above her the equal and balanced scales of justice.

     9          When you think about the burden of proof in this case,

    10    the preponderance of the evidence, think about those scales.

    11    Both the Plaintiff and the Defendant start out equal.           Those

    12    scales are balanced.      Over the course of this trial, the

    13    Plaintiff's going to put their evidence on one side of those

    14    scales, the Defendant's going to put their evidence on the

    15    other side of the scales.

    16          And when all the evidence has been presented and is on

    17    one side or the other of those scales, the party who has the

    18    burden of proof by a preponderance of the evidence will look

    19    at those scales, and if those scales tip in favor of that

    20    party who has the burden of proof by a preponderance of the

    21    evidence, even if they tip ever so slightly in that party's

    22    favor, then that party has met its burden of a preponderance

    23    of the evidence.

    24          Now, this burden of proof, the preponderance of the

    25    evidence that I've just explained to you, it should have no

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 16 of 293 PageID #: 48716
                                                                                 16



     1    relation and should not be in any way confused by any of you

     2    with a separate and different burden of proof that I'm sure

     3    you've all heard about in the media and movies and television

     4    called beyond a reasonable doubt.

     5          Beyond a reasonable doubt is the burden of proof applied

     6    in a criminal case.      It has absolutely no application

     7    whatsoever in a civil case like this.         Preponderance of the

     8    evidence is not as high a burden of proof as beyond a

     9    reasonable doubt.     And please keep that in mind as we go

    10    through the trial.

    11          As I say, I wanted to explain this to you and give you

    12    these instructions because I think it's likely that one or

    13    more of the lawyers in this case will ask you about your

    14    ability to apply that burden of proof to the evidence if

    15    you're selected to serve on this jury.

    16          Now, before the lawyers address the panel and ask their

    17    questions, I'm going to ask each of you to give me the same

    18    information about you that I gave you about me when I came out

    19    this morning.

    20          You should see on the screens in front of you, and you

    21    have printed copies, nine specific questions.          I'm going to

    22    ask each member of the panel one at a time to stand and answer

    23    those questions.

    24          And this is how we're going to do it, ladies and

    25    gentlemen.    We have two of our court security officers in the

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 17 of 293 PageID #: 48717
                                                                                 17



     1    courtroom, and they have two separate hand-held microphones.

     2    We're going to begin the process with Panel Member No. 1, Ms.

     3    Ross.

     4            And when it's that time, Ms. Ross, one of these court

     5    security officers will bring you a hand-held microphone.            At

     6    that time, I'm going to ask you to stand up, I'm going to ask

     7    you to take off your mask, use the microphone, give us the

     8    answers to those nine questions, hand the microphone back to

     9    the court security officer, put your mask back on, and have a

    10    seat.

    11            And that's how we'll do it with each member of the panel,

    12    beginning with Panel Member No. 1 and going through the end of

    13    our group.    When it's your turn, please stand, wait for the

    14    microphone, pull your mask off so that we can see your face as

    15    you give the answers, give the answers, put the mask back on,

    16    and then have a seat, return the microphone to the court

    17    security officer.

    18            And later in the process, if you are asked individual

    19    questions by the lawyers, you should follow the same

    20    process--wait until you get the microphone, stand up, and give

    21    us your answers without your mask on, and then put it back on

    22    and have a seat.

    23            And let me just mention, ladies and gentlemen, this is a

    24    big room, we've got a lot of people in here.          Many of you are

    25    not used to speaking into a microphone.         Every time I do this,

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 18 of 293 PageID #: 48718
                                                                                 18



     1    I have somebody and they hold the microphone out here and I

     2    can't hear a word they say.       So please hold the microphone

     3    close enough so that it will amplify your voice so that

     4    everybody in the courtroom can hear your answers to those nine

     5    questions and your answers to any other questions that you're

     6    asked this morning.

     7            So at this time, we'll begin with Panel Member No. 1, Ms.

     8    Ross.    If you'll stand and give us your answers to those nine

     9    questions, please.

    10                 THE PANEL MEMBER:    My name is Vicki Ross.      I live in

    11    Jefferson.    I have no children.      I'm not employed.     I don't --

    12    No. 4 don't apply.     I have a GED.     I don't have a spouse.      And

    13    I worked on a DWI.

    14                 THE COURT:   A criminal case, you were on a jury?

    15                 THE PANEL MEMBER:    Yes, sir.

    16                 THE COURT:   How long ago was that?

    17                 THE PANEL MEMBER:    Oh, a long time ago.

    18                 THE COURT:   All right.    Now, you said you're not

    19    employed.    Have you ever worked outside of the home, and if

    20    so, what kind of work?

    21                 THE PANEL MEMBER:    House cleaning, and I worked as

    22    an election judge.

    23                 THE COURT:   All right.    Thank you, ma'am.

    24            Next is Panel Member No. 2.

    25                 THE PANEL MEMBER:    Hello.   My name is Richard Jirka.

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 19 of 293 PageID #: 48719
                                                                                 19



     1    I am from Lone Star, Texas.       I am currently retired.      I worked

     2    in the business equipment field for Ricoh USA as a technical

     3    trainer.    I worked for Ricoh for 20 years, but was in the

     4    industry for 41 years.      I have an electronic technician

     5    diploma from the Ohio Institute of Technology.

     6          My wife's name is Helen Jirka.       She is a housewife for

     7    the last 41 years.

     8          And this is my first jury time.

     9                THE COURT:    Thank you, sir.

    10          Next is Panel Member No. 3, Mr. Anderson.

    11                THE PANEL MEMBER:     My name is J.C. Anderson.      I live

    12    in Naples, Texas.     I work for the city of Hughes Springs, been

    13    there 21 years.     I have a high school degree.

    14          My wife's name is Jenny Anderson.        She works for Express

    15    Employment, and she's been there 20 years.

    16          And I have been on one civil trial.

    17                THE COURT:    When was that civil trial and where was

    18    it?

    19                THE PANEL MEMBER:     I would say it was 30 years ago,

    20    and it was Morris County.

    21                THE COURT:    All right.    And what do you do for the

    22    city of Hughes Springs?

    23                THE PANEL MEMBER:     I am the road person, animal

    24    control, and code enforcement.

    25                THE COURT:    All right, sir.     Thank you very much.

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 20 of 293 PageID #: 48720
                                                                                 20



     1            Next is Panel Member No. 4, Ms. Hamilton.

     2                 THE PANEL MEMBER:    My name is Tina Hamilton.      I live

     3    in Linden.    I have three children.      They are all grown.      I am

     4    currently the court coordinator for Judge Bill Miller and Don

     5    Dowd, and I've worked there almost eight years.          I have a high

     6    school diploma.

     7            My husband's name is Kenny Hamilton.      He is semiretired,

     8    works for a bank, City National Bank out of Sulphur Springs,

     9    and he's only been there about three years.

    10            I served on a criminal case probably 40 years ago in Cass

    11    County.

    12                 THE COURT:   And court coordinator, is that the state

    13    district court in Cass County?

    14                 THE PANEL MEMBER:    The district court, yes, sir,

    15    Judge Bill Miller, and then County Court at Law, Judge Don

    16    Dowd.

    17                 THE COURT:   Thank you, ma'am.

    18            Next is No. 5, Ms. Chapman.

    19                 THE PANEL MEMBER:    Good morning.    I'm Steffani

    20    Chapman, and I live a half mile right outside of Gilmer,

    21    Texas, in Upshur County.      I have three grown children and one

    22    grown stepdaughter.

    23            I served the United Methodist Church as a pastor for

    24    almost 30 years.     I've been retired for three.       I have an AA

    25    from the University of Houston course of study program for

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 21 of 293 PageID #: 48721
                                                                                 21



     1    Perkins School of Theology at SMU.

     2          My husband's name is Albert Chapman.        He works for BMC

     3    Software.    He's been there 27 years.

     4          And I served on a criminal drug case in Harris County in

     5    the early '80s.

     6                THE COURT:    Thank you, ma'am.

     7                THE PANEL MEMBER:     Uh-huh.

     8          Next is Panel Member No. 6, Ms. Hilton.

     9                THE PANEL MEMBER:     Yes.    My name is Judy Hilton.     I

    10    live in Atlanta, Texas.      I have two grown children.

    11          I work for the City of Texarkana, Texas, the health

    12    department.    I am an LVN there in the WIC department there.

    13    I've been there about 11 years.        I have graduated from the

    14    vocational school in Bastrop, Louisiana, in 1990 with a

    15    practical nursing degree.

    16          My husband's name is Jerry.        He works at Graphic

    17    Packaging there in Domino.       He has worked for that company

    18    about four years.     It was originally International Paper.         And

    19    he has been with Graphic Packaging about -- I think about four

    20    years.

    21          And I've never served on a jury before.

    22                THE COURT:    Thank you, ma'am.

    23          Next is No. 7, Mr. Woods.

    24                THE PANEL MEMBER:     My name is Mickey Woods.      I have

    25    three kids.    I work for Texas Utility.       I'm retired from Texas

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 22 of 293 PageID #: 48722
                                                                                 22



     1    Utility, worked there 42 years, worked in maintenance for

     2    30-something years and then safety department.          And I

     3    graduated from Johns Christian College.

     4          I have a wife named Mary Woods.       She worked for the

     5    Daingerfield Independent School District.         She is also

     6    retired.    And I think she worked there 32 years.

     7          And I have never been on a civil case or criminal case.

     8                THE COURT:    Thank you, Mr. Woods.

     9          Next is No. 8, Mr. Phelps.

    10                THE PANEL MEMBER:     My name is Phillip Phelps, and I

    11    live in Gladewater, Texas.       I have two adult daughters.

    12          I am self-employed three ways right now.         I am a piano

    13    tuner, and I own a business -- co-own along with my wife a

    14    business in downtown Gladewater, and I'm also a minister.            I

    15    have done piano tuning about 30 years, have done the store

    16    about two and a half years, and ministry for probably about 30

    17    years as well.

    18          I was -- I'm a graduated -- freshman in college is the

    19    highest education.

    20          My spouse's name is Rene, and she is co-owner of the

    21    business and co-orderer of my life.        And how long has she

    22    worked there?     For 42 years.    That's how long we've been

    23    married.

    24          Prior jury service, I was on a criminal trial,

    25    misdemeanor theft in Dallas.

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 23 of 293 PageID #: 48723
                                                                                 23



     1                 THE COURT:   What kind of store do you have in

     2    Gladewater, sir?

     3                 THE PANEL MEMBER:    It's a vintage antiques, gifts,

     4    collectables type store.

     5                 THE COURT:   Thank you very much, sir.

     6            Next is Panel Member No. 9, Ms. King.

     7                 THE PANEL MEMBER:    Good morning.    My name is Gloria

     8    King.    I live in Gilmer, Texas.      I have no children.

     9            My place of employment was for Gilmer ISD.       I am a

    10    retired teacher of 41 and a half years, serving in my 20th

    11    year on the school board there.        My educational background is

    12    high school, college, and postgraduate.         Also have a Master's

    13    degree.    I mostly taught math and science for fifth graders.

    14            My spouse is deceased.    His name was Anderson King, and

    15    he worked at USI Industries in Longview for about 30 years.

    16            I was called to serve on jury duty.      This has been

    17    several years ago.     I don't remember what year.       But, anyway,

    18    it was settled out of court so it never had a chance to serve.

    19    I wasn't called for jury duty most of the time because I was

    20    on that grand jury commission where we nominated people to

    21    serve on the grand jury and, therefore, I wasn't going to be

    22    called on the regular active or the other juries.

    23            Thank you very much.

    24                 THE COURT:   Thank you, Ms. King.

    25            Next is No. 10, Mr. Goodjoint.

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 24 of 293 PageID #: 48724
                                                                                 24



     1                 THE PANEL MEMBER:    Hi, I'm Steredrick Goodjoint.       I

     2    live in Gilmer, Texas.      I have two grown kids.

     3            My place of employment is Union Hill ISD.       I'm the

     4    maintenance and transportation and custodial director there.

     5    I've been there 10 years.       My education is a high school

     6    education.

     7            My spouse, Rimanda Goodjoint.     We've been married 29

     8    years.    She has a daycare, home daycare.       She's been doing

     9    about 12 years.

    10            And I've served on a criminal case about 15 years ago.

    11                 THE COURT:   Never a civil case?

    12                 THE PANEL MEMBER:    No.

    13                 THE COURT:   Thank you, sir.

    14            Next is No. 11, Ms. George.

    15                 THE PANEL MEMBER:    I am Nancy George, and I live in

    16    Marshall.    I have seven kids--one birth, six guardianships.

    17    I am employed at the Harrison County courthouse.          I am justice

    18    of the peace.     I'm starting my 21st year as justice of the

    19    peace, and I was 14 years as court clerk.         I have a high

    20    school education and some at Kilgore.         I'm not married.     Seven

    21    kids.

    22            I have also served on civil and criminal, but it's been

    23    25 years since I served on those.

    24                 THE COURT:   Thank you very much.

    25            Next is No. 12, Ms. Jordan.

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 25 of 293 PageID #: 48725
                                                                                 25



     1                THE PANEL MEMBER:     Good morning.    My name is Tonya

     2    Jordan.    I live here in Marshall, Texas.       I have two adult

     3    children.

     4          I'm employed by Marshall Independent School District as a

     5    teacher.    I also co-own Lewis Funeral Home here in Marshall.

     6    I've worked at Marshall Independent School District for about

     7    21 years.    I attended Wyley College.

     8          My spouse's name is Billy Jordan.        He is retired from

     9    Texas Eastman Industries, and he also worked at the

    10    funeral home.     He's disabled at this time.

    11          I have served for a criminal case about 10 years ago.              I

    12    was selected for a civil case, and they settled out of court.

    13    And I've also served as a grand -- on the grand jury.

    14                THE COURT:    Thank you, ma'am.

    15          Next is No. 13.

    16                THE PANEL MEMBER:     My name is Ramon Gutierrez.       I

    17    live here in Marshall.      I don't have any children.

    18          I work for Gecko Pest Control.       I do pest control routes

    19    when techs are out, and I also work at scheduling in the

    20    office.    I've been there for about four and a half years.          I

    21    am a high school graduate, a couple of years of college.

    22          My wife's name is Cherokee Norvell.        She works for the

    23    kitchen for the Marshall school district.         She's been there a

    24    year now.

    25          And I have never been a juror before.

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 26 of 293 PageID #: 48726
                                                                                 26



     1                 THE COURT:   Thank you, sir.

     2          Next is No. 14, Ms. Berryman.

     3                 THE PANEL MEMBER:    Good morning.    My name is Andrea

     4    Berryman.    I live in Longview, Texas.       I have three kids.     One

     5    of my kids are disabled.

     6          I work at Christus Good Shepherd in Longview, been there

     7    for 23 years, never been married.

     8          I never served on a jury before.

     9                 THE COURT:   And what do you do at Christus Good

    10    Shepherd?

    11                 THE PANEL MEMBER:    I work the front desk in

    12    radiology.

    13                 THE COURT:   Thank you, ma'am.

    14          Next is No. 15, Mr. Emerson.

    15                 THE PANEL MEMBER:    Yes.   My name is Richard Emerson.

    16    I have two children.

    17          My place of employment is First Christian Church in

    18    Longview.    I've been there starting my 16th year.         I have a

    19    Doctorate of Ministry from TCU.

    20          My spouse's name is Kimberly.       She is retired, if you

    21    will, but she was an educator in Harrison County-Hallsville as

    22    well as East Texas Charter High School as a front desk person.

    23    She was there probably for three years, I believe.

    24          And I was never on a criminal, but a civil case across

    25    the street that really I don't think went anywhere.           I didn't

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 27 of 293 PageID #: 48727
                                                                                 27



     1    get this far in the process when I did the civil.

     2                THE COURT:    All right, sir.     Thank you very much.

     3                THE PANEL MEMBER:     Thank you.

     4                THE COURT:    No. 16 is next, Ms. Nixon.

     5                THE PANEL MEMBER:     My name is Brittany Nixon.       I

     6    have one child.

     7           I work at First National Bank of Hughes Springs.         I've

     8    been there 10 years.      I'm a loan processor.      I've got a high

     9    school diploma.

    10           My spouse is Fred Nixon, and he works at Komatsu,

    11    Longview, as an electrician.       He's probably been there about

    12    10 years.

    13           And I served a civil jury here five years ago.

    14                THE COURT:    In this courtroom?

    15                THE PANEL MEMBER:     Yes, sir.

    16                THE COURT:    Do you remember what kind of case it

    17    was?

    18                THE PANEL MEMBER:     It was a cell phone company

    19    infringed on another one.

    20                THE COURT:    A patent case?

    21                THE PANEL MEMBER:     Yes.

    22                THE COURT:    All right.     Thank you, ma'am.

    23           No. 17 is next, Ms. Hale.

    24                THE PANEL MEMBER:     My name is Sandra Hale, and I

    25    live in Atlanta, Texas.      I have two adult children.

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 28 of 293 PageID #: 48728
                                                                                 28



     1          I am retired at the moment, and my previous employment

     2    was with -- well, I started with the savings and loan and

     3    ended up with a bank.      And I was -- my tenure there was 29

     4    years.   How long -- I worked there for 29 years.         My

     5    educational background was high school.

     6          My spouse's name is Jeffrey Hale, and he was employed by

     7    Southwestern Electric Power Company for over 33 years, and he

     8    retired.    And now he is a supervisor for the security

     9    department at the Christus St. Michael's in Atlanta, and he's

    10    been there nine years.

    11          And, yes, I have served on a civil and a criminal case.

    12                 THE COURT:   Tell us when and where that was, please.

    13                 THE PANEL MEMBER:    Pardon me?

    14                 THE COURT:   When and where did you serve on a civil

    15    jury before?

    16                 THE PANEL MEMBER:    In New Boston, Texas.

    17                 THE COURT:   How long ago, ma'am?     How long ago has

    18    that been, ma'am?

    19                 THE PANEL MEMBER:    It has been probably about 15, 20

    20    years ago.

    21                 THE COURT:   All right.    Thank you very much.

    22                 THE PANEL MEMBER:    I lived in Texarkana then.

    23                 THE COURT:   Thank you, ma'am.

    24          Next is No. 18, Ms. McDonald.

    25                 THE PANEL MEMBER:    Hello.   My name is Tammy

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 29 of 293 PageID #: 48729
                                                                                 29



     1    McDonald.    I live here in Marshall, Texas.       I have two grown

     2    children, one here on earth, one in heaven.

     3           I work at shoe department, Encore.       I've been there two

     4    years.   High school education.

     5           My husband's name is Calvin McDonald.       He works for

     6    Partner Industrial at the Eastman plant in Longview, Texas.

     7    He's been there about 17 years.

     8           And I've never served on a jury.

     9                THE COURT:    Thank you, ma'am.

    10           Next is No. 19.

    11                THE PANEL MEMBER:     Good morning.    My name is Andreas

    12    Floyd.   I live in Gladewater.      I have one child.     I work for

    13    High Touch Delivery, been there for like three years.           My

    14    highest education is some college.

    15           And I've never provided any jury services.

    16                THE COURT:    And you're not married.      Is that right,

    17    sir?

    18                THE PANEL MEMBER:     No, sir.

    19                THE COURT:    Thank you very much.

    20           No. 20 is next, Ms. Hudgins?

    21                THE PANEL MEMBER:     My name is Tina Hudgins.      I have

    22    two children, 10 and 9.      I work at Hallsville ISD as a third

    23    grade teacher.     I'm starting my fifth year there.        I have a

    24    Bachelor's degree in elementary education.

    25           My husband's name is Michael Hudgins.       He works at Texas

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 30 of 293 PageID #: 48730
                                                                                 30



     1    Oncology, Longview Cancer Center, as a pharmacist.           He's

     2    worked there for 11 years.

     3            And I have never been -- served on a jury.

     4                 THE COURT:   Thank you, ma'am.

     5            No. 21 is next, Ms. Graham.

     6                 THE PANEL MEMBER:    Good morning.    My name is Vicki

     7    Graham.    I live in Pittsburg, Texas.      I have two grown

     8    children.

     9            I'm retired from CB&I in Tyler, Texas.       I worked there

    10    for 11 and a half years.      I have an associate's degree from

    11    Tyler Junior College.

    12            My spouse is deceased, and I have never served on a jury.

    13                 THE COURT:   And tell me what you did at CB&I in

    14    Tyler.

    15                 THE PANEL MEMBER:    I worked in the materials

    16    department as a clerical work.

    17                 THE COURT:   All right.    Thank you very much, ma'am.

    18            No. 22 is next, Mr. Fenton.

    19                 THE PANEL MEMBER:    I'm Ernest Fenton.     I have five

    20    boys.    I live in Gilmer.    I'm retired from Crosby Lebus

    21    (phon.).    I work now at the Gilmer ISD as a custodian.         I've

    22    been there going on three years.        I have a high school

    23    education.

    24            My spouse is Kathy.   She's a stay-at-home mom, has been

    25    for 37 years.

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 31 of 293 PageID #: 48731
                                                                                 31



     1           And my previous jury duty is I served on an Upshur County

     2    grand jury, and this has been probably about 10 to 12 years

     3    ago.

     4                THE COURT:    All right, sir.     Thank you very much.

     5           No. 23 is next, Mr. Givens?

     6                THE PANEL MEMBER:     Yes.    My name is John Givens.     I

     7    live in Jefferson, Texas.       I have two children.

     8           I am the senior pastor at New Prospect Baptist Church for

     9    the past two years.      Also the director of sales and business

    10    development for Heritage Home Health and Hospice, and director

    11    of IT.   I've been there five years.       I have a degree in

    12    nursing and pursuing a degree in theology.

    13           My spouse's name is Karen Givens.       She's been a homemaker

    14    for 22 years.

    15           And I never served on a jury.

    16                THE COURT:    All right, sir.     Thank you very much.

    17           Next is Panel Member No. 24, Mr. James.

    18                THE PANEL MEMBER:     My name is Jerold James.       I live

    19    in Atlanta, Texas.     No children.      Red River Army Depot,

    20    retired 33 years.

    21                THE COURT:    Mr. James, hold that microphone a little

    22    closer, please, sir, and tell me again what your work

    23    employment history was.

    24                THE PANEL MEMBER:     Red River Army Depot, retired 33

    25    years.

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 32 of 293 PageID #: 48732
                                                                                 32



     1                 THE COURT:   Thank you, sir.     What about your

     2    education?

     3                 THE PANEL MEMBER:    High school.    Not married.

     4                 THE COURT:   What's your spouse's name and does she

     5    work outside the home?

     6                 THE PANEL MEMBER:    Don't have one.

     7                 THE COURT:   Don't have one.     Any prior jury duty?

     8                 THE PANEL MEMBER:    Civil in Atlanta, Texas.

     9                 THE COURT:   How long ago was that, sir?

    10                 THE PANEL MEMBER:    Twenty years.

    11                 THE COURT:   Okay.   Thank you very much, Mr. James.

    12          Next is Panel Member No. 25, Mr. Arnold.

    13                 THE PANEL MEMBER:    My name is Brian Arnold.      I live

    14    in Hallsville, Texas.      I have two boys.     I work at North

    15    Cylinder, been there about eight years.         I do industrial

    16    maintenance.    I got a GED.

    17          My wife's name is Maria.      She is a housewife.

    18          And I've never served on a jury trial.

    19                 THE COURT:   Thank you, sir.

    20          No. 26, Mr. Cobb, is next.

    21                 THE PANEL MEMBER:    My name is Tyler Cobb.      I don't

    22    have any children.     I live in Naples, Texas.       I work at Papa

    23    Nacho.   It's a Mexican restaurant.       I've waited tables for

    24    about four years.     My education is a high school diploma.

    25          I have no spouse, and I've never done jury service.

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 33 of 293 PageID #: 48733
                                                                                 33



     1                THE COURT:    All right.    Thank you very much.

     2          No. 27 is next, Mr. Oney.

     3                THE PANEL MEMBER:     Willard Oney.    Live in Marshall,

     4    Texas.   I have two grown children.       I work for Fluid Disposal

     5    Specialties.    I'm a shop superintendent.       I've been there for

     6    about 15 years.     I got a high school diploma.

     7          My wife is Seeny Oney.      She works for Fluid Disposal.

     8    She does the time, and she's been there about 13 years.

     9          And I was on a grand jury about five years ago.

    10                THE COURT:    All right.    Thank you very much.

    11          No. 28 is next, Ms. Brewer.

    12                THE PANEL MEMBER:     My name is Laura Brewer, and I

    13    live in East Mountain, Texas.       I have two grown children.

    14          And I work at Spring Hill ISD.       I've been there two

    15    weeks, left Union Grove ISD after 21 years as a

    16    paraprofessional in the special education department.           I have

    17    a high school diploma.

    18          My spouse's name is Terry Brewer.        He works at Texas

    19    Eastman, and we also own Brewer Auto Sales and Body Shop and

    20    Brewer Feed and Hay Sales.       We've lived -- he's been at Texas

    21    Eastman for 10 years.

    22          And I have no prior jury service.

    23                THE COURT:    Thank you, ma'am.

    24          Thank you, ladies and gentlemen.        Now, I need to say a

    25    couple of more things to you before I turn the questioning

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 34 of 293 PageID #: 48734
                                                                                 34



     1    over to the lawyers.

     2          The jurors that are actually selected in this case will

     3    serve in the role as the judges of the facts, and the jurors

     4    selected will make the sole determination about what the facts

     5    are in this case.

     6          Now, my job as the judge is to rule on questions of law,

     7    evidence, and procedure that might arise during the trial, to

     8    maintain the decorum of the courtroom, and to oversee an

     9    efficient flow of the evidence and the trial process.

    10          Also I want to say a couple of things to you about our

    11    judicial system that hopefully will put things in a proper

    12    perspective for everyone.

    13          In every jury trial, besides the parties themselves,

    14    there are always three participants--the jury, the judge, and

    15    the lawyers.    Now, with regard to the lawyers, I think it's

    16    important for each of you to understand that our judicial

    17    system in this country is an adversary system, which simply

    18    means that during the course of the trial each of the parties

    19    through their counsel will seek to present their respective

    20    cases to the jury in the very best light possible.

    21          Now, it's no surprise to any of you that lawyers are

    22    sometimes criticized in the media, but the Court's observed

    23    that some of that criticism results from a basic

    24    misunderstanding of our adversary system in which the lawyers

    25    act as advocates for the competing parties.          And as an

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 35 of 293 PageID #: 48735
                                                                                 35



     1    advocate, a lawyer is ethically and legally obligated to

     2    zealously assert his or her client's position under the rules

     3    of our adversary system.

     4          And by presenting the best case possible on behalf of

     5    their clients, the lawyers hopefully will enable the jury to

     6    better weigh the relevant evidence, to determine the truth,

     7    and to arrive at a just verdict based on that evidence.            This

     8    system, this adversary system of justice, has served our

     9    nation well for 200 years and longer, and our lawyers in this

    10    country have and will be in the future an integral part of the

    11    process.

    12          So as we go forward, even though it's possible that over

    13    the course of the trial I might frown or roll my eyes from

    14    time to time at the lawyers, I'm simply trying to make sure

    15    that their advocacy doesn't get outside of the bounds of our

    16    adversary system.     But I think it's important for each of you

    17    to understand this and to keep it in mind as we go forward.

    18          Also, ladies and gentlemen, those of you that are

    19    selected to serve on this jury, I want you to understand that

    20    during the course of the trial I am going to do my very best

    21    to make sure that no one on the jury knows what I think about

    22    the evidence in this case because determining the facts based

    23    on the evidence is the jury's job.        It is not my job.

    24          Therefore, those of you selected on the jury should not

    25    take anything you hear or see or think you hear or see as

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 36 of 293 PageID #: 48736
                                                                                 36



     1    coming from me as something to consider in determining what

     2    the ultimate facts are in this case.

     3          All right.    At this time the lawyers for the parties are

     4    going to address the venire panel.

     5          Mr. Baxter, you may address the panel on behalf of

     6    Plaintiff.    Would you like a warning on your time, sir?

     7                 MR. BAXTER:    I would, Your Honor.     If you could call

     8    me after five and one minute remaining.

     9                 THE COURT:    Five minutes remaining and one minute

    10    remaining.

    11                 MR. BAXTER:    Yes, Your Honor, if the Court please.

    12                 THE COURT:    Proceed when you are ready, sir.

    13                 MR. BAXTER:    Thank you.

    14          Thank you, Your Honor.      May it please the Court.

    15          Good morning, ladies and gentlemen.        As I told you, my

    16    name is Sam Baxter.       I practice law here in Marshall, Texas.

    17    I've been here for 51 years in the legal business.           I work for

    18    a law firm called McKool Smith.        We're headquartered next door

    19    in, oddly enough, the Baxter Building.

    20          I am married.    My wife's name is Lauren Parish, or Judge

    21    Lauren Parish.     We have four children, the oldest of which is

    22    from Brazil.    Andrew works here in town.       Matthew, who is from

    23    Thailand, and lives in the Fort Worth area.          Sophie, who is

    24    from India and who lives in Thailand right now.          And Keyton

    25    Boggs, who is my stepson, who is the -- one of the band

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 37 of 293 PageID #: 48737
                                                                                 37



     1    directors at the Hallsville band situation.

     2          So the first thing I've got to do is talk to some of you

     3    that live in Upshur County or Marion County and ask, how many

     4    of you know my wife, Judge Lauren Parish?         All right.

     5          Any of you that have been in Judge Parish's courtroom

     6    have anything that would affect you in this case?           I happen to

     7    know that she's a very good judge and was very friendly with

     8    the jurors, but every once in a while there was a criminal

     9    case where there probably wasn't a good outcome for the

    10    defendant.    Does that pose a problem for anyone?

    11          No. 9, Ms. King, did you serve in Judge Parish's court?

    12                 THE PANEL MEMBER:     I was called to serve on the

    13    grand jury team to select grand jurors.

    14                 MR. BAXTER:   You were a commissioner.

    15                 THE PANEL MEMBER:     I was on the commission.

    16                 MR. BAXTER:   Yes, ma'am?

    17                 THE PANEL MEMBER:     That we selected people to serve

    18    on the grand jury.

    19                 MR. BAXTER:   How was she as a judge?

    20                 THE PANEL MEMBER:     I really never sat in her

    21    court --

    22                 MR. BAXTER:   Okay?

    23                 THE PANEL MEMBER:     -- at any time.

    24                 MR. BAXTER:   All right.

    25                 THE PANEL MEMBER:     I will confess, this is not a

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 38 of 293 PageID #: 48738
                                                                                 38



     1    biased statement, I was her sixth grade science teacher.            So

     2    what you do --

     3                 MR. BAXTER:   How did she do in the sixth grade?

     4                 THE PANEL MEMBER:    Of course.    But, yeah, that

     5    doesn't affect my outcome.

     6                 MR. BAXTER:   Did you know her father, Wilbur Parish?

     7                 THE PANEL MEMBER:    Yes, I knew him, but I never

     8    served in his court, either.

     9                 MR. BAXTER:   Yes, ma'am.    Thank you very much, Ms.

    10    King.

    11            Who else had the opportunity to meet Judge Parish in the

    12    court setting?     Back here behind you, yes, sir.       No. 22, Mr.

    13    Fell ton?

    14                 THE PANEL MEMBER:    I did serve on the grand jury,

    15    but I'm not sure if she was the judge or not.

    16                 MR. BAXTER:   How long ago?

    17                 THE PANEL MEMBER:    This was probably about 15 years

    18    ago or 12 years ago.

    19                 MR. BAXTER:   Yes, sir.    I will assure you, she was

    20    the judge.    She sat there for 24 years.

    21                 THE PANEL MEMBER:    All right.    She also -- my

    22    adoption for my two boys, she conducted that.

    23                 MR. BAXTER:   Did she do a good job on that?

    24                 THE PANEL MEMBER:    Excellent.

    25                 MR. BAXTER:   Thank you very much.      I appreciate it.

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 39 of 293 PageID #: 48739
                                                                                 39



     1          Who else knows Judge Parish?       Anyone else?    No. 5.    I'm

     2    sorry.    I skipped you, Ms. Chapman -- Reverend Chapman, I

     3    should say.

     4                 THE PANEL MEMBER:     I did not know her as a judge.        I

     5    knew her as -- through a church relationship.

     6                 MR. BAXTER:    All right.    Anything about that's a

     7    problem, Ms. Chapman?

     8                 THE PANEL MEMBER:     Not at all.

     9                 MR. BAXTER:   Okay.   Thank you very much.

    10          And those -- the most frequently asked question I have

    11    about Her Honor is, do I have to stand up when she comes in

    12    the courtroom?     And the answer is yes.      If she comes in the

    13    living room, I stand up.

    14          Judge Gilstrap has said that we have a very brief period

    15    of time to talk a little bit about the case, and as he told

    16    you, this is a damages only case.        There won't be any other

    17    issues in this case.

    18          But let me talk to you about my client PanOptis just a

    19    moment.    PanOptis is headquartered in Plano, Texas, and it was

    20    formed because a consortium of tech companies, and you see

    21    them here on the screen, Ericsson, Samsung, Panasonic, and LG,

    22    had a whole bunch of patents involving LTE, which is a phone

    23    system that, if you look on your phone, sometimes it will say

    24    LTE on it.    And it stands for long-term evolution.         And they

    25    dedicated patents, some more than others, to Panasonic for

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 40 of 293 PageID #: 48740
                                                                                 40



     1    Panasonic to monetize their patents.

     2          If I can see the next slide.

     3          The Patents-in-Suit, five of them, basically have to do

     4    with stabilization of the LTE network and increasing speed of

     5    uploads and downloads.      And you're going to hear about that if

     6    you are on the jury.

     7          It also turns out, if I can see the next one, please, as

     8    Judge Gilstrap told you, these patents are known as SEP

     9    patents, which stands for standard essential patents.           And

    10    you're going to hear a lot about the standard in this case,

    11    how it got set, how important it is.        But these patents are

    12    all standard essential patents, and I don't think anyone will

    13    contradict that in this case.

    14          Now, on the other side is Apple, and the Apple lawyers,

    15    as you saw, the ones that you might know is Melissa Smith.

    16    Ms. Smith practices law here in Marshall and in Tyler; joe

    17    Mueller, who is from Boston; and Mr. Mark Selwyn, who is from

    18    California.

    19          Anybody know Ms. Smith or perchance any of the other

    20    lawyers?    You do, ma'am?    Okay.    Anybody know Ms. Smith?      You

    21    do, No. 11.    Oh, you know, Judge, with that mask on, you look

    22    different.

    23          Judge, I think I can say this without contradiction,

    24    without the exception of His Honor, the most important and

    25    powerful judge in Harrison County because you deal with

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 41 of 293 PageID #: 48741
                                                                                 41



     1    speeding tickets for my children.        Anything about that, Judge,

     2    that I've got to pay the price for today?

     3                THE PANEL MEMBER:      No, sir.

     4                MR. BAXTER:    All right.    You know Ms. Smith?

     5                THE PANEL MEMBER:      I know Ms. Smith just casually.

     6                MR. BAXTER:    Yes, ma'am.    Anything about that that's

     7    an issue, Judge?

     8                THE PANEL MEMBER:      No, sir.

     9                MR. BAXTER:    Thank you.

    10           Who's got an iPhone on the jury panel?        Can I see your

    11    hands?   Now, we think iPhones are great.        Of course, one of

    12    reasons we may think are great is because of the technology.

    13           But is there anybody that feels like that Apple is such a

    14    big company and a good company, that you simply couldn't be

    15    fair in this case, that Apple somehow has a leg up?           Anybody

    16    feel that way?

    17           No. 13, Mr. Gutierrez, tell me what you feel about that,

    18    sir.

    19                THE PANEL MEMBER:      Just what you mentioned, that I

    20    think Apple is a very big company, trillion-dollar company,

    21    and it's just difficult to fight battles with them.

    22                MR. BAXTER:    Anything about that, Mr. Gutierrez,

    23    that would cause you any problem on sitting on this jury?

    24                THE PANEL MEMBER:      No, sir.

    25                MR. BAXTER:    Okay.   All right.    I know I've got one

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 42 of 293 PageID #: 48742
                                                                                 42



     1    juror, Ms. Hudgins, No. 20?        Ms. Hudgins, I read your

     2    questionnaire, which we appreciate y'all filling out for us,

     3    and I noticed that you said that, while you use a Samsung

     4    phone, that you feel very positive about Apple.          Is that

     5    right?

     6                THE PANEL MEMBER:      I don't have a Samsung phone.       I

     7    do have an iPhone.

     8                MR. BAXTER:    Okay.

     9                THE PANEL MEMBER:      We have other Samsung

    10    products--refrigerator, stove, things like that.

    11                MR. BAXTER:    Yes, ma'am.    Anything about being

    12    positive for Apple, would you be leaning toward Apple's side

    13    if you sat on this jury?

    14                THE PANEL MEMBER:      No, sir.

    15                MR. BAXTER:    Nothing about that would cause you any

    16    problem?

    17                THE PANEL MEMBER:      No, sir.

    18                MR. BAXTER:    Okay.    Thank you very much.

    19          Who's got an iPad or an iWatch?         Anybody?   Everybody

    20    happy with those products?

    21          Now, the inventors of these patents work for the various

    22    technology companies that you saw listed earlier.           Is there

    23    anything with a company owning patents that somebody else

    24    developed, does someone think, well, only the inventor can

    25    really have anything to do with those patents, and if you buy

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 43 of 293 PageID #: 48743
                                                                                 43



     1    a patent, and patents are a fungible entity, they are for sale

     2    like property and they can change hands, is there anybody who

     3    thinks there's a problem that PanOptis didn't actually develop

     4    those products but are in the business of licensing those

     5    products to other companies?       Anybody think that's a problem?

     6          Anybody here able to work on computers or can write

     7    computer code or has anything to do in the computer business?

     8          Yes, sir.    Mr. Givens?

     9                THE PANEL MEMBER:      Yes, sir.

    10                MR. BAXTER:    I understand, sir, you are an IT

    11    director?

    12                THE PANEL MEMBER:      I'm also the director of IT for

    13    my company.

    14                MR. BAXTER:    Tell me what you do about that.

    15                THE PANEL MEMBER:      We actually have, I call it, a

    16    fleet.   We have -- we use iPads for documentation in the

    17    field.   We also have some Android devices.        We use charting

    18    software, logistical software, tracking software, and I manage

    19    all of that.

    20                MR. BAXTER:    Do you understand anything about phone

    21    networks, Mr. Givens?

    22                THE PANEL MEMBER:      Yes, sir.

    23                MR. BAXTER:    Okay.   You know about LTE?

    24                THE PANEL MEMBER:      Yes, sir.

    25                MR. BAXTER:    What experience have you had working

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 44 of 293 PageID #: 48744
                                                                                 44



     1    with LTE?

     2                THE PANEL MEMBER:     Just with signal strength and

     3    increased ability.     A lot of our nurses are working in rural

     4    environments, and they need access to patients' information,

     5    patients' records.

     6                MR. BAXTER:    Is that information then uploaded or

     7    downloaded or whichever way that goes?

     8                THE PANEL MEMBER:     Correct, yes, sir.

     9                MR. BAXTER:    Do you count on the system being fast

    10    and stable that does that for you?

    11                THE PANEL MEMBER:     Yes, sir.

    12                MR. BAXTER:    Is that important for you?

    13                THE PANEL MEMBER:     Yes, sir.

    14                MR. BAXTER:    If the documents won't load or they sit

    15    there and spin, is that a problem for your medical

    16    professionals out in the field?

    17                THE PANEL MEMBER:     Of course, because they wouldn't

    18    have access to the patients' records.

    19                MR. BAXTER:    And you want that to move as fast as it

    20    can?

    21                THE PANEL MEMBER:     Certainly.

    22                MR. BAXTER:    Does anybody feel different than Mr.

    23    Givens does, that it's important that uploads and downloads

    24    move smoothly, they move quickly, and they are dependable?

    25    Anybody disagree with that, that that's an important feature

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 45 of 293 PageID #: 48745
                                                                                 45



     1    of whatever phone you have that's on the LTE network?

     2          Thank you, Mr. Givens.       I appreciate it.

     3          Is there anybody on the panel that's ever applied for a

     4    patent?    Back here, No. 28.      Ms. Brewer?

     5                THE PANEL MEMBER:      Yes.

     6                MR. BAXTER:    What's your experience with patents?

     7                THE PANEL MEMBER:      My husband applied for a patent

     8    this past year, and we have a patent pending.

     9                MR. BAXTER:    Okay.    Did you hire a law firm to help

    10    you with that?

    11                THE PANEL MEMBER:      Yes, sir, one out of Dallas.

    12                MR. BAXTER:    Has it been an interesting process?

    13                THE PANEL MEMBER:      Pretty interesting, long, slow

    14    process.

    15                MR. BAXTER:    Anything about that, Ms. Brewer, that

    16    you think would come to bear in this case?

    17                THE PANEL MEMBER:      No.

    18                MR. BAXTER:    Thank you, ma'am.     Anybody who works

    19    for a company that has intellectual property, has patents or

    20    trade secrets or copyrights or anything of that sort?           Anybody

    21    at all?

    22                UNIDENTIFIED PANEL MEMBER:      I'm sure --

    23                MR. BAXTER:    And remind me, again, who you work for?

    24                THE PANEL MEMBER:      I used to work for Ricoh USA.

    25                MR. BAXTER:    The copying company?

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 46 of 293 PageID #: 48746
                                                                                 46



     1                 THE PANEL MEMBER:    And I am sure there are many

     2    patents they own at this point.

     3                 MR. BAXTER:    Do you know if they tried to enforce

     4    their patents if they own them?

     5                 THE PANEL MEMBER:    I have no idea.     It was outside

     6    my role.

     7                 MR. BAXTER:    I appreciate that.

     8           Anybody else work for a company, Texas Eastman or anyone

     9    else that has patents?

    10           If someone has a dispute in the patent area, does anybody

    11    think it would be wrong to come to court to get that dispute

    12    resolved?

    13           Is there anybody that is a member of any group that is

    14    opposed to lawsuits?       Anybody at all?    Different question.

    15    How many people think there are too many lawsuits?           Anybody at

    16    all?   No?   Good.

    17           Who on the panel uses their phone to browse the internet?

    18    How about looking at YouTube, downloading YouTube videos?            Who

    19    does that?    If you're doing that, do you hope that your phone

    20    doesn't freeze up?     How many are excited when the phone

    21    freezes up?    Anybody at all?     All right.

    22           Now, Judge Gilstrap talked to you about the burden of

    23    proof, and he told you that the burden in this case over

    24    damages is by a preponderance of the evidence.          But when we

    25    start out, everybody's equal.       You haven't heard any evidence

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 47 of 293 PageID #: 48747
                                                                                 47



     1    yesterday, you won't hear any this morning, and so everybody

     2    starts off on an even footing.

     3          But it turns out that in this case, as in all civil

     4    cases, the plaintiff has the burden of proof going forward and

     5    proving its case.     In this case it's going to be talking to

     6    you about damages and proving to you what the damage number

     7    ought to be that Apple owes PanOptis.

     8          That burden is by a preponderance of the evidence, and as

     9    Judge Gilstrap said, if you looked at the scales of justice,

    10    they are equal.     But if you were to stack evidence on one side

    11    or the other and, one side had just a fraction more evidence,

    12    it tilts the scales, as he put it, ever so slightly, then that

    13    is the burden of proof that we have.        It's by a preponderance

    14    of the evidence.

    15          And so as we go forward in thinking about damages, it is

    16    in the context of, has the Plaintiff proved its case by that

    17    one more BB, that one more piece of evidence.

    18          If I can see the next slide, please.

    19          This is what I believe Judge Gilstrap just read to you,

    20    and I'm confident he will read this to you again, that

    21    preponderance of the evidence means you must be persuaded by

    22    the evidence that the claim or affirmative defense is more

    23    probably true than not.

    24          Is there anybody that has a problem with that, that you

    25    think in a damage case somehow the burden ought to be higher,

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 48 of 293 PageID #: 48748
                                                                                 48



     1    that it ought to be that beyond a reasonable doubt or some

     2    other burden of proof?

     3            Does anybody feel like they could not follow Judge

     4    Gilstrap's charge to you on the law, and if he tells you more

     5    probably true than not, is there anybody that couldn't follow

     6    that?    Anybody at all?

     7            Now, in speaking of damages, one of the things that came

     8    to mind was if someone took some of your property and you find

     9    out who it is, and let's suppose it's a gun, they took a

    10    rifle, and they said, well, I sold the rifle and I only got

    11    $10 for it, so here I'm going to give you the $10 and we'll

    12    call it even.     Now, how many people think that's fair?

    13            How many people think that if the person that took the

    14    property said, well, I'll give you 50 percent of the value

    15    but, you know, it was old, it probably wasn't very good, and

    16    so you're only going to get 50 percent, how many people think

    17    that's fair?

    18            How many people think that if someone takes your property

    19    and you find out who it is, that you either get to recover

    20    your property or they have to pay you for it and they have to

    21    pay full damages?     Is there anybody that has a problem with

    22    that?

    23            If you don't, if you think full damages are the measure

    24    that someone ought to pay if they take someone's property,

    25    raise your hand for me.      Is there anybody who thinks it ought

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 49 of 293 PageID #: 48749
                                                                                 49



     1    to be less than full damages?       If it is full damages, raise

     2    your hand for me.     All right.

     3          Now, in this case --

     4          If I can see the next slide, please.

     5          In this case there is going to be some evidence that

     6    you're going to hear, Judge Gilstrap's going to instruct you

     7    about it, called a hypothetical negotiation.          And you're going

     8    to hear damage experts talk about that the law requires damage

     9    experts to construct a hypothetical negotiation between the

    10    parties, and there are 14 or 15 factors you're going to hear

    11    about those.

    12          The negotiation didn't actually take place.         It is

    13    required by the law for damage experts to consider these

    14    factors as they reach their damage number.         They will tell you

    15    there are three things that are important.         One is the parties

    16    have to reach an agreement.       They can't walk away.      Number

    17    two, the patents are valid and infringed.         And, number three,

    18    all the parties have all the relevant knowledge, both in the

    19    past and in the future.      It's called the book of wisdom, and

    20    so all the documents that people have and whatever evidence

    21    there is, that is known at this hypothetical negotiation.

    22          In this case, because that negotiation will take place in

    23    2012, it will be between Apple and the owners at that time of

    24    the patents, which are the technology companies.

    25          Does anybody have a problem with that--that PanOptis will

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 50 of 293 PageID #: 48750
                                                                                 50



     1    not be at that table but, rather, the royalties negotiated

     2    would be in the -- and the damages negotiated would be between

     3    the tech companies and Apple.       Anybody got a problem with

     4    that?

     5            Let's see the next slide if we could, please.

     6            Now, there is a statute that Judge Gilstrap's going to

     7    tell you about, and this is from United States Code, and it

     8    says, upon finding for the claimant, this is in a patent case,

     9    the court shall award the claimant damages adequate to

    10    compensate for the infringement, but in no event less than a

    11    reasonable royalty for the use made of the invention.

    12            This is what's known as the reasonable royalty

    13    calculation.    If Judge Gilstrap tells you that that's how you

    14    determine damages, that the person that owns the patent gets

    15    paid in no event less than a reasonable royalty, does anybody

    16    have any trouble with that?       Anybody at all?

    17            Let me see the next slide, if I could, please.

    18            On top of that, you are going to hear a concept known as

    19    FRAND.

    20            If I can see the next slide.

    21            And that stands for fair, reasonable, and

    22    nondiscriminatory.     And that is because these patents are

    23    standard essential patents and they've been dedicated to what

    24    Judge Gilstrap described to you as a standard setting body

    25    known as ETSI.     And if you dedicate the patents to ETSI, and

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 51 of 293 PageID #: 48751
                                                                                 51



     1    these patents have all been dedicated to ETSI, then the damage

     2    number has to be fair, reasonable, and nondiscriminatory.            And

     3    you are going to hear a lot of evidence about that in this

     4    case about what the rate ought to be.

     5          But is there anybody that has ever heard of FRAND, knows

     6    anything about FRAND, or has any problems with applying the

     7    standard of fair, reasonable, and nondiscriminatory when

     8    figuring out what a reasonable royalty ought to be?           Anybody

     9    at all?

    10          Let me see the next slide, if I could, please, Ms.

    11    Truelove.

    12          This is the amount of damages that we believe that Apple

    13    owes PanOptis in this case for the five patents:          $506

    14    million.    And that's a lot of money.      As you can tell, this is

    15    a big, important case.

    16          Now, I'm not going to ask you if you can or will give

    17    PanOptis that much money at the end of this trial.           All I want

    18    to know is, because you now haven't heard any evidence, is

    19    there anybody that sees that number and says, nope, can't do

    20    that, not going to do it, too much money?         Anybody at all?

    21          Can I get everyone to tell me if in fact -- that if the

    22    evidence by a preponderance of the evidence points toward this

    23    being the fair and reasonable number for the royalty in this

    24    case, does anybody have any hesitation of writing that number

    25    down on the jury form?      Anybody at all?

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 52 of 293 PageID #: 48752
                                                                                 52



     1          Mr. Anderson, how about you, sir?         You're sitting there

     2    on the front row.     You get on this jury and you see numbers

     3    thrown about in the hundreds of millions of dollars, is that a

     4    problem?

     5                THE PANEL MEMBER:      Not to me.

     6                MR. BAXTER:    All right.    If the evidence pointed to

     7    that, can you say, yep, that's the number that it ought to be?

     8                THE PANEL MEMBER:      Yes, sir.

     9                MR. BAXTER:    Okay.   All right.

    10          Reverend Chapman, I don't want to say this is like

    11    passing the collection plate, but it is something you are

    12    familiar with of the value of things.          Tell me if that number

    13    is a problem for you.

    14                THE PANEL MEMBER:      No, it's not.

    15                MR. BAXTER:    If the evidence by a preponderance says

    16    that is the right number, would you vote to put that down on

    17    the verdict form?

    18                THE PANEL MEMBER:      Yes, I could do that.

    19                MR. BAXTER:    All right.    Is there anybody that has a

    20    problem with that?

    21          No. 15, Reverend Emerson, I'm going to put you in the

    22    same boat as Ms. Chapman.       Is that number a problem for you?

    23                THE PANEL MEMBER:      No, it is not.    But I will

    24    honestly say 10 percent, that could do a lot of good for the

    25    church.

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 53 of 293 PageID #: 48753
                                                                                 53



     1                 MR. BAXTER:   I'm going to talk to my client about

     2    that.

     3                 THE PANEL MEMBER:     So I do not have a problem with

     4    that, sir.

     5                 MR. BAXTER:   Okay.   Not anything that says, no, no,

     6    too much money?

     7                 THE PANEL MEMBER:     I will personally say that's a

     8    lot of money.

     9                 MR. BAXTER:   It is a lot of money.

    10                 THE PANEL MEMBER:     It's a lot of money.     If the case

    11    states that that's the right number without a preponderance, I

    12    have no problem with it.

    13                 MR. BAXTER:   So if the experts or the technical

    14    people or the representative from PanOptis convince you by

    15    that preponderance of the evidence that is the right number,

    16    no problem with you.

    17                 THE PANEL MEMBER:     No problem.

    18                 MR. BAXTER:   No problem?

    19                 THE PANEL MEMBER:     No, sir.

    20                 MR. BAXTER:   Thank you, Reverend.      Is there

    21    anybody -- now that you've seen the number for a little while,

    22    and it's a lot of money, is there anybody that's got a problem

    23    with it?    Not whether you will commit to give it to me today

    24    because you haven't heard any evidence.

    25                 THE COURT:    You have five minutes remaining.

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 54 of 293 PageID #: 48754
                                                                                 54



     1                MR. BAXTER:    Thank you, Your Honor.

     2          But you can tell me that if the evidence by a

     3    preponderance, by that one more BB, says that's the right

     4    number, is there anybody that couldn't write it down, wouldn't

     5    write it down on the basis that it's too much money?           Anybody

     6    at all?    All right.    Thank you.

     7          If I can see the next slide, please.

     8          The judge has also talked to you about this, and I think

     9    this is going to be very important in this case.          And he told

    10    you that if you're on this jury, you are the sole judge of the

    11    credibility of the witnesses--that is, you are going to

    12    determine if that witness has been forthright with you,

    13    answered the questions that they were asked, and answered them

    14    in a forthright manner, and that their testimony was

    15    believable.

    16          You're going to hear a lot of experts in this case, some

    17    on technical issues, some on damage issues, and I will tell

    18    you that sometimes that testimony can get a little convoluted,

    19    and it can be difficult.

    20          What I'm asking you, is there anybody that thinks that at

    21    the end of the day you couldn't sit in the jury box and listen

    22    to and watch an expert and, either through the consistency of

    23    what they say or their body language or the method in which

    24    they answered the questions or how forthright they appear to

    25    be coming, is there anybody that says, well, really I

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 55 of 293 PageID #: 48755
                                                                                 55



     1    shouldn't judge their credibility, I can't tell?

     2          Is there anybody that has any hesitation about judging

     3    the credibility of the witnesses?        Anybody at all?

     4          Is there anybody that has any reservation about serving

     5    on this jury?     I know there are four of you that may have some

     6    conflicts, and I'm not talking about that.         I'm talking about

     7    whether or not just being on the jury, you feel like, well, I

     8    shouldn't do it.     Is there some reason that you feel like you

     9    couldn't serve on this jury?       Anybody at all?

    10          Ms. Jordan, you've got a new school, do you?          Are you

    11    going to a new school.      Are you going to William E. Travis?

    12                THE PANEL MEMBER:     Yes.

    13                MR. BAXTER:    You're out there with Ms. Johnson?

    14                THE PANEL MEMBER:     Yes.

    15                MR. BAXTER:    The best principal in Marshall?

    16                THE PANEL MEMBER:     Of course.

    17                MR. BAXTER:    What are you going to teach out there,

    18    Ms. Jordan?

    19                THE PANEL MEMBER:     This year I'm moving to math

    20    interventionist.

    21                MR. BAXTER:    And tell me what that is.

    22                THE PANEL MEMBER:     This year is my first year.         I

    23    will be doing pull out once we get the assessments done, and I

    24    will be serving small groups of students who need additional

    25    assistance in math to pull them up to grade level.

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 56 of 293 PageID #: 48756
                                                                                 56



     1                MR. BAXTER:    Do you know about Saturday school out

     2    at William B. Travis?

     3                THE PANEL MEMBER:      Yes.

     4                MR. BAXTER:    Do you plan on being involved in that?

     5                THE PANEL MEMBER:      Yes, I do.

     6                MR. BAXTER:    Just for the education of the panel,

     7    tell them what Saturday school is.

     8                THE PANEL MEMBER:      Saturday school is when we come

     9    out and -- bring the students who need the additional

    10    assistance, and the teachers come out and assist those

    11    students.    And we do things that are not traditional in the

    12    classroom to give them different opportunities to learn in

    13    multiple ways.

    14                MR. BAXTER:    Okay.   Thank you, ma'am.

    15          I appreciate it.     Is there anybody that knows any reason

    16    why they could not be a fair and impartial jury in this case?

    17    Anybody at all?     Because of the money?       Because it's a damages

    18    only trial?    Anything of the sort?       Or you just don't like the

    19    judicial system for whatever reason?         Don't like lawsuits,

    20    don't like being here, whatever it is.          Is there anybody that

    21    has any issue whatsoever?

    22          If not, Your Honor, I thank you very much for your time.

    23                THE COURT:    All right.      Ms. Smith, you may address

    24    the panel on behalf of the Defendant.         Would you like a

    25    warning on your time?

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 57 of 293 PageID #: 48757
                                                                                 57



     1                 MS. SMITH:   I would, Your Honor, five minutes,

     2    please.

     3                 THE COURT:   All right.    I'll warn you when you have

     4    five minutes remaining.

     5                 MS. SMITH:   Thank you.

     6                 THE COURT:   You may proceed when you are ready.

     7                 MS. SMITH:   May it please the Court.

     8            Good morning, everybody.    Again, my name is Melissa

     9    Smith, and I'm here today to represent Apple along with Mr.

    10    Mueller.

    11            I will start this morning with the most important thing

    12    that I'll do all day, and that's to thank you.          I know when

    13    you get a jury summons in the mail, it's probably not good

    14    news.    I know that you have many obligations, and every minute

    15    that you spend here is a minute that you don't have for your

    16    family, your friends, your work.

    17            I also know that some of you started your service last

    18    week when you took time to fill out this jury questionnaire.

    19    And so we appreciate -- on behalf of Apple, we appreciate your

    20    time today and preparation for today.

    21            Now, I'll do as His Honor and the other lawyers have

    22    done, I'll tell you a little bit about myself.          I went to the

    23    University of Texas undergrad, and then as Judge Gilstrap did,

    24    I went to Baylor Law School.       That's been 24 years ago.

    25            I moved -- I went straight from Baylor to Jefferson,

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 58 of 293 PageID #: 48758
                                                                                 58



     1    Texas, and I took a job here with a firm in Marshall.           The

     2    gentleman that hired me, his name is Gil Gillam.          He has been

     3    my partner.    At some point I convinced him that I should be

     4    his partner rather than his associate, and we've been partners

     5    for the last 24 years.

     6          We have a firm called Gillam & Smith.        I'm the Smith.

     7    And some of you probably drove by it this morning on the way

     8    to the courthouse, it sits right behind this courthouse.

     9          Personally, I'm married.      My husband's name is Steven.

    10    He used to be a police officer, but now he's a reserve officer

    11    in Marion County.     We have two kids.     We have an

    12    eight-year-old girl and a 10-year-old boy.         So when I'm not in

    13    the courtroom, my little girl, or our little girl, spends her

    14    time on a pony running the barrels, and our boy is getting

    15    ready to play flag football this year.         So that's what keeps

    16    me busy out of the courtroom.

    17          Now, for those of you lucky enough to be chosen for this

    18    panel, Mr. Mueller is going to tell you a little bit more

    19    about himself in opening statement.

    20          Now, you heard a little bit already about how Mr. Baxter

    21    and the Plaintiffs view this case.        And as His Honor has told

    22    you, this is a case -- it's easy in some respects because you

    23    as jurors would be doing one task, and that's setting a FRAND

    24    royalty rate for five patents.

    25          Your Honor, may I use your document camera?

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 59 of 293 PageID #: 48759
                                                                                 59



     1                THE COURT:    You may.

     2                MS. SMITH:    Thank you.

     3          Now, we see that same language that Mr. Baxter referred

     4    you to, and I'm going to -- for those of you that serve on

     5    this panel, we are going to wear you out.         You are going to

     6    hear a lot about FRAND because, again, that's the only issue

     7    in the case.

     8          So fair -- the F starts us off, and F stands for fair.           R

     9    is reasonable.     We see And, and ND for nondiscriminatory.

    10          Now, I'm sure that all of you in your own lives want to

    11    be treated fairly.     You want to be treated reasonably.        No one

    12    wants to be treated unreasonably.        You don't want to be

    13    singled out for what you are or who you are, and you don't

    14    want to be discriminated against.        And that's exactly what

    15    Apple is asking for in this courtroom.         We want to be treated

    16    fair, reasonably, and we don't want to be discriminated

    17    against.

    18          Now, you're going to learn that the five patents, and

    19    we're talking about five patents in this case, are all subject

    20    to an actual requirement.       It's a requirement that the owners

    21    of the patents allow others, anyone in the world, to use their

    22    patents if you pay fair, reasonable, and nondiscriminatory

    23    terms.

    24          And this is where it gets a little bit interesting and

    25    jurors are sometimes surprised.        To do your task as a juror in

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 60 of 293 PageID #: 48760
                                                                                 60



     1    this case, you have to go back to 2012 and at a negotiating

     2    table.    And I've got a little picture here.        See our

     3    negotiating table here.      And this is a hypothetical

     4    negotiation.

     5            So it's a negotiation that didn't actually happen, but

     6    it's what would have happened between the owners of these

     7    patents, the original owners of the patents that aren't in the

     8    courtroom today.     So it's going to be a negotiation between

     9    Apple on one side and Panasonic, Samsung, and LG, the

    10    inventors, the original inventors and owners on the other

    11    side.

    12            So what I'm going to use my precious little time to visit

    13    with you about today is your views on how you might approach

    14    taking a look at this type of negotiation.

    15            Now, I want to start out by talking to you about Apple.

    16    Mr. Baxter already asked you, and I saw maybe a showing of

    17    hands, who owns an Apple product?        All right.    Might be easier

    18    to say, who does not own -- who has never owned an Apple

    19    product?    Juror No. 3; 7; 14; Mr. Phelps, who's No. 8; and

    20    Juror No. 21.     All right.

    21            For those of you that have owned Apple products, I'm

    22    interested in your experience with the products.          Anybody have

    23    any unfortunate experience with an Apple product you own, any

    24    problems, troubles with it?

    25            Juror No. 13.   I thought you might say that.       Tell me

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 61 of 293 PageID #: 48761
                                                                                 61



     1    about that, sir, Mr. Gutierrez.

     2                 THE PANEL MEMBER:     My problem is Apple's supposition

     3    to right to repair.       iPad, my iPhone screen broke.      I cannot

     4    find parts, and I do not want to pay $400 for the company to

     5    repair it for me when I can just do it easily at home.

     6          And once I did get a part, it disabled every display

     7    feature in it and it only left me with a blank display.            It

     8    worked.    It just disabled Truetone and other things like the

     9    cameras and things like that.       And I just believe that it's

    10    not right.

    11                 MS. SMITH:    And I'm going to keep you up, please,

    12    for a moment.     And I appreciate your honesty, and that's

    13    exactly what we're looking for in this exercise.

    14          Now, as Apple's lawyer, I probably have a reason to be a

    15    little bit concerned about you, do I not?

    16                 THE PANEL MEMBER:     You may.

    17                 MS. SMITH:    Okay.   All right.   Well, given your

    18    experience with Apple and your frustrations that you shared

    19    with me, I can tell you if you do not serve on this jury,

    20    there will be -- judge Gilstrap will give you another

    21    opportunity.    So do you think you might be a better fit for a

    22    different jury that Apple's not involved in?

    23                 THE PANEL MEMBER:     Well, I don't think so because

    24    this has really nothing to do with the situation that I had

    25    problems with.     I just -- I don't know what the situation is

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 62 of 293 PageID #: 48762
                                                                                 62



     1    yet, so --

     2                 MS. SMITH:   So both sides are starting out equally,

     3    sir?

     4                 THE PANEL MEMBER:    Yes.

     5                 MS. SMITH:   Thank you.

     6                 THE PANEL MEMBER:    Any problem I may have with

     7    Apple, I still haven't heard anything about the case.

     8                 MS. SMITH:   I appreciate that.     Thank you, sir.

     9           All right.    Any other Apple product owners that have had

    10    an issue with an Apple product?        All right.

    11           Does anybody have a negative view of Apple generally?

    12    You know, my kids are always interested in what I'm doing at

    13    work, and I tell my little boy that I was going to go work on

    14    an Apple case.      And he said, gosh, I saw way too many Apple

    15    commercials interrupting the Olympics, because we've been

    16    watching a lot of Olympics.

    17           So for any reason, you know, any reason somebody thinks

    18    that maybe Apple isn't starting off on the same place or you

    19    have generally a negative view of Apple?         Yes.   Juror No. 23,

    20    Mr. Givens.    Tell me about that.

    21                 THE PANEL MEMBER:    Honestly, from a standard of

    22    business practice foundation, I mean, I could tell you a story

    23    if you'd like.      There's really no need in it.

    24                 MS. SMITH:   Okay.

    25                 THE PANEL MEMBER:    But, I mean, I just don't prefer

                                Shawn M. McRoberts, RMR, CRR
                              Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 63 of 293 PageID #: 48763
                                                                                 63



     1    Apple -- I don't prefer Apple products.         They are impossible

     2    to work on.    I use Android, and Android devices are easier to

     3    work on, easier to program.       I mean --

     4                MS. SMITH:    I appreciate your honesty.      Thank you,

     5    sir.

     6           All right.    A little bit different question.       Mr. Baxter

     7    put up a slide that told you-all that they're going to be

     8    asking Apple to pay, he said, $506 million, but I believe over

     9    a half billion, billion dollars, in this case.

    10           Is there anybody sitting there right now that says, you

    11    know, Apple can pay, Apple may be able to pay that, it's a big

    12    company, so they should pay.

    13           Mr. Gutierrez, I see you are shaking your head a little.

    14    I've already spoken with you.

    15           Is there anyone else that might have that feeling?          Thank

    16    you.

    17           Is there anyone out there that thinks, well, you know,

    18    it's not easy, you know, it takes a while to get to the

    19    courthouse.    You know, this case has made it all the way to

    20    the courthouse so the Plaintiffs deserve that kind of money.

    21    Anybody have that feeling just by virtue of making it this far

    22    to trial?

    23           Now, looking back at the screen again, we're going to be

    24    talking about this negotiation between Apple and Panasonic and

    25    Samsung and LG.      And is there anyone who hasn't heard of

                                Shawn M. McRoberts, RMR, CRR
                              Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 64 of 293 PageID #: 48764
                                                                                 64



     1    Panasonic, Samsung, and LG?       Those are household names.       We've

     2    all heard of those.      Okay.    Shaking your heads.

     3           Now, Samsung and LG are Korean companies.        Has anybody

     4    ever lived in Korea?      A show of hands.     Okay.

     5           And Panasonic is a Japanese company.        Has anybody ever

     6    lived over in Japan?      Okay.   I see no hands.

     7           Let's talk a little bit about folks that own Samsung, LG,

     8    and Panasonic products.      A showing of hands if you own

     9    products by any of these folks, any of these companies on the

    10    right-hand side of the screen?

    11           I knew you were going to raise your hand, Mr. Gutierrez.

    12           If you would keep your hands up.       All right.

    13           Let me talk to Juror No. 4.       Ms. Hamilton, what do you

    14    own?

    15                THE PANEL MEMBER:      A Samsung TV?

    16                MS. SMITH:    All right.     You've had that for a while,

    17    you're happy with it?

    18                THE PANEL MEMBER:      Yeah.

    19                MS. SMITH:    Okay.    There are some people that, you

    20    know, buy a TV, they're are happy with it.         And then there are

    21    some people that are really, really loyal, brand loyalists,

    22    they have eight Samsung TVs in their house or a refrigerator,

    23    something like that.      Does that describe you?

    24                THE PANEL MEMBER:      No.   We just buy whatever looks

    25    appealing at the time or whatever meets our need at the time.

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 65 of 293 PageID #: 48765
                                                                                 65



     1                MS. SMITH:    Okay.

     2                THE PANEL MEMBER:     It's not one product or another.

     3                MS. SMITH:    I appreciate that, ma'am.      Thank you.

     4          Now, anybody else had raised their hand that owns these

     5    Panasonic, Samsung, and LG products that is what I call kind

     6    of a brand loyalist, it's all you buy, all you've ever bought,

     7    and are really loyal to one of these three brands?

     8          Juror No. 6, I believe you raised your hand.          What kind

     9    of products do you own?

    10                THE PANEL MEMBER:     Television.

    11                THE COURT:    Okay.   Any problem with the fact that

    12    you own -- is it Samsung?

    13                THE PANEL MEMBER:     Yes.

    14                MS. SMITH:    A Samsung TV, and there is going to be

    15    this negotiation between Apple and Samsung, does that start

    16    you leaning one way or the other?

    17                THE PANEL MEMBER:     No, it does not.

    18                MS. SMITH:    Thank you, ma'am.     I appreciate that.

    19          All right.    Before I go further down the road, I want to

    20    talk about the folks seated over here at the table with Mr.

    21    Baxter.    Mr. Baxter mentioned his wife, and we talked about

    22    Judge Parish.     Judge Parish is married to Todd Parish.        Does

    23    anyone know Todd Parish?

    24                THE PANEL MEMBER:     I sort of resent that.

    25                MS. SMITH:    Oh, I'm sorry.    I'm sorry.    Todd Parish

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 66 of 293 PageID #: 48766
                                                                                 66



     1    is Mr. Baxter's brother-in-law --

     2                 MR. BAXTER:   That's correct.

     3                 MS. SMITH:    -- married to his sister.     I didn't mean

     4    to insinuate anything.      Mr. Baxter is married to Todd's -- to

     5    Lauren Parish, and Todd Parish is his sister --

     6    brother-in-law.

     7          There's a lot of Parishes.       I'm struggling here.     That's

     8    probably a better question because my next question is going

     9    to be about Welby Parish.       Who knows a Parish beyond Judge

    10    Parish in the room?

    11          Ms. King, did you teach them all?

    12                 THE PANEL MEMBER:    I did not teach them all.      I did

    13    know Will Parish, and I do know Todd, and I knew the baby

    14    girl, too.    However, I didn't even put him with Lauren Parish

    15    until he mentioned it himself.

    16                 MS. SMITH:    I think they're newly married, and he's

    17    a new resident of Gilmer, I believe.

    18                 THE PANEL MEMBER:    Right.   Okay.   So, in other

    19    words, I didn't even associate him at all with Lauren.

    20                 MS. SMITH:    Ms. King, now that you have associated

    21    him with Judge Parish, do I have anything to worry about, that

    22    Mr. Baxter is sitting over here on one side and I'm on the

    23    other side of the courtroom?

    24                 THE PANEL MEMBER:    God knows that you don't let one

    25    person influence your feelings about another person --

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 67 of 293 PageID #: 48767
                                                                                 67



     1                MS. SMITH:    Thank you.

     2                THE PANEL MEMBER:     -- that I know how to sort and

     3    separate.    I wouldn't have been successful in a classroom for

     4    41 and a half years if I didn't know how to put everything in

     5    its own place and its own time and not be prejudiced at any

     6    time with anyone, for or against.

     7                MS. SMITH:    Thank you.

     8                THE PANEL MEMBER:     My honest opinion is I'm waiting

     9    to see the facts, and I don't prejudge anyone or anything.

    10                MS. SMITH:    Thank you, ma'am.     And that's exactly

    11    what Apple is asking for in this case.         We appreciate it.

    12          Reverend Chapman, you said that you knew Judge Parish

    13    from church?    All right.    Anything about that relationship

    14    that I should have to worry about?

    15                THE PANEL MEMBER:     Absolutely not.

    16                MS. SMITH:    All right.    Do you know any of the other

    17    Parishes?

    18                THE PANEL MEMBER:     No.

    19                MS. SMITH:    They don't show up at church on Sunday?

    20    What about --

    21                THE COURT:    Sit down, Mr. Baxter.

    22                MS. SMITH:    I actually did mean to insinuate that,

    23    Your Honor.

    24          All right.    Thank you, Reverend.      I appreciate it.

    25          Other folks that are seated at the table, Ms. Truelove,

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 68 of 293 PageID #: 48768
                                                                                 68



     1    Ms. Truelove has a husband, Curt Truelove.          He practices law

     2    in town here.     Anyone know the Trueloves?

     3            Judge George, casual acquaintance or something I should

     4    worry about?

     5                 THE PANEL MEMBER:      Definitely casual acquaintance.

     6                 MS. SMITH:    Okay.    But you have something else to

     7    tell me about that, Judge?

     8                 THE PANEL MEMBER:      Oh, no.

     9                 MS. SMITH:    All right.      Other folks that work with

    10    Mr. Baxter, JoAnn Garrett?         Judge George, I knew you were

    11    going to raise your hand on that one.          All right.

    12            All right.    We see up here my three companies over here,

    13    Panasonic, Samsung, and LG, and we see Apple on the other

    14    side.    Who thinks competition is a good thing generally?           We

    15    all agree competition is a good thing?

    16            No. 7, you are shaking your head yes.

    17            All right.    So let me choose someone.     How about Juror

    18    No. 2, Mr. Jirka?

    19                 THE PANEL MEMBER:      Yes.

    20                 MS. SMITH:    All right.      I'm going to give you a

    21    hypothetical.     We've got Ford Motor on one side, we've got

    22    Toyota Nissan and Hyundai on the other side.          They are

    23    negotiating a deal.       Do you think those three automakers,

    24    Toyota, Nissan, and Hyundai, when they're against Ford, do you

    25    think they might be motivated to give Ford a fair and a

                                 Shawn M. McRoberts, RMR, CRR
                               Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 69 of 293 PageID #: 48769
                                                                                 69



     1    reasonable deal?

     2                THE PANEL MEMBER:     Depends on what they're

     3    negotiating for and what Ford is willing to give Toyota and

     4    the other three as well.

     5                MS. SMITH:    Okay.   What if -- do you think that

     6    Nissan and Hyundai and Toyota would want to get the absolute

     7    most money out of Ford regardless of the facts because it

     8    would further their interests?

     9                THE PANEL MEMBER:     Yeah, definitely.     I mean, that's

    10    the job of the negotiator.

    11                MS. SMITH:    Thank you, sir.

    12          All right.    Let's take it a step further.       Is there

    13    anybody that would agree -- and you can sit down, sir.

    14          Is there anybody that would agree?        And we haven't heard

    15    from Juror No. 14, Ms. Berryman.         Do you think big companies

    16    can do whatever it takes to win a competition even if it means

    17    not being fair or being reasonable?

    18                THE PANEL MEMBER:     No, to be truthful.

    19                MS. SMITH:    Do you think companies should play by

    20    the rules just like individuals do?

    21                THE PANEL MEMBER:     Yes.

    22                MS. SMITH:    Okay.   Do you also think companies, if

    23    they make a deal, kind of like when you make a deal, a deal's

    24    a deal and they have to stick to it?

    25                THE PANEL MEMBER:     Yes, ma'am.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 70 of 293 PageID #: 48770
                                                                                 70



     1                 MS. SMITH:    All right.      Thank you, ma'am.

     2          Is there anyone that would agree with the statement that

     3    it's okay to file a lawsuit to get ahead in competition?

     4    Anybody agree with that statement?

     5          All right.      Did any -- has anybody ever heard of the five

     6    companies that are Plaintiffs in this suit, the Optis

     7    companies?    I don't think they make a product or sell a

     8    product, but had anybody heart of the Optis companies before

     9    coming into court today?      I see a lot of head nods no.

    10          Now let's see who I'm going to call on next.          How about

    11    Juror No. 3, Mr. Anderson?         Have you ever bought a car, Mr.

    12    Anderson?

    13                 THE PANEL MEMBER:      Ma'am?

    14                 MS. SMITH:    You purchased some cars throughout life

    15    I assume?

    16                 THE PANEL MEMBER:      Yes.

    17                 MS. SMITH:    All right.      Let's say you're going out

    18    and you're going to buy a car.        What kind of a car do you want

    19    to buy?    A truck?

    20                 THE PANEL MEMBER:      A Toyota.

    21                 MS. SMITH:    Okay.    I'm with you.   You're going to go

    22    buy a Toyota, and one of the first things you might do, you

    23    know, is look around and see what model you like and

    24    comparison shop, maybe online or dealerships.          Is that

    25    correct?

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 71 of 293 PageID #: 48771
                                                                                 71



     1                 THE PANEL MEMBER:    Yes, ma'am.

     2                 MS. SMITH:   Okay.   So you've got your eye on a

     3    Toyota.    And your neighbor buys that same Toyota, and they

     4    come to you and say, well, I bought this Toyota at this

     5    dealership yesterday for $35,000.

     6            And you said, well, that sounds pretty good.        And you go

     7    to the dealership the next day and you go to the salesman, and

     8    you say, I'll give you $35,000 for that Toyota.          Okay?

     9            And he says, well, no, that was yesterday.       Today that

    10    same Toyota is worth $50,000.

    11            Do you buy that Toyota?

    12                 THE PANEL MEMBER:    No.   I'm cheap.    I go for the

    13    used.

    14                 MS. SMITH:   Okay.   Just keep with me, though.       Keep

    15    with me.    Okay?

    16            So you go to lunch, you go to lunch, and you shake your

    17    head, and you say, well, you know, maybe I heard that wrong.

    18    Maybe I heard that wrong.       So you give them the benefit of the

    19    doubt.    You seem like a reasonable guy.       You give them the

    20    benefit of the doubt.      You go back after lunch, and you say,

    21    well, let's talk about that Toyota again.

    22            And he says, well, it's a hundred thousand.

    23                 THE PANEL MEMBER:    That would be my luck.

    24                 MS. SMITH:   Well, we're not going to talk about luck

    25    in this lawsuit, but we are going to talk about negotiations

                                Shawn M. McRoberts, RMR, CRR
                              Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 72 of 293 PageID #: 48772
                                                                                 72



     1    and what's reasonable.       Do you think that's a reasonable way

     2    to negotiate?

     3                  THE PANEL MEMBER:    No, ma'am.

     4                  MS. SMITH:   Okay.   Do you think if that salesman, in

     5    between the time he first met you and the next day when you

     6    came back, if he saw that you lived in a big house and you had

     7    lots of money, do you think if he took that into account and

     8    raised that price, that would be fair?

     9                  THE PANEL MEMBER:    No.

    10                  MS. SMITH:   All right.    Thank you, sir.

    11          I assume I have agreement if I asked you-all the same

    12    question by raising your hands, that wouldn't be a fair way to

    13    negotiate, would it?       That's not the negotiation we're all

    14    used to where the price just escalates and keeps going up.            Is

    15    that right?     All right.

    16          Now, one of the ways I get to know you guys in these

    17    exercises is kind of listening to how you would -- how would

    18    you describe yourselves.      So the first group of people I want

    19    to hear from with the raise of hands are those that would

    20    describe themselves as the type that make quick decisions.

    21          Do I have any quick decision makers on the panel?          Not a

    22    single person?

    23          Okay.    Ms. Ross, how would you categorize yourself?

    24    Would you categorize yourself as a quick decision maker or

    25    someone that takes time and gives thoughtful consideration to

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 73 of 293 PageID #: 48773
                                                                                 73



     1    every decision?

     2                 THE PANEL MEMBER:    I take a little time before I do

     3    anything.

     4                 MS. SMITH:   Okay.   And here's where I'm going with

     5    this, because in this case, as you've already seen, the

     6    Plaintiff is going to stand up and they get to go first, and

     7    then Apple is always going to go second.         So you're going to

     8    hear from Mr. Baxter, and it may be a day or two before you

     9    hear from Apple.

    10          And so what's important for me to know is that

    11    everybody's going to wait until you hear the whole story

    12    before you make up your mind.       I see some head nods.

    13          By a showing of hands, can I have an agreement that

    14    everyone will wait?

    15          I know, Ms. King, you will certainly because you told us

    16    that earlier.

    17          Showing of hands?     Juror No. 7, I see your head shaking.

    18          All right.    A little bit different question.        Some folks

    19    tend to make up their mind on their own.         They don't want any

    20    outside influence.     They don't want anybody whispering in

    21    their ear.    Other folks, they tend to rely upon others for

    22    advice at times, whether it be experts or manuals or YouTube

    23    videos.

    24          Who are the folks that are kind of my lone wolfs that

    25    like to make up their mind on their own without any outside

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 74 of 293 PageID #: 48774
                                                                                 74



     1    intervention and input?      Raise your hand.

     2          Ms. King.    Judge George.    Juror No. 7, I haven't spoken

     3    to you.    Mr. Woods, why do you put yourself in that category.

     4                THE COURT:    Mr. Woods, wait until you get the

     5    microphone, sir.

     6                THE PANEL MEMBER:      Sorry.

     7                THE COURT:    Thank you.

     8                THE PANEL MEMBER:      I would like to hear all the

     9    facts to make sure that I understand exactly what's going on.

    10                MS. SMITH:    Okay.    And more often than not, after

    11    you hear all the facts, you don't need anyone to help you make

    12    a decision, you are confident making it on your own?

    13                THE PANEL MEMBER:      Correct.

    14                MS. SMITH:    Okay.    And not often after you make a

    15    decision, do you get a little bit stubborn about that decision

    16    and you don't want to change your mind?

    17                THE PANEL MEMBER:      Usually if I make a decision, I

    18    usually stick with it.

    19                MS. SMITH:    Okay.    Thank you, sir.

    20                THE COURT:    You have five minutes remaining,

    21    counsel.

    22                MS. SMITH:    Thank you, Your Honor.

    23          Now, I think for those of you that end up serving, you're

    24    going to hear that this case is not about punishment.           There

    25    is no amount of money that anyone's going to ask for to punish

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 75 of 293 PageID #: 48775
                                                                                 75



     1    Apple or anyone else in the case.

     2          But at times, you know, some folks get kind of emotional

     3    about these cases, and they say, well, even if Judge Gilstrap

     4    gives me that instruction, you know, I heard some testimony

     5    from a witness and it made me mad, or that lawyer is really

     6    aggravating me, and it's really more important for juries to

     7    do justice rather than follow the law or the Judge's

     8    instructions.

     9          Does anyone believe that, have that belief in your heart

    10    of hearts, that at times it's just more important for juries

    11    to do justice than follow the law?        All right.

    12          Mr. Baxter asked you some questions about the

    13    half-billion dollar number he put up on the screen.           Here's a

    14    different question.      Does anyone think -- we all read about

    15    cases in the newspaper.      Does anyone think in the last few

    16    years, you know, the money damages in lawsuits are too low?

    17    You see a case and you think, I would have given more money

    18    than that had I been on that jury.

    19          Anyone have that thought?

    20          Had anybody heard anything about this case prior to

    21    coming to the courthouse today?        Anybody read anything online,

    22    in the paper, anything like that?

    23          Had anybody read anything about patent cases in East

    24    Texas before coming to the courthouse today?          Anybody read

    25    anything about patent cases in East Texas?         First time

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 76 of 293 PageID #: 48776
                                                                                 76



     1    anyone's heard about them?

     2          Now, I'm going to end with probably the similar question

     3    that Mr. Baxter ended with.       As lawyers, you know, we

     4    can't -- you're sitting out there, and we're trying to get to

     5    know you, and we can't know all the right questions to ask.            I

     6    certainly don't know all the right questions to ask.

     7          So is there somebody sitting there thinking, gosh, if Ms.

     8    Smith would have just asked me this question, I would have

     9    told her that I wouldn't be the best juror for this case?

    10    Anyone have that thought?       All right.

    11          Well, I will end where I started, and that's by thanking

    12    you, thanking you for showing up, and thanks to you that are

    13    lucky enough to be chosen to serve.

    14          Thank you, Your Honor.

    15                THE COURT:    Counsel, approach the bench, please.

    16          (The following was had at the bench.)

    17                THE COURT:    Mr. Baxter, does the Plaintiff have any

    18    challenges for cause?

    19                MR. BAXTER:    No, Your Honor.

    20                THE COURT:    Ms. Smith, does the Defendant have

    21    challenges for cause?

    22                MS. SMITH:    No. 13 and 23.

    23                THE COURT:    All right.    No. 4 and No. 7 and No. 14

    24    have all indicated they may have a scheduling problem.           No.

    25    13's been challenged for cause.        The next venire member who's

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 77 of 293 PageID #: 48777
                                                                                 77



     1    had anything raised regarding them is 23, Mr. Givens.           We're

     2    going to seat eight jurors, and each side's going to get four

     3    strikes.    That's a total of 16.

     4            If, hypothetically, I were to release the three that have

     5    indicated a scheduling problem, 4, 7, and 14, and if I were to

     6    grant the challenge for cause on 13, hypothetically, that

     7    still gives us more than enough jurors to seat a jury before

     8    getting to 23.     Do you-all agree with that?

     9                 MR. BAXTER:   Yes, Your Honor.

    10                 MS. SMITH:    Yes.

    11                 THE COURT:    So I'm going to recess the jury panel

    12    and hold back 4, 7, 13, and 14.         And even though Ms. Smith's

    13    challenged 23 for cause and No. 24 has indicated a scheduling

    14    issue, I see no reason to bring them to the bench if we can

    15    seat a jury without having to get that far.          Does everybody

    16    agree?

    17                 MS. SMITH:    Agree.

    18                 MR. BAXTER:   Yes, Your Honor.

    19                 THE COURT:    All right.    If you will take your places

    20    at counsel table, I will bring you back up after I recess the

    21    jury.

    22                 (The following was had in the presence and hearing

    23                 of the jury panel.)

    24                 THE COURT:    Ladies and gentlemen, I'm about to

    25    excuse those of you on the venire panel for a recess.           And in

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 78 of 293 PageID #: 48778
                                                                                 78



     1    just a minute when you recess, ladies and gentlemen, if you'll

     2    exit through the double doors in the back of the courtroom.

     3    As you go out those double doors, if you take a left and go

     4    around the corner, you'll find two important things--the water

     5    fountain and the bathrooms.       Feel free to take advantage of

     6    either or both during this recess.

     7          Also, I'm going to ask you to stay in the building, don't

     8    go outside, but you'll be outside of the courtroom during this

     9    recess.

    10          Also, ladies and gentlemen, don't hesitate to be friendly

    11    or have a conversation with anybody else that you'd like to on

    12    the venire panel.

    13          I often get lawyers who ask the question, is there

    14    anybody on the panel that knows anybody else on the panel.

    15    Maybe some of you know one or two other members that are here

    16    today.    If you'd like to speak and have a conversation, that's

    17    fine, but don't discuss anything that's happened in the

    18    courtroom this morning.      Don't discuss anything you've heard

    19    in the courtroom this morning.

    20          And let me remind you of this.       You have heard absolutely

    21    no evidence in this case; none whatsoever.         So talk about the

    22    August weather in Texas, talk about how many Parishes you can

    23    count, talk about the Big 12 and what a fiasco that is going

    24    to be for football in Texas, talk about whatever you want to

    25    talk about, but don't talk about anything that's happened in

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 79 of 293 PageID #: 48779
                                                                                 79



     1    the courtroom this morning or that you've heard since you've

     2    been in the courtroom this morning.

     3          Also, there are just a couple of you that I'm going to

     4    ask to stay behind and not leave the courtroom during this

     5    recess so that I can have an opportunity to talk to you

     6    privately here at the bench.       And those are No. 4, Ms.

     7    Hamilton; No. 7, Mr. Woods; No. 13, Mr. Gutierrez; and No. 14,

     8    Ms. Berryman.     If you four will simply let those around you

     9    slip by you when they recess and stay in your seats, I'll

    10    visit with you one at a time here at the bench.

    11          All right, ladies and gentlemen.        Those of you on the

    12    panel except those four that identified are excused for recess

    13    at this time.

    14                 (Whereupon, the jury panel left the courtroom.)

    15                 THE COURT:   Please be seated.

    16          Counsel, approach the bench, please.

    17                 (The following was had at the bench.)

    18                 THE COURT:   Ms. Hamilton, will you come up here and

    19    join us, please?

    20          Good morning.

    21                 THE PANEL MEMBER:    Good morning.

    22                 THE COURT:   This is our microphone.      We are going to

    23    talk quietly here at the bench.        The lawyers are going to

    24    listen in.

    25          When we began this morning, I indicated that this trial

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 80 of 293 PageID #: 48780
                                                                                 80



     1    is probably going to go through Friday or maybe even Monday of

     2    next week, and I asked if there was anybody that had a serious

     3    hardship about being able to be present during that time if

     4    they were selected.      And you raised your hand.      So tell me

     5    about that, please.

     6                THE PANEL MEMBER:     My husband is sick.     He is

     7    scheduled for surgery tomorrow, but now they realized that

     8    there may be some complications with his medication.           So

     9    they're talking like it may be moved to next week, but at this

    10    point we don't know.

    11                THE COURT:    Okay.   And I don't want to pry into his

    12    or her -- your personal affairs, but is this day surgery where

    13    you come in and leave the same day?        Do they put you in the

    14    hospital and keep you?

    15                THE PANEL MEMBER:     No, he has to stay overnight.

    16                THE COURT:    Where is this scheduled to happen?

    17                THE PANEL MEMBER:     Texarkana at St. Michael's.

    18                THE COURT:    All right.    Mr. Baxter, any questions

    19    you have of Ms. Hamilton?

    20                MR. BAXTER:    No, Judge.

    21                THE COURT:    Ms. Smith?

    22                MS. SMITH:    No, Your Honor.

    23                THE COURT:    All right.    Ms. Hamilton, I'm going to

    24    let you join the rest of the panel outside.          Just don't

    25    discuss anything we talked about in here.

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 81 of 293 PageID #: 48781
                                                                                 81



     1                 THE PANEL MEMBER:    All right.    Thank you.

     2                 THE COURT:   Thank you, ma'am.

     3                 (The panel member left the courtroom.)

     4                 THE COURT:   I'm going to excuse Ms. Hamilton.

     5          Mr. Woods, would you come join us, sir?

     6          Good morning, Mr. Woods.

     7                 THE PANEL MEMBER:    Good morning, sir.

     8                 THE COURT:   This is our microphone.      We are just

     9    going to talk quietly here.

    10          This morning when we started, you indicated that you

    11    might have a scheduling problem about being here through the

    12    trial if you were selected.       You raised your hand when I asked

    13    if anybody had a reason why they might not be able to be here

    14    through Friday or even Monday of next week?

    15                 THE PANEL MEMBER:    Yes, sir.

    16                 THE COURT:   Tell me what that is please.

    17                 THE PANEL MEMBER:    My daughter flew in from Maryland

    18    yesterday.    Her brother is on life support, and so we -- this

    19    morning when she called, they said they didn't know how long

    20    he was going to make it.

    21                 THE COURT:   Now, it's her brother, is that --

    22                 THE PANEL MEMBER:    It's her half brother.

    23                 THE COURT:   And how is the person on life support

    24    related to you?

    25                 THE PANEL MEMBER:    He's not related to me.      He's

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 82 of 293 PageID #: 48782
                                                                                 82



     1    just related to my daughter.

     2                THE COURT:    Okay.   It's your daughter's half

     3    sibling?

     4                THE PANEL MEMBER:     Half brother, yes, sir.

     5                THE COURT:    But you are not his father?

     6                THE PANEL MEMBER:     No, sir.

     7                THE COURT:    Okay.   And where is he in the hospital?

     8                THE PANEL MEMBER:     In Paris -- in Plano, Texas --

     9                THE COURT:    Okay.

    10                THE PANEL MEMBER:     -- which is not a big problem if

    11    he passes, you know, I would hate to not be there for her.

    12                THE COURT:    Okay.   So he's --

    13                THE PANEL MEMBER:     Having heart failure.

    14                THE COURT:    All right, sir.     I know all things being

    15    considered, you'd like to be there with your daughter.

    16                THE PANEL MEMBER:     Yes, sir.

    17                THE COURT:    But given that this gentleman is no

    18    relation to you --

    19                THE PANEL MEMBER:     Right.

    20                THE COURT:    -- is it something you feel like you

    21    really have to do, or are you going to -- is your daughter

    22    going to be very, very upset with you if you're not there to

    23    hold her hand while she sits there in the hospital?           Tell me

    24    the situation.

    25                THE PANEL MEMBER:     No.   I'm just talking about if he

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 83 of 293 PageID #: 48783
                                                                                 83



     1    died -- she's at the hospital with him.         She's spending the

     2    night with him.     It's not -- I am saying if he should pass.

     3                THE COURT:    Now, is he from the Plano area or if he

     4    should pass away --

     5                THE PANEL MEMBER:     He's from Paris.

     6                THE COURT:    Paris, Texas?

     7                THE PANEL MEMBER:     Yes.

     8                THE COURT:    And if there were a funeral or

     9    something, that's where it would be?

    10                THE PANEL MEMBER:     It would be in Paris.

    11                THE COURT:    Okay.   And what's the most current

    12    information you've been told about whether he's going to be

    13    here days or weeks or how long is it going to be?

    14                THE PANEL MEMBER:     Well, she said the cardiologist

    15    said they just don't know because his heart is only pumping

    16    about six percent.

    17                THE COURT:    Okay.   All right.    Is there anything

    18    else about you being available to serve on this jury if you

    19    were selected that we haven't talked about?

    20                THE PANEL MEMBER:     No, sir.

    21                THE COURT:    Okay.   All right.    Mr. Woods, I'm going

    22    to ask you to join the rest of the panel outside --

    23                THE PANEL MEMBER:     Okay.

    24                THE COURT:    -- for recess.     Just don't discuss

    25    anything we talked about in here.

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 84 of 293 PageID #: 48784
                                                                                 84



     1                THE PANEL MEMBER:     Okay.

     2                THE COURT:    Thank you.

     3                (The panel member left the courtroom.)

     4                THE COURT:    Mr. Baxter, Ms. Smith, clearly Mr.

     5    Woods, at least as I understand it, doesn't really have a

     6    problem with serving; he's just concerned about the

     7    possibility that his daughter's half sibling would pass away

     8    and he would need to be included at a funeral somewhere.

     9          And there is no way to know whether this individual is

    10    going to be living days, weeks, or months from now, or if

    11    he'll die in the next 30 minutes.

    12          I'd hate to take him on this jury and then the death

    13    occurs and he feels compelled to attend a service with his

    14    daughter.    But as sure as I don't take him, the gentleman in

    15    the hospital will be here two weeks from now or longer.            I

    16    would welcome any input from either party.

    17                MR. BAXTER:    I don't want to be hardhearted about

    18    it, Judge, but we'd like to him.

    19                THE COURT:    Ms. Smith, what's the Defendant's view

    20    on this?

    21                MS. SMITH:    You know, I'm kind of soft, Your Honor.

    22    If I were in his shoes, I would want to be able to attend a

    23    funeral, and he sounded very convincing that that might be a

    24    reality this week.

    25                THE COURT:    Well, it's an unknown, and that's the

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 85 of 293 PageID #: 48785
                                                                                 85



     1    problem.

     2                MS. SMITH:    Yes, Your Honor.     I'll tell you, I'd

     3    like to proceed with eight jurors.        If we got the situation

     4    where he asked to be excused, I would like to proceed with

     5    eight.

     6                THE COURT:    I don't want to go into this trial

     7    thinking we are not going to be keeping eight jurors.           I could

     8    seat up to 12.     I am going to seat eight.      There are always

     9    things that can come up that you have no prior expectation at

    10    all that might make you have to release somebody.

    11          I'm going to excuse Mr. Woods.

    12                MS. SMITH:    Thank you.

    13                THE COURT:    Mr. Gutierrez, would you join us,

    14    please, sir?

    15          Good morning.

    16                THE PANEL MEMBER:     Good morning.

    17                THE COURT:    This is our microphone.      We're just

    18    going to talk quietly here.

    19                THE PANEL MEMBER:     Yes, sir.

    20                THE COURT:    Mr. Gutierrez, during the questioning

    21    this morning, you talked a good bit about Apple, that you

    22    didn't like their absence of repair parts and the cost of the

    23    parts.   You said it's difficult to fight a trillion-dollar

    24    company like Apple.      Although when you were asked if you could

    25    be fair, you said you hadn't heard any evidence and you'd wait

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 86 of 293 PageID #: 48786
                                                                                 86



     1    to hear the evidence.

     2            I guess my question is, you obviously have some prior

     3    experience with the Defendant, it's not positive.           Can you

     4    assure me that if you're on this jury, you will completely and

     5    totally set that aside and only let the evidence that's

     6    produced in this case weigh on your mind as to what a result

     7    should be, or is there any chance in your mind you're going to

     8    be influenced by those prior experiences despite your best

     9    efforts and not be able to completely set that aside?

    10            That's what I need to know.

    11                 THE PANEL MEMBER:    I can be impartial.     Like I said,

    12    as I mentioned before, I haven't heard anything about this

    13    case.    Regardless of whatever problems I may have with the

    14    right to repair things, that really -- this has nothing to do

    15    with that.    So unless I really know what the evidence on both

    16    sides, I can't say one place is --

    17                 THE COURT:    All right.   And I'll be candid with you,

    18    sir.    Your comment during the questioning this morning that

    19    it's difficult to fight a trillion-dollar company really is a

    20    little more concerning to me than the comment about parts and

    21    repairs.

    22            Is it your view that Apple is so big and so wealthy and

    23    so powerful that they have an outsized or an unfair advantage

    24    here, and are you going to go into this case if you're on the

    25    jury thinking that?       Or is that something that you can tell me

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 87 of 293 PageID #: 48787
                                                                                 87



     1    will not influence your participation in this trial if you're

     2    on the jury?

     3                THE PANEL MEMBER:     Well, I don't think it's

     4    impossible, but I certainly do think it's difficult.           But I

     5    don't --

     6                THE COURT:    You think what's difficult?

     7                THE PANEL MEMBER:     Just battling a company with so

     8    much money.

     9                THE COURT:    Okay.   All right.

    10          Ms. Smith, do you have questions for Mr. Gutierrez?

    11                MS. SMITH:    Mr. Gutierrez, you said on your

    12    questionnaire that you were against Apple.         Is that correct?

    13                THE PANEL MEMBER:     Against Apple because of the

    14    right to repair, not specifically.        I actually do like the

    15    products.    It's just the fact that you can't repair them.

    16                MS. SMITH:    Okay.   And that's not an isolated

    17    incident you had with a single product.         That's a long-held

    18    belief and experience across many Apple products.           Correct?

    19                THE PANEL MEMBER:     I have had a Mac book.      I have

    20    had a couple of iPhones.

    21                MS. SMITH:    Okay.   And regardless of the facts of

    22    this case, the Judge can instruct you to forget about that

    23    bias you have, you'll still have a bias against Apple.           Is

    24    that separate and apart from the facts of this case?

    25                THE PANEL MEMBER:     Well, I mean, like I said, it's

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 88 of 293 PageID #: 48788
                                                                                 88



     1    not related to the case here, but I still would have my

     2    opinion of the right to repair.

     3                MS. SMITH:    Absolutely.    So unrelated to the facts

     4    in this case, you have that bias generally against Apple.

     5                THE PANEL MEMBER:     I suppose so, yeah.

     6                MS. SMITH:    Okay.   And you said, while it wouldn't

     7    be impossible to be up against a company like Apple, you said

     8    it would be difficult, which means that certainly the scales

     9    aren't starting out exactly even, are they?

    10                THE PANEL MEMBER:     Well, like I said, no evidence

    11    has been given and in my opinion, my judgment, I haven't seen

    12    anything really to say either side is right or wrong.

    13                MS. SMITH:    And you made the comment in open court

    14    that Apple is a trillion-dollar company.         That's something

    15    that you would feel free to share if you were on a jury and

    16    you were deliberating about monetary damages with Apple.            Is

    17    that correct, even if it wasn't evidence in the case?

    18                THE PANEL MEMBER:     Sorry?

    19                MS. SMITH:    You followed the net worth of Apple

    20    being a trillion-dollar company, you said?

    21                THE PANEL MEMBER:     Uh-huh.

    22                MS. SMITH:    And that's something that you take back

    23    in your deliberations when discussing damages in an Apple

    24    case.   You'd have that knowledge and you'd share that

    25    knowledge with others even if it wasn't evidence in this case?

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 89 of 293 PageID #: 48789
                                                                                 89



     1                 THE PANEL MEMBER:     I'm not understanding.     The

     2    company does have a lot of money, but regardless, I mean, the

     3    damages haven't been -- I'm really not understanding what

     4    the --

     5                 MS. SMITH:    Okay.   Okay.   Thank you, sir.

     6                 THE COURT:    Mr. Baxter, do you have any questions.

     7                 MR. BAXTER:   I think you told the judge that you

     8    don't know any facts in this case, but the scales start out

     9    exactly equal.

    10                 THE COURT:    You're going to have to say yes or no,

    11    Mr. Gutierrez.

    12                 THE PANEL MEMBER:     Yes, sir.

    13                 MR. BAXTER:   We're not ahead, Apple's not behind?

    14                 THE PANEL MEMBER:     Not in my opinion.

    15                 MR. BAXTER:   You could listen to the evidence and

    16    make up your mind and maybe you rule for Plaintiff, maybe you

    17    rule for Apple, but that's to be determined.          Is that right?

    18                 THE PANEL MEMBER:     Yes, sir.

    19                 THE COURT:    Mr. Gutierrez, let me just ask it one

    20    more time.    Can you treat both of these companies fairly and

    21    impartially and go into this with them in the same position

    22    and let only the evidence in the case determine which one you

    23    decide for later on?

    24                 THE PANEL MEMBER:     Yes, sir.

    25                 THE COURT:    Okay.   I'm going the let you join the

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 90 of 293 PageID #: 48790
                                                                                 90



     1    rest of the panel outside.        Just don't discuss anything we

     2    talked about in here.

     3                 THE PANEL MEMBER:     Yes, sir.

     4                 THE COURT:   Thank you.

     5                 (The panel member left the courtroom.)

     6                 THE COURT:   I'm going to deny the Defendant's

     7    challenge for cause as to Mr. Gutierrez.

     8                 MS. SMITH:   Thank you, Your Honor.

     9                 THE COURT:   Ms. Berryman, would you come up, please?

    10            Good morning, Ms. Berryman.

    11                 THE PANEL MEMBER:     Good morning.

    12                 THE COURT:   If you'll come up and take your mask

    13    down.    This is our microphone.     We're going to talk quietly

    14    here.

    15            When we started this morning, I indicated I thought the

    16    trial would go through this Friday and maybe go into Monday of

    17    next week.    And I asked if there were any reasons why, if

    18    somebody on the panel couldn't be here that entire time, to

    19    let me know and you raised your hand.          Tell me what was on

    20    your mind what you were thinking about that.

    21                 THE PANEL MEMBER:     Oh, I have a daughter that has

    22    lupus, and she has a doctor's appointment Thursday morning at

    23    9:30.

    24                 THE COURT:   Okay.

    25                 THE PANEL MEMBER:     And she can't drive.     I'm her

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 91 of 293 PageID #: 48791
                                                                                 91



     1    only transportation.

     2                 THE COURT:   All right.    Now, I don't want to pry

     3    into your daughter's medical condition, but is this a routine

     4    appointment that could be rescheduled?

     5                 THE PANEL MEMBER:    This is a rescheduled one,

     6    because my son was supposed to have took her on her

     7    appointment last month and he ended up being called -- it was

     8    his off day.    He ended up being called for work, and --

     9                 THE COURT:   He wasn't able to take her?

    10                 THE PANEL MEMBER:    Yeah.   So we rescheduled

    11    for -- she rescheduled it for Thursday, and I took off work so

    12    I can take her.

    13                 THE COURT:   I understand.

    14                 THE PANEL MEMBER:    Because she's in like kidney

    15    failure and heart failure.

    16                 THE COURT:   Okay.   That's what I'm trying to

    17    determine.    Is this just a simple follow-up appointment where

    18    a doctor's going to look at her for 10 or 15 minutes and send

    19    her home?

    20                 THE PANEL MEMBER:    Oh, yeah.

    21                 THE COURT:   Or does she have a serious problem that

    22    she may be going into the hospital?

    23                 THE PANEL MEMBER:    She's not going into the

    24    hospital, but she can't afford to be missing appointments

    25    because when the pandemic was going on, we missed her doctor's

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 92 of 293 PageID #: 48792
                                                                                 92



     1    appointment and you had to make another appointment like three

     2    months later.     And then my daughter ended up in the hospital

     3    with kidney and heart failure.       I don't want to miss another

     4    appointment.    That was scary.

     5                 THE COURT:   All right.    Where is her doctor's

     6    appointment?

     7                 THE PANEL MEMBER:    It's in Longview.

     8                 THE COURT:   Okay.

     9                 THE PANEL MEMBER:    She goes to Longview and she goes

    10    to Dallas.

    11                 THE COURT:   And is there anybody else that you know

    12    of that could take her if you were on this jury?

    13                 THE PANEL MEMBER:    No, because my daughter -- she

    14    just started working at Christians Gift Shop.          So just my son,

    15    me, my daughter.

    16                 THE COURT:   And your son couldn't take her?

    17                 THE PANEL MEMBER:    No.   He's working.

    18                 THE COURT:   Okay.   Is there anything else about this

    19    situation that you haven't told me I need to know about?

    20                 THE PANEL MEMBER:    That's it.

    21                 THE COURT:   Okay.

    22                 THE PANEL MEMBER:    Just my daughter, got to go to

    23    the doctor, and I don't want her being upset because she

    24    already missed one appointment and she knows this is her life,

    25    so she was super close to being on dialysis, so we can't

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 93 of 293 PageID #: 48793
                                                                                 93



     1    afford, you know --

     2                THE COURT:    Ms. Berryman, I'm going to let you join

     3    the rest of the panel for recess outside the courtroom.            Just

     4    don't discuss anything we talked about in here.

     5          Thank you, ma'am.

     6                THE PANEL MEMBER:     Thank you.

     7                (The panel member left the courtroom.)

     8                THE COURT:    I'm going to excuse Ms. Berryman.

     9          All right.    I've excused Ms. Hamilton, Mr. Woods, and Ms.

    10    Berryman, but not Mr. Gutierrez.        That means three have been

    11    excused.    That means you strike through 19.        Does everybody

    12    agree with that?     Anybody disagree?

    13          It's 11:30.    I'll give you until a quarter until 12:00 to

    14    turn in your strike list to the courtroom deputy.           All right?

    15                MR. BAXTER:    Through 19, Judge.

    16                THE COURT:    That's my calculation.      Ms. Truelove is

    17    nodding her head up and down.

    18          All right.    Well, while counsel exercise their peremptory

    19    challenges, the Court will stand in recess.

    20                                (Brief recess.)

    21                THE COURT:    Be seated, please.

    22          Ladies and gentlemen, if you will listen when your name

    23    is called and come forward and take your place in the jury

    24    box, we're going to seat eight jurors total.          I'd like the

    25    first four to position yourselves on the front row of the jury

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 94 of 293 PageID #: 48794
                                                                                 94



     1    box and the second four, 5, 6, 7, and 8, to position

     2    yourselves on the second row of the jury box.

     3          Whoever is called as Juror No. 1, when you go to the

     4    front row of the jury box, if you will go all the way to the

     5    end and stand in front of the last chair.         Juror No. 2, you go

     6    to the front row of the jury box, go to the third chair from

     7    the end and stand in front of the third chair.          Leave an empty

     8    chair between Juror 1 and Juror 2.        The rest of the jurors do

     9    the same thing--leave an empty chair between you and the next

    10    person in the jury box.

    11          And then when Juror No. 5 goes in, the first person on

    12    the second row, stand behind the first person on the first

    13    row, and everybody will follow suit, and we'll end up with

    14    four on the front row, four on the back row, and an empty seat

    15    between everybody.     And that will be your assigned seat, for

    16    lack of a better word, throughout the rest of the trial.

    17          With that, I'm going to ask our Courtroom Deputy,

    18    Ms. Brunson, to call the names of the eight of you that

    19    have been selected as jurors in this case.

    20                THE CLERK:    Vicki Ross, Steffani Chapman, Judy

    21    Hilton, Gloria King, Steredrick Goodjoint, Nancy George, Tonya

    22    Jordan, Andreas Floyd.

    23                THE COURT:    Please be seated.

    24          Those of you that were not selected to serve on this

    25    jury, I am about to excuse you at this time, but I want to

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 95 of 293 PageID #: 48795
                                                                                 95



     1    excuse you with the sincere thanks and gratitude of the Court

     2    for being here.

     3           Every one of you who appeared this morning for jury duty,

     4    even though you weren't selected, you have performed a very

     5    real and important and valuable public service by being here.

     6    Every one of you who showed up this morning had other places

     7    to be, other things to do that were important in your lives.

     8    You set those aside and you made a very real and tangible

     9    sacrifice as good citizens to appear and present yourselves

    10    for jury duty in this case.

    11           And even though you weren't selected, you've been an

    12    integral part of the process, essential to the Court

    13    discharging its obligation under the Constitution.           And I

    14    cannot thank you enough for having made that sacrifice and

    15    having been here and presented yourself as you did this

    16    morning.

    17           And even though you weren't selected, that in no way

    18    takes away from what you've done, the importance of it, the

    19    value of it, and the significance of it, and the Court thanks

    20    you.   I speak for myself, I speak for these parties, I speak

    21    for the lawyers, everyone on this side of the bar appreciates

    22    and values what you've done by being here this morning.

    23           As you leave the courtroom, if you'll exit through the

    24    double doors and go to the right, you'll pass by the Clerk's

    25    Office.    Ms. Clendening and her staff will be there.         She's

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 96 of 293 PageID #: 48796
                                                                                 96



     1    going to want to recover these laminated numbers that you-all

     2    have clipped to your clothing.       She will be available to

     3    answer any questions you have about having been here this

     4    morning.

     5          If you need any documentation for an employer verifying

     6    where you've been and why you didn't show up for work this

     7    morning, she'll help you with that.        She'll address any

     8    questions or concerns that you have.

     9          Again, ladies and gentlemen, thank you so very much for

    10    what you've done.     It's been very important and very

    11    significant, and the Court thanks you again.

    12          With that, those not selected to serve on this jury are

    13    excused.

    14                (Whereupon, the jury panel left the courtroom.)

    15                THE COURT:    Everyone except the members of the jury,

    16    please be seated.

    17          Members of the jury, I'm going to ask Ms. Brunson, our

    18    Courtroom Deputy, to administer the oath to you at this time.

    19    If you'll raise your right hands.

    20                (Whereupon, the oath was administered by the Clerk.)

    21                THE COURT:    Please be seated.

    22          Ladies and gentlemen, I told you this morning that as a

    23    part of this process, lunch would be provided to you each day,

    24    and I'm about to excuse you for lunch, which will be available

    25    to you in the jury room.      But before I do, I have a couple of

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 97 of 293 PageID #: 48797
                                                                                 97



     1    important instructions I need to give you.

     2          Do not discuss this case with anyone.        And when I say do

     3    not discuss the case, I mean do not communicate about it in

     4    any way with anyone.      One of the foundational principles of

     5    the jury trial system is that the jury must have before it,

     6    when it makes its decision and answers the questions that will

     7    be put forth in the verdict form that you will receive and

     8    consider after you have heard all the evidence, the sole

     9    universe of the evidence and information that you have before

    10    you when you answer those questions must be limited to the

    11    evidence that comes in during this trial and the testimony

    12    from the witnesses under oath and subject to

    13    cross-examination, as well as any documents and exhibits that

    14    the Court has admitted into evidence.

    15          The evidence--the testimony of the witnesses, the

    16    exhibits that the Court has admitted--that must constitute the

    17    entirety of the material and the information that you draw

    18    upon to answer the questions you're going to be asked at the

    19    end of this trial.

    20          You must not have any outside influences.         You must not

    21    have any information of any kind from any source that comes

    22    from anywhere other than the witnesses in this trial and the

    23    exhibits that I have admitted into evidence.

    24          Therefore, it is absolutely essential that you not

    25    discuss or communicate about this case with anyone, because if

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 98 of 293 PageID #: 48798
                                                                                 98



     1    you do, you will be receiving information that did not come in

     2    during the trial and it will call into question the entirety

     3    of this process and could potentially require us to start over

     4    with a new jury, and all the time and all the money and all

     5    the resources and all the effort that has gone into this so

     6    far could be in jeopardy.       So it is a very, very important

     7    instruction that I give you when I say do not communicate

     8    about this case with anyone in any way.

     9          And, ladies and gentlemen, when I say that, that includes

    10    the eight of you.     You are not to discuss this case among

    11    yourselves in any way until you've heard all the evidence,

    12    until I've given you my final instructions on the law that you

    13    are to apply, and until counsel for the parties have presented

    14    their closing arguments.

    15          When that has happened, at that point I will instruct you

    16    to retire to the jury room and to deliberate on your verdict.

    17    At that point, ladies and gentlemen, it's like somebody has

    18    flicked a light switch.      At that point you go from not being

    19    able to discuss the case among yourselves to being required to

    20    discuss the case among yourselves during your deliberations in

    21    an effort to reach a unanimous decision about the questions

    22    you're going to be asked to answer in the verdict form.

    23          So until that point, until you've heard all the evidence,

    24    you've heard my final charge on the law, and counsel have

    25    presented their closing arguments and I have sent you to the

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 99 of 293 PageID #: 48799
                                                                                 99



     1    jury room to deliberate on the verdict, until that time, you

     2    must not discuss or communicate about the case among

     3    yourselves, as well as anybody else.

     4            And when I say don't communicate about the case, that's

     5    not just limited to oral conversation.         That's communication

     6    of any type--oral, written, electronic, digital.          Those of you

     7    on the jury that are active users of social media, don't post

     8    anything on Facebook, don't tweet on Twitter, don't use

     9    Instagram, don't use any social media platform to communicate

    10    about this case in any way.

    11            Don't do any research.    Don't go online at night and do a

    12    search about any of the issues in this case, the lawyers in

    13    this case, the parties in this case, the witnesses in this

    14    case.    Don't do any outside research of any kind, whether it's

    15    an online computer search or an encyclopedia pulled off a

    16    shelf doing it the old-school way.        Don't do any research of

    17    any kind.

    18            And let me just say this.    Unless you live alone, when

    19    you get home tonight, wherever that is, the first thing you

    20    are going to hear when you walk through the door is, Tell me

    21    what happened in federal court in Marshall today.           Don't even

    22    try to answer that question, because if you even try to answer

    23    that question, you're going to violate this very important

    24    instruction that I'm giving you.

    25            When you get that question, just simply smile and say,

                              Shawn M. McRoberts, RMR, CRR
                            Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 100 of 293 PageID #: 48800
                                                                                100



     1     That very stern federal judge told me not to talk about this

     2     case with anyone, and I'm going to do that.         When the case is

     3     over and when I've been released as a juror, then I'll be able

     4     to talk with you about it.      But until then, I am not going to

     5     discuss this case with you or anybody else.

     6             So blame it on me, ladies and gentlemen, but don't even

     7     try to answer that question which, as I say, unless you live

     8     alone and unless your canary can't talk, you are going to get

     9     that question when you come through the door this evening.

    10             Also, I don't think it's likely to happen, but I can't

    11     tell you that this is beyond the realm of possibility, and

    12     that is, it is possible that some outside third party might

    13     try to contact you during this trial and communicate with you

    14     and influence any decision that you ultimately are going to

    15     make.    I don't think that's likely, but there are no

    16     unimportant cases that get to a jury trial in federal court.

    17     And this is an important case, and it is possible that some

    18     outside party may try to improperly communicate with you or

    19     influence you in some way.

    20             If there is any kind of an overture made to you by anyone

    21     that you feel is improper or out of order in any way, then you

    22     should notify Ms. Clendening, she will let the Court know, and

    23     the Court will deal with it.      Again, I don't think it's

    24     likely, but I need you to know that it's not outside the realm

    25     of possibility.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 101 of 293 PageID #: 48801
                                                                                101



     1          Also, ladies and gentlemen, over the course of this

     2     trial, as you come in the mornings and leave in the evenings,

     3     it's going to be inevitable that you are going to pass by

     4     certain members of these two trial teams.        You're going to

     5     walk by witnesses on the sidewalk.       You're going to walk by

     6     lawyers in the hallways.      You're going to be in close contact

     7     with the people involved in the trial of this case.          And I

     8     want you to understand when that happens, they're not going to

     9     speak to you.    They're not going to say, Good morning, how are

    10     you today.   They're not going to be friendly and outgoing like

    11     we all generally are in East Texas.

    12          That's because I've instructed them not to be that way,

    13     that's because I've instructed them not to speak to you or

    14     communicate with you, and that's because the sole source of

    15     the information you must have before you when this trial is at

    16     an end and you are deliberating on your verdict must be only

    17     the testimony given under oath and subject to

    18     cross-examination from the witness stand and the exhibits that

    19     the Court has admitted into evidence and have been presented

    20     to you by the parties during the trial.        That must be all and

    21     only the information that you have before you.

    22          So when that happens, don't hold it against anybody,

    23     either the Plaintiff's side, the Defendant's side, or anyone

    24     else, when they're not friendly, when they're not gregarious

    25     and engaging, when they don't speak to you and say, Good

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 102 of 293 PageID #: 48802
                                                                                102



     1     morning, how are you today.      They're simply doing what the

     2     Court has instructed them to do, and you need to keep that in

     3     mind.

     4             During the course of the trial -- we live in interesting

     5     times, ladies and gentlemen.      During the course of the trial

     6     if you have any physical problems, if any member of your

     7     family has symptoms that indicate any possible exposure to

     8     this pandemic, you need to let Ms. Clendening know and she'll

     9     advise me and we will take it up and deal with it then.

    10             I hope that's not going to happen, I think it's unlikely,

    11     but you need to let us know if you or any family member you're

    12     responsible for has a problem related to this current public

    13     health emergency that we're dealing with.

    14             Also, while you're on your lunch recess, which is going

    15     to start in just a few seconds, please make an opportunity to

    16     let Ms. Clendening's office have a good working cell phone

    17     number for you.    It is possible that we might need to get in

    18     touch with you over an evening or during a time when you're

    19     not already here at the courthouse, and we would need a good

    20     working cell phone number for each of you.         So simply try to

    21     make that available to Ms. Clendening while you're at lunch

    22     today.

    23             And when we speak about cell phones, I'm going to ask

    24     each of you, if you have a cell phone, a tablet, a smart

    25     device of any kind, leave it in the jury room for the rest of

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 103 of 293 PageID #: 48803
                                                                                103



     1     today.   And when you come back tomorrow, leave it in your car

     2     or leave it at home.     Those kind of smart devices, as you well

     3     know, do a lot more than tell time.       They do a lot more than

     4     make a phone call.     They are basically mini computers, and the

     5     temptation to search outside sources or information regarding

     6     the case or the lawyers or the parties is just too tempting to

     7     have those devices right there at the tip of your fingers.

     8          So I'm going to ask you, starting tomorrow, not to bring

     9     your smartphones or tablets or smart devices of any kind to

    10     the courthouse.    If you're expecting an important email

    11     regarding to your work or your business, there will be breaks

    12     where you can go to your car and check that, but otherwise,

    13     don't bring those devices into the courtroom because of the

    14     temptation to violate my instructions and to look for outside

    15     sources of information.

    16          Now, you're going to see, over the course of the trial,

    17     the lawyers have those kind of tablets and smart devices.

    18     Those are tools of the trade these days for practicing law,

    19     and they're under strict instructions from me to keep them

    20     silent so they don't sound or ring or disrupt this trial in

    21     any way, but they are entitled to use them.         And don't feel

    22     badly toward them if you see them using them and you had to

    23     leave yours at home or in your car.       But I'm going to ask you

    24     to do that.

    25          Also, ladies and gentlemen, while you're over the lunch

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 104 of 293 PageID #: 48804
                                                                                104



     1     break, you're going to find in the jury room these plastic

     2     see-through face shields that I mentioned to you earlier.

     3     Please replace your face masks with a see-through face shield

     4     and wear it when you come back into the courtroom, and wear it

     5     through the rest of the trial whether you are vaccinated or

     6     not vaccinated.

     7          As I said, it's almost practically impossible to try a

     8     jury trial without being able to see the complete faces, the

     9     expressions, and read the faces of the jury.         So that will

    10     accomplish that fact and it will still provide a level of

    11     protection for everybody.

    12          Now, it is almost 20 minutes after 12:00.         Lunch is in

    13     the jury room waiting on you.       We'll try to reconvene as close

    14     to 1:00 as possible.

    15          With those instructions, ladies and gentlemen, you're

    16     excused for lunch at this time.

    17                (Whereupon, the jury left the courtroom.)

    18                THE COURT:    Counsel, not to go terribly far over the

    19     lunch break, I may want to see you in chambers before 1:00 to

    20     pick up where we left off on some overnight disputes.

    21     Otherwise, at least for the next 30 minutes, you're excused

    22     for recess.

    23          Court stands in recess.

    24                                (Lunch recess.)

    25                THE COURT:    Be seated, please.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 105 of 293 PageID #: 48805
                                                                                105



     1          Counsel, based on our discussions in chambers, I

     2     understand there are one or two matters you'd like to bring up

     3     with the Court before I bring in the jury.

     4          Let me hear from you at this time.

     5                 MR. SHEASBY:   Jason Sheasby for the Plaintiffs, Your

     6     Honor.    Plaintiffs would like confirmation the Court has ruled

     7     that negotiation history can come in in front of the jury and

     8     has withdrawn its MIL on that subject.

     9                 THE COURT:   That's my understanding.      Does Defendant

    10     have anything different on that?

    11                 MR. MUELLER:   Joe Mueller for the Defendant, Your

    12     Honor.

    13          That's correct.     We understand that to be Your Honor's

    14     ruling.   And so I think the parties are in agreement that Your

    15     Honor has so ruled.

    16          And if I could, Your Honor, if I could just take a moment

    17     to just very briefly preserve our own positions on these

    18     issues.   We've done our best to memorialize in Docket No. 666

    19     various rulings that Your Honor has made on issues in this

    20     case, including over the last couple of days.

    21          We don't want to keep getting up to interrupt the

    22     proceedings, Your Honor.      So we respectfully request the

    23     running objection with respect to those issues, for example,

    24     the admissibility of the Qualcomm agreement.         So we

    25     respectfully request that that standing running objection as

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 106 of 293 PageID #: 48806
                                                                                106



     1     opposed to interrupting the proceedings, Your Honor.

     2                THE COURT:    I have no problem with the Defendants

     3     having a running objection as outlined.

     4                MR. MUELLER:    Thank you, Your Honor.      The final

     5     issue is just, we understood, I just wanted to state on the

     6     record, that your Daubert rulings are definitive.          We will, of

     7     course, strictly comply with them, and we understand that we

     8     do not need to repeatedly object to the relevant expert

     9     opinions that were briefed in Daubert.

    10                THE COURT:    That is my understanding, and that is

    11     certainly my preference.      I want as few interruptions or

    12     disruptions during the trial as possible, and at the same time

    13     I don't intend to be an impediment to anybody preserving a

    14     point that they believe they need to be preserved.

    15                MR. MUELLER:    Thank you, Your Honor.

    16          Finally, Mr. Sheasby and I conferred on the break that we

    17     think, again, in the interest of avoiding interrupting the

    18     proceedings, that we should seal the opening statements.

    19     There's going to be some discussion of license negotiations

    20     and certain agreements.      That has not only confidential

    21     information of the parties but certain third parties.          And so

    22     we would ask that the opening statements be sealed.

    23          For Mr. Sheasby's opening statement, I believe he's going

    24     to get into some information that Mr. Blasius cannot see.

    25     It's third-party confidential.       Mr. Blasius can see my entire

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 107 of 293 PageID #: 48807
                                                                                107



     1     opening statement.     He's the corporate representative for

     2     Plaintiffs.

     3                THE COURT:    What's your understanding on that, Mr.

     4     Sheasby?

     5                MR. SHEASBY:    Your Honor, that is correct.       We are

     6     going to show some Qualcomm highly confidential information.

     7     There are two ways of doing it.       One, we can seal the entire

     8     opening.   Two, we can just seal -- we can go into seal when I

     9     show those slides.     I'll only do it once.

    10          The issue is, is that I'm very tight on 30 minutes, and I

    11     don't think I can both keep it at 30 minutes and seal in the

    12     middle of it.

    13                THE COURT:    I'll seal the entirety of Plaintiff's

    14     opening statement as requested by both sides.

    15                MR. SHEASBY:    And, Your Honor, I just want to be

    16     clear on something.     On the withdrawal of the motion in limine

    17     on licensed negotiations, my understanding is that Apple --

    18     it's not a ruling over the opposition of Apple, it's just for

    19     the purposes of appeal, that Apple invited licensing

    20     negotiation history to come into the record.

    21          And I'm a little troubled by the fact that Apple is

    22     referring to this as your ruling, and the record is not clear

    23     that it was a ruling requested by Apple.        And I just wanted to

    24     make that record clear.

    25                THE COURT:    Well, whatever the ways or means, I

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 108 of 293 PageID #: 48808
                                                                                108



     1     think it's clear at this point that neither side believes it's

     2     improper to go into that.

     3                  MR. MUELLER:   Your Honor, I have to be correct on

     4     this stuff.    We did object.     Your Honor overruled the

     5     objection.    We're not withdrawing the MIL.

     6                  THE COURT:   Okay.   We know where we stand now.      The

     7     record speaks for itself.

     8                  MR. MUELLER:   Thank you, Your Honor.

     9                  THE COURT:   All right.   Anything else before I bring

    10     in the jury?

    11                  MR. MUELLER:   No, Your Honor.

    12                  MR. SHEASBY:   Nothing for Plaintiffs, Your Honor.

    13                  THE COURT:   All right.   Let's bring in the jury,

    14     please.

    15                  (Whereupon, the jury entered the courtroom.)

    16                  THE COURT:   Please be seated, ladies and gentlemen.

    17          Welcome back, members of the jury.        I now have some

    18     preliminary instructions that I need to give you on the record

    19     before we start with the opening statements from the attorneys

    20     and then get on to the evidence.

    21          You've now been sworn as the jurors in this case, and as

    22     the jury, you are the sole judges of the facts.         As such, you

    23     will decide and determine what all the facts are in this case.

    24     As the Judge, I will give you instructions on the law; I will

    25     decide issues of law, evidence, and procedure that arise

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 109 of 293 PageID #: 48809
                                                                                109



     1     during the trial; I will oversee the conduct of the trial and

     2     maintain the decorum of the courtroom.

     3          At the end of the evidence, I'll give you detailed

     4     instructions about the law that you are to apply in deciding

     5     this case.   And at that time, I'll give you a list of

     6     questions that you are then to answer.        This list of

     7     questions, ladies and gentlemen, is called the verdict form,

     8     and your answers to those questions will need to be unanimous,

     9     and those unanimous answers to those questions will constitute

    10     the jury's verdict in this case.

    11          Now let me briefly tell you what's involved in this case.

    12     I know you've all seen the patent film produced by the Federal

    13     Judicial Center, but I need to give you some additional

    14     instructions now and on the record.

    15          Patents are granted or denied by the United States Patent

    16     and Trademark Office, sometimes called the Patent Office,

    17     sometimes simply called the PTO.       A valid United States patent

    18     gives the holder, the patentholder, the right for up to 20

    19     years from the date the application is filed to prevent others

    20     from making, using, offering to sell, or selling the patented

    21     invention within the United States, or importing it into the

    22     United States without the patentholder's permission.

    23          A patent is a form of property called an intellectual

    24     property.    And like all other forms of property, a patent may

    25     be bought or sold.     The process of obtaining a patent is

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 110 of 293 PageID #: 48810
                                                                                110



     1     called patent prosecution.      And to obtain a patent, one must

     2     first file an application with the PTO, the United States

     3     Patent and Trademark Office.      The PTO, ladies and gentlemen,

     4     is an agency of the United States government, and it employs

     5     trained examiners who review applications for patents.

     6             As I told you -- let me tell you that this process of

     7     evaluating patent applications goes back and forth between the

     8     examiner and the applicant for some time until the examiner is

     9     satisfied that the application meets all the requirements for

    10     a patent.    And in that case the application issues as a United

    11     States patent.    In the alternative, if the examiner ultimately

    12     concludes that the application should be rejected, then no

    13     patent issues.

    14             Now, to help you follow the evidence, I'll give you a

    15     brief summary of the positions of the two parties.          As you're

    16     all aware, the party that brings a lawsuit is called the

    17     plaintiff.    If there's more than one plaintiff, they are the

    18     plaintiffs.    The plaintiffs, and there are more than one in

    19     this case, are Optis Wireless Technology, LLC; Optis Cellular

    20     Technology, LLC; PanOptis Patent Management, LLC; Unwired

    21     Planet, LLC; and Unwired Planet International Limited, which

    22     you're going to hear referred to throughout the trial,

    23     collectively, either as Plaintiffs, Optis, or PanOptis.           Any

    24     of those terms refer to these designated Plaintiffs in the

    25     case.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 111 of 293 PageID #: 48811
                                                                                111



     1          And as you well know, the party against whom a lawsuit is

     2     brought is called the defendant, and in this case the

     3     Defendant is Apple, Inc., who you'll referred to simply as the

     4     Defendant or as Apple.

     5          Now, as I told you during jury selection, this is a case

     6     to set a fair and reasonable damages award for already

     7     established patent infringement.       There are five separate

     8     United States patents that you're going to hear about during

     9     this trial.

    10          The first is U.S. Patent No. 8,019,332.         And as I'm sure

    11     you know, patents are commonly referred to by their last three

    12     digits, the last three digits of the patent number.          So in

    13     this case, Patent No. 8,019,332 will be referred to as the

    14     '332 patent.

    15          The second is 8,385,284, which you'll hear referred to as

    16     the '284 or the '284 Patent.

    17          The third U.S. patent at issue is United States Patent

    18     No. 8,411,557, which you'll hear referred to as the '557

    19     Patent.

    20          The fourth U.S. patent is United States Patent No.

    21     8,102,833, which you'll hear called the '833 or the '833

    22     patent.

    23          And the fifth and final U.S. patent is United States

    24     Patent No. 9,001,774, which you'll here called the '774

    25     Patent, or the '774 Patent.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 112 of 293 PageID #: 48812
                                                                                112



     1          These patents collectively may be referred to at various

     2     times in the case as the Patents-in-Suit.        You may also hear

     3     them referred to collectively as the asserted patents.            And

     4     these patents generally relate to cell phone technology.

     5          It's already been decided that certain Apple products

     6     infringe one or more claims of the asserted patent and the

     7     claims that the asserted patents are not invalid.          As a

     8     result, this trial is solely about setting a fair and

     9     reasonable compensation for that infringement.         This trial

    10     will only be concerned with this issue.

    11          Your job as the jury, ladies and gentlemen, is to

    12     determine the amount of monetary damages to be awarded to the

    13     Plaintiff as compensation for Apple's previously established

    14     infringement.

    15          Now, during the trial it's likely that you're going to

    16     hear the Patents-in-Suit, the five patents I just mentioned,

    17     being referred to as standard essential patents, or SEPs.

    18     Standard essential patents, as I've mentioned, are patents

    19     that have been declared to be part of a standard in a certain

    20     field.   And this standard is set and maintained by a global

    21     body to ensure that certain processes and devices operate and

    22     work in the same way anywhere in the world.

    23          Earlier, I gave you the example of a cell phone that

    24     works in the United States, and if you fly across the Atlantic

    25     ocean to London, England, when you get off of the airplane in

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 113 of 293 PageID #: 48813
                                                                                113



     1     London, England, the same cell phone works there just like it

     2     did in the United States.

     3          Now, patents relating to such a common and standard

     4     technology are recognized as impacting that standard

     5     technology, and are contributed to and declared by their

     6     owners to be essential to that standard.        These are called, as

     7     I mentioned, standard essential patents.        And in this case the

     8     five Patents-in-Suit have been declared by their owners to be

     9     standard essential patents in the field of wireless

    10     communications.

    11          And in this case one of the global bodies that oversees

    12     and maintains this standard is called the European

    13     Telecommunications Standards Institute, or ETSI, which you'll

    14     hear referred to throughout the case by those fourth letters

    15     being pronounced ETSI.

    16          Since the asserted patents are standard essential

    17     patents, you're going to hear about the standard, and the

    18     contribution of these patents to the standard, and the work of

    19     ETSI regarding the standard, all as a part of this trial.           And

    20     I'll give you more detailed instructions on this at the end of

    21     the trial.

    22          The Plaintiff, Optis, has agreed to license the

    23     Patents-in-Suit as a part of one of these standards that I

    24     mentioned on RAND, R-A-N-D, terms.       RAND stands for reasonable

    25     and nondiscriminatory.     And the standard setting organizations

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 114 of 293 PageID #: 48814
                                                                                114



     1     often require members to license to others to use standard

     2     essential patents on these RAND, reasonable and

     3     nondiscriminatory, terms.      Sometimes these terms are also

     4     referred to as FRAND, fair, reasonable, and nondiscriminatory.

     5     And I'll give you more detailed instructions on these matters

     6     at the end of the trial.

     7          Now, ladies and gentlemen, I know that there are a lot of

     8     new words and new concepts that have been thrown at you since

     9     you arrived here for jury duty this morning.         I'm going to

    10     define a lot of these words and concepts for you as we go

    11     through my instructions.      The attorneys are going to discuss

    12     them with you in their opening statements.         The witnesses are

    13     going to help you through their testimony to understand these

    14     concepts and terms.

    15          So, please, do not feel overwhelmed at this point.           I

    16     promise you it will all come together as we go through the

    17     trial.

    18          Now, your job in this case is to decide what amount of

    19     money damages, if any, to be awarded to the Plaintiffs as

    20     compensation for the infringement of their five patents.           My

    21     job in this case is to tell you what the law is, handle

    22     rulings on evidence and procedure, and to oversee the trial as

    23     efficiently and effectively as possible.

    24          In deciding the issues that are before you, you will be

    25     asked to consider specifically the rules, and I'll give you an

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 115 of 293 PageID #: 48815
                                                                                115



     1     overview of those rules now, and then at the conclusion of the

     2     case I'll give you more detailed instructions.

     3          The first and only issue that you're going to be asked to

     4     decide in this case is what amount of money damages should be

     5     awarded to the Plaintiffs Optis to compensate it for Apple's

     6     previously established infringement.

     7          A damages award, ladies and gentlemen, must be adequate

     8     to compensate the patentholder for the infringement, and in no

     9     event may a damage award be less than what the patentholder

    10     would have received had it been paid a reasonable royalty for

    11     the use of its patents.

    12          However, the damages that you award, if any, are meant to

    13     compensate the patentholder and they are not meant to punish

    14     the Defendant.    You may not include in any damages award an

    15     additional amount as a fine or a penalty above what is

    16     necessary to fully compensate the patentholder for the

    17     infringement.

    18          Additionally, damages cannot be speculative, and the

    19     Plaintiffs in this case, Optis, must prove the amount of their

    20     damages to you for this infringement by a preponderance of the

    21     evidence.

    22          In this case, the Plaintiffs are seeking damages for the

    23     period from February the 25th, 2019, to August the 3rd, 2020.

    24     February the 25th, 2019, to August the 3rd, 2020.          And I'll

    25     give you more detailed instructions about the calculation of

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 116 of 293 PageID #: 48816
                                                                                116



     1     damages at the conclusion of the trial, including giving you

     2     specific instructions with regard to the calculation of a

     3     reasonable royalty.

     4          Now, you're going to be hearing from a number of

     5     witnesses over the course of the trial, ladies and gentlemen,

     6     and I want you to keep an open mind while you're listening to

     7     the evidence and not decide any of the facts until you've

     8     heard all of the evidence.      This is important.

     9          While the witnesses are testifying during the trial,

    10     remember you, the jury, will have to decide the degree of

    11     credibility and believability to allocate to each of the

    12     witnesses and to all of the evidence.

    13          So while the witnesses are testifying, you should be

    14     asking yourselves things like this:       Does the witness impress

    15     you as being truthful?     Does he or she have a reason not to

    16     tell the truth?    Does he or she have any personal interest in

    17     the outcome of the case?      Does the witness seem to have a good

    18     memory?   Did he or she have the opportunity and ability to

    19     observe accurately the things that they testified about?           Did

    20     the witness appear to understand the questions clearly and

    21     answer them directly?     And, of course, does the witness'

    22     testimony differ from the testimony of other witnesses.           And

    23     if it does, how does it differ?

    24          These are some of the kinds of things you should be

    25     thinking about while you're listening to each witness over the

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 117 of 293 PageID #: 48817
                                                                                117



     1     course of this trial.

     2          Also, I want to talk to you briefly about expert

     3     witnesses.   When knowledge of a technical subject may be

     4     helpful to the jury, a person who has special training and

     5     experience in that particular field, we call them an expert

     6     witness, is permitted to testify to the jury about his or her

     7     opinions on those technical matters.

     8          However, ladies and gentlemen, you're not to required to

     9     accept an expert witness or any witness' opinions at all.

    10     It's up to you to decide who to believe and who not to believe

    11     and whether a witness is telling you what is correct or

    12     incorrect.

    13          Now, I anticipate that over the course of this trial

    14     there will be expert witnesses testifying in support of each

    15     side of this case.     But when that happens, it will be up to

    16     you to listen to their qualifications.        And when they give you

    17     an opinion and explain the basis for that opinion, you will

    18     have to evaluate what they say, whether you believe it, and to

    19     what degree, if any, that you want to give it weight.

    20          Remember, ladies and gentlemen, judging and evaluating

    21     the credibility and believability of each and every witness is

    22     an important part of your job as jurors.

    23          Now, during the course of the trial, it's possible that

    24     there will be testimony from one or more witnesses that are

    25     going to be presented to you through what's called a

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 118 of 293 PageID #: 48818
                                                                                118



     1     deposition.    In trials like this, it's very difficult to get

     2     every witness here at the same time.        So before the trial

     3     begins, the lawyers for both sides take the depositions of the

     4     witnesses in advance of the trial.

     5          In a deposition, the witness is present, they are sworn

     6     and placed under oath, a court reporter is present, and the

     7     witness is asked questions by counsel for the parties, and the

     8     witness answers those questions, and both the questions asked

     9     and the answers given are taken down and recorded.          They are

    10     often recorded by video-recording equipment.

    11          Portions of those recordings of those questions and their

    12     answers may be played back to you as part of this trial so

    13     that you can see the witness and hear their testimony.           This

    14     deposition testimony is entitled to the same consideration

    15     insofar as possible, and needs to be judged by you as to the

    16     credibility, weight, and otherwise considered in the same way

    17     as if the witness had been physically present and given their

    18     testimony from the witness stand during the course of this

    19     trial.

    20          Now, during the course of the trial, it's possible that

    21     the lawyers are going to raise certain objections.          And when

    22     they make objections, I will issue rulings on those

    23     objections.    It's the duty of an attorney on each side of the

    24     case to object when the other side offers testimony or other

    25     evidence that the attorney believes is not proper.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 119 of 293 PageID #: 48819
                                                                                119



     1          Also, upon allowing the testimony or other evidence to be

     2     introduced over the objection of an attorney, the Court does

     3     not, unless expressly stated, indicate any opinion about the

     4     weight or the effect of such evidence.        As I've said, ladies

     5     and gentlemen, you, the jury, are the sole judges of the

     6     credibility and believability of all the witnesses and the

     7     weight and effect to give to all the evidence.

     8          Now, I want to compliment the parties in this case

     9     because up until today, they have worked with the Court very

    10     diligently to go through many, many exhibits and documents.

    11     And the exhibits and documents that you're going to see in the

    12     course of this trial have already been considered by the

    13     Court, I've considered any objections that have been made,

    14     I've heard the arguments from the objecting parties, I've

    15     heard responses from the offering party, and I have issued

    16     rulings on what's admissible and proper to present to the jury

    17     during the course of this trial.

    18          And by doing that with the diligent hard work of the

    19     lawyers for both sides, I promise you, ladies and gentlemen,

    20     we have saved you many, many hours of having to sit here and

    21     listen to all that during the course of the trial.          And both

    22     sides are to be complimented for the way they've worked with

    23     the Court in streamlining this process.

    24          Even so, it's still possible that objections will arise

    25     over the course of the trial.       If I should sustain an

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 120 of 293 PageID #: 48820
                                                                                120



     1     objection to a question addressed to a witness, then you must

     2     disregard the question entirely and you may draw no inference

     3     from its wordings, and you may not speculate about what the

     4     witness would have said if I had permitted them to answer the

     5     question.

     6          If I should overrule an objection, on the other hand,

     7     then you should consider the answer and the question just as

     8     if no objection had been made in the first place.

     9          And you should know, ladies and gentlemen that the law of

    10     the United States permits a judge to comment to the jury

    11     regarding the evidence in a case, but such comments from the

    12     judge on the evidence are only an expression of the judge's

    13     opinion and the jury may disregard those comments entirely

    14     because, as I've told you, you, the jury, are the sole judges

    15     of the facts, you are the sole judges of the credibility of

    16     the witnesses and how much weight to give to the testimony

    17     that's presented during this trial.

    18          And even though the law permits me to comment on the

    19     evidence to you over the course of this trial, as I indicated

    20     earlier, I am going to work very hard not to comment on any of

    21     the evidence, not the communicate to you how I feel about any

    22     of the testimony or of the evidence during the course of the

    23     trial, because it's your job and your job alone to determine

    24     the facts of this case from evaluating and considering all of

    25     the testimony and evidence in this case.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 121 of 293 PageID #: 48821
                                                                                121



     1             Now, Mr. McRoberts, our court reporter in front of me, is

     2     taking down everything that's said during the course of the

     3     trial.    But the transcript, the written version of everything

     4     that's said during this trial, is not going to be available to

     5     you to take with you during to the jury room and review during

     6     your deliberations.       That means, ladies and gentlemen, you're

     7     going to have to rely on your memory of the testimony and the

     8     evidence over the course of this trial.

     9             In a moment we are going to have juror notebooks to pass

    10     out to you, although I understand they are yet to be brought

    11     into the courtroom, and they should be on their way here any

    12     minute.    As soon as I get them, I will have them passed out to

    13     you.

    14                  THE COURT SECURITY OFFICER:     Your Honor, I believe

    15     we have them now.

    16                  THE COURT:    We have them now?

    17                  THE COURT SECURITY OFFICER:     Yes, sir.

    18                  THE COURT:    All right.   Then, if you will, please

    19     pass them out to the jury.      Thank you.     I didn't see them over

    20     there.

    21             As you get these notebooks, ladies and gentlemen, you'll

    22     notice that in the front of them, you each have a copy of each

    23     of the five Patents-in-Suit, the asserted patents in this

    24     case.

    25             You'll also see that you have a section of pages for

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 122 of 293 PageID #: 48822
                                                                                122



     1     witnesses where each person who may testify in the trial has a

     2     page with their photograph superimposed at the top of the page

     3     and their name underneath.      The Court's found over the course

     4     of many years that being able -- or for the jury, rather,

     5     being able to go back and look at a picture of each person who

     6     testifies is helpful during the time that you deliberate and

     7     attempt to reach your unanimous verdict.

     8          Also, you'll find in there a brand new legal pad for

     9     note-taking over the course of the trial, and you should find

    10     a pen in the front flap of each notebook for additional

    11     note-taking if you choose to do that.

    12          It's going to be up to each of you to decide whether you

    13     want to take notes during the course of the trial, and if you

    14     do, how detailed you want those notes to be.

    15          These notebooks, ladies and gentlemen, should be in your

    16     possession at all times.      If you're not in the courtroom, they

    17     should be in the jury room on the table, and that's where you

    18     should leave them overnight when we finish each day's portion

    19     of the trial.    If you're in the courtroom, they should be in

    20     your own physical possession.

    21          Now, the one exception to that is, there may be times

    22     when we will take a short recess, and you're only going to be

    23     out of the courtroom a short period of time, in which case I

    24     may say to you, ladies and gentlemen, you may simply close and

    25     leave your notebooks in your chairs.        And if that's the case

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 123 of 293 PageID #: 48823
                                                                                123



     1     and if I say that, simply close them and leave them in the

     2     chair that you're sitting in.       It will be there when you

     3     return.

     4          But if we're going to be out of the courtroom any length

     5     of time, I'll ask you to take those with you and keep them in

     6     your possession.

     7          Now, in a moment we're going to get on to the lawyers'

     8     opening statements.     These opening statements by the lawyers

     9     for the parties are designed to give you a road map of what

    10     each side expects to offer by way of evidence.         And you should

    11     remember, ladies and gentlemen, throughout this trial that

    12     what the lawyers tell you is not evidence.         The evidence is

    13     the sworn testimony that you'll hear from the witnesses from

    14     the witness stand, under oath and subject to

    15     cross-examination, as well as the exhibits and other documents

    16     that the Court has already admitted into evidence as exhibits

    17     and that are presented to you over the course of the trial.

    18     That's the evidence in this case.

    19          What the lawyers tell you is not evidence.         What the

    20     lawyers tell you is simply their impression of what the

    21     evidence is.    And they have a duty to point out to you what

    22     they believe the evidence shows.       But, remember, what the

    23     lawyers tell you is not evidence.

    24          And what the lawyers tell you is not or are not

    25     instructions on the law.      The only instructions on the law

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 124 of 293 PageID #: 48824
                                                                                124



     1     that you will receive will come directly from me to you over

     2     the course of this trial.

     3          Now after the opening statements are presented by both

     4     sides, the Plaintiffs will have an opportunity to call their

     5     witnesses and present their evidence.        That's called the

     6     Plaintiffs' case in chief.      Once the Plaintiff has called all

     7     their witnesses and they've been examined and cross-examined,

     8     then the Plaintiff will rest its case in chief.

     9          When the Plaintiff rests its case in chief, then the

    10     Defendant will put on its case in chief.        The Defendant will

    11     call its witnesses, they'll be examined and cross-examined.

    12     And when all of the Defendant's witnesses have been presented,

    13     the Defendant will rest its case in chief.

    14          At that moment, the Plaintiff will have an opportunity,

    15     if it chooses to, to call rebuttal witnesses to rebut what's

    16     been put on by the Defendants.       The Plaintiff's not required

    17     to do that; the Plaintiff may elect not to do that.          We will

    18     find out when the Defendant rests its case in chief if the

    19     Plaintiff intends to recall rebuttal witnesses.

    20          If the Plaintiff calls rebuttal witnesses, then when

    21     those witnesses, whether it's one or more than one, when those

    22     witnesses have testified, then the Plaintiff will rest its

    23     rebuttal case.

    24          When the Plaintiff rests its rebuttal case, then you will

    25     have heard all the evidence in this trial, and at that time I

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 125 of 293 PageID #: 48825
                                                                                125



     1     will give you instructions on the law that you are to apply in

     2     deciding the questions you are asked to answer.

     3          After I've given you my final instructions, which are

     4     sometimes called, and I'm sure you've heard this term before,

     5     the Court's charge to the jury, once I have given you my final

     6     instructions, the Court's charge to the jury, then counsel for

     7     the Plaintiff and the Defendant will present their closing

     8     arguments.

     9          When you have heard closing arguments from both Plaintiff

    10     and Defendant, then I will instruct you to retire to the jury

    11     room and to deliberate on your verdict.        And that's the

    12     moment, as I mentioned earlier, ladies and gentlemen, when you

    13     go from being prohibited from discussing the evidence in this

    14     case among the eight of you to being required to discuss the

    15     evidence in this case among the eight of you in an attempt to

    16     answer the questions in the verdict form unanimously.

    17          Let me repeat my earlier instruction to you that you are

    18     not to communicate or discuss anything about this case in any

    19     way with anyone, including the eight of yourselves.

    20          Let me also remind you of my instruction earlier that if

    21     during the course of this trial you come in close contact with

    22     anybody associated with one side or the other, they're not

    23     going to speak, they're not going to be engaging, they're not

    24     going to be friendly.     That's simply because they're following

    25     the instructions I've given them.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 126 of 293 PageID #: 48826
                                                                                126



     1             So when that happens, don't hold it against them.        Don't

     2     think they're being rude or unfriendly.        Just understand that

     3     they're following the instructions that the Court has given

     4     them.

     5             All right.    At this time, we will hear opening statements

     6     from the parties.

     7             Plaintiff, you may present your opening statement to the

     8     jury.

     9                  MR. BAXTER:    Your Honor, could we approach the bench

    10     for just one brief moment?

    11                  THE COURT:    Approach the bench, counsel.

    12                  MR. BAXTER:    Thank you, Your Honor.

    13                  (The following was had outside the hearing of the

    14                  jury.)

    15                  THE COURT:    What's up?

    16                  MR. BAXTER:    I think we want to back up, Judge, and

    17     have Mr. Blasius in the courtroom until such time as it needs

    18     to be sealed, at which time we will notify the Court it needs

    19     to be sealed and he could leave.        But if he could hear the

    20     first part, we would appreciate it.       We would like to change

    21     our mind on that.

    22                  THE COURT:    All right.   As long as there's a request

    23     to seal the courtroom before anything confidential is put

    24     forward.

    25                  MR. BAXTER:    We will, Your Honor.

                                  Shawn M. McRoberts, RMR, CRR
                                Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 127 of 293 PageID #: 48827
                                                                                127



     1                  THE COURT:    We'll do it that way.

     2                  MR. BAXTER:    Thank you, Judge.

     3                  (The following was had in the presence and hearing

     4                  of the jury.)

     5                  THE COURT:    All right.   We'll proceed with opening

     6     statements from the parties.

     7             Plaintiff, you may present your opening statement to the

     8     jury.    Would you like a warning on your time, Mr. Sheasby?

     9                  MR. SHEASBY:    Yes, Your Honor.   If I could have a

    10     warning at 15 minutes and at five minutes.

    11                  THE COURT:    When you have 15 minutes and five

    12     minutes remaining, I will warn you.       You may proceed.

    13                  MR. SHEASBY:    Your Honor, may it please the Court.

    14             Ladies and gentlemen of the jury, my name is Jason

    15     Sheasby, and I've been asked to represent the Optis entities

    16     in this litigation.       I was borne in California.    I spent my

    17     whole life in California.      I'm married my wife, and I have two

    18     children, and we also raise a niece and nephew.

    19                  THE COURT:    Mr. Sheasby, pull the microphone close

    20     to you, please.

    21                  MR. SHEASBY:    I want to begin by doing what Judge

    22     Gilstrap did which is thanking you for your service.          And one

    23     of the interesting things about the right to a trial by jury,

    24     it's in the Bill of Rights, is a lot of us think that the

    25     right to a trial by jury is the right for Apple and for

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 128 of 293 PageID #: 48828
                                                                                128



     1     PanOptis to have a jury.      It's actually not what the founders

     2     meant.

     3          When the founders passed the right to trial by jury, the

     4     idea was that the citizens of our country decide the most

     5     important issues, the citizens decide the most important

     6     issues.   The right to trial by jury is your right.         It's your

     7     right as citizens because the founders placed the power in

     8     your hands.

     9          Now, in 2005, a group of the leading cellular

    10     telecommunications companies in the world came together to

    11     design the next generation cellular network.         And in 2005

    12     there actually was not a lot of data usage.         It was before the

    13     smartphone revolution.     There were some smartphones, but there

    14     was not a mass amount of data.

    15          And the way it worked is the technology companies came

    16     together, and they actually reviewed proposals by other

    17     companies to pick ones that they thought would work in the new

    18     telecommunications system they were creating.         That new

    19     telecommunications system was called LTE.        LTE stands for

    20     long-term evolution.

    21          And the design of this system was for year after year

    22     after year, it would be stable and be able to handle the mass

    23     amounts of data that these companies predicted would be going

    24     across the networks in later years.

    25          There were three companies that had a very significant

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 129 of 293 PageID #: 48829
                                                                                129



     1     role in that process that are at issue today.         Those companies

     2     were Samsung, LG, and Panasonic.       They made a huge risk.      In

     3     2008 alone, while they were building this next generation

     4     network, they spent $14 billion in a single year on R and D.

     5     They made a huge risk investing in long-term evolution.

     6             The community identified five of their technologies that

     7     are absolutely crucial to long-term evolution.         In fact,

     8     they're essential to long-term evolution.        Those five

     9     technologies were recognized by the United States government

    10     with five patents.     Those five patents are the patents in this

    11     case.

    12             Now, LG, Panasonic, and Samsung, and Ericsson, PanOptis

    13     holds the patent rights of those companies.         And the reason it

    14     holds those patent rights is because it has been selected by

    15     LG, Panasonic, and Ericsson to protect their intellectual

    16     property, to focus on the fact that there were individuals who

    17     invested heavily, heavily, into the creation of a long-term

    18     evolution.

    19             And then there were individuals who just took it and did

    20     not invest heavily in long-term evolution.         One of the

    21     entities that took and did not invest in long-term evolution

    22     is Apple.    Apple played no meaningful role in the creation of

    23     long-term evolution.     Apple has reaped significant profits

    24     from the use of long-term evolution.

    25             The sole issue that is to be cited in this proceeding is

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 130 of 293 PageID #: 48830
                                                                                130



     1     the damages that we've paid on those five essential patents.

     2          We spoke about the fact that the right to trial by jury

     3     is a constitutional right.      Patents are actually in the

     4     Constitution.    Our founders 230 years ago, 230 years and

     5     counting years ago, actually realized the importance of

     6     innovation in our country, and they had an idea.          They wanted

     7     everyone from throughout the world to bring the best ideas to

     8     our country and to file patents on them.        And by doing so, we

     9     could improve our economy and improve creation and improve

    10     innovation.

    11          And the Congress actually had a very important insight.

    12     In order to attract the best innovation to our country, they

    13     were going to grant patent rights.       The patent right is a

    14     property right.    It's just as sacred as the right to our

    15     house.    It's just as sacred as the right to our homestead.         It

    16     cannot be violated without permission.        This court is designed

    17     to determine what the damages are for the use of these five

    18     patents.

    19          We spoke about LTE, long-term evolution.         From 2012 to

    20     2020, the best technology Apple had for its cell phones was

    21     long-term evolution.     That's all they had.      They had nothing

    22     better.    And they used it every single year.       Every single

    23     year between 2012 and 2020, Apple used the technology

    24     reflected in the five patents at issue in this case.

    25          This is PanOptis.     PanOptis was created to protect the

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 131 of 293 PageID #: 48831
                                                                                131



     1     innovations of Panasonic, LG, and Ericsson.         It also holds

     2     patents from Samsung.     And its obligation is to ensure takers

     3     pay a fair and reasonable and nondiscriminatory rate for the

     4     use of our technology.

     5          The patent statute makes clear that the assessment of

     6     damages relates to the use of the invention made by Apple.

     7     That's what Congress requires to assess the use of the

     8     invention made by Apple.

     9          Now, you're going to hear from Apple's counsel, and Judge

    10     Gilstrap made clear that attorney argument is not evidence,

    11     but ask yourself if Apple shows you any data on the use it

    12     makes of long-term evolution, of the use it makes of these

    13     five patents in its opening.

    14          These are the five patents.       We refer to them by the last

    15     three numbers.    So, for example, we refer to the Samsung

    16     patent as the '774 Patent.      Each of these patents are

    17     essential.   This is the history of LTE, and you see this

    18     massive explosion in 2010, this massive use of data.          And

    19     Apple gained market share and began to dominate the cell phone

    20     industry as LTE was exploding, as the use of cellular data was

    21     exploding.

    22          We're going to talk about three issues in this trial.

    23     First, we're going to talk about the technical importance of

    24     the patents.    Second, we're going to talk about the use of the

    25     patents by Apple because that's what Congress requires.           The

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 132 of 293 PageID #: 48832
                                                                                132



     1     statute passed by the United States Congress makes clear that

     2     the focus of damages is based on the use of the technology by

     3     Apple.    And the third thing we're going to discuss is, what

     4     the fair, reasonable, and nondiscriminatory rate that Apple is

     5     obligated to pay it.

     6          We talked about LTE.      LTE involved engineers coming

     7     together to select designs that would work for this long-term

     8     system.   And you know what's neat?      This is actually a picture

     9     from a meeting of the engineers.       And you see right in the

    10     corner, you see whose symbol is there?        It's Samsung.

    11     Samsung, LG, Ericsson, Panasonic were crucial contributors to

    12     the construction of long-term evolution.

    13          The first step in our analysis is the technical analysis

    14     of the value of the patents.      PanOptis has asked two

    15     independent experts who are experts in the field of cellular

    16     technology, Professor Mahon and Professor Madisetti.

    17     Professor Mahon designed cellular systems for the Central

    18     Intelligence Agency in various Department of Defense entities

    19     for a number of years.     Professor Madisetti is a researcher

    20     who does significant work with the Defendant of Defense.           And

    21     I'd like them both to stand right now.        Thank you very much.

    22          Professors Mahon and Madisetti actually worked with a

    23     group of elite technologists to design nationwide studies to

    24     calculate and assess the amount of use of Apple's -- of

    25     PanOptis' patents based on Apple's technology across the

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 133 of 293 PageID #: 48833
                                                                                133



     1     nation to do this with these elite technologists.

     2          They also worked to design specialized simulations to

     3     assess the value of the patents, the technical improvement in

     4     the value of the patents.      And based on their analysis, they

     5     concluded that the five patents in this case improved the

     6     performance of Apple's devices by 25 percent.         Twenty-five

     7     percent.

     8          Now, this is a very important case and you'll hear Apple

     9     will tell you this is a very important case to them.          There is

    10     only one party who did nationwide testing to assess the use of

    11     these patents.     There was only one party that designed

    12     specialized simulation to assess the importance of these

    13     patents.   That is PanOptis.

    14          You will hear no evidence from Apple about simulation or

    15     testing.   None.    They have no simulation or testing data that

    16     they performed to dispute the analysis of Professors Mahon and

    17     Madisetti.   Now, why would a company like Apple with vast

    18     access to technologists not have its own nationwide

    19     independent testing and nationwide simulations?

    20          The second issue we're going to discuss is use of the

    21     patents, long-term evolution.       And you'll see between 2005 and

    22     2008, LG, Panasonic, and Samsung filed these patent

    23     applications and then presented them to the body that

    24     constructed LTE, not the patent applications but the designs.

    25     And those -- that body accepted these designs.         In 2010 and

                                Shawn M. McRoberts, RMR, CRR
                              Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 134 of 293 PageID #: 48834
                                                                                134



     1     2011, both Samsung and LG launched LTE phones.

     2            Here's an interesting fact.     Between 2008 and 2010 when

     3     long-term evolution was being created, in 2008 when Samsung,

     4     Panasonic, and LG spent $14 billion in R and D, Apple was

     5     selling a 2G smartphone.      At the same time Panasonic, Samsung,

     6     and LG were creating long-term evolution and spending billions

     7     and billions, Apple was selling 2G and was not investing in

     8     communications technology.

     9            In terms of communications technology, Apple fell

    10     significantly behind.

    11            In September of 2012, Apple realized it had to launch its

    12     own LTE phone, and it did so.       And between 2012 and August

    13     2020, the period of damages in this case, every single LTE

    14     smartphone, LTE tablet, and LTE watch that Apple sells, which

    15     is to say all their cellular products, used long-term

    16     evolution and they use the five technologies that are at issue

    17     in this case.

    18            Apple has never found anything better; they've never been

    19     able to do anything different.       This is the technology they

    20     use.

    21            To give you the scale of Apple's use of the technology,

    22     between 2012 and August 2020, Apple sold 575 million products

    23     that use PanOptis' technology.       575 million products.

    24            PanOptis received patents from LG, Samsung, and

    25     Panasonic, and its obligation is to protect those patents and

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 135 of 293 PageID #: 48835
                                                                                135



     1     to make sure that takers pay a fair and reasonable amount for

     2     them.

     3             And LG, Samsung, and Panasonic were not quiet about the

     4     importance of these patents.      Just the opposite.      Between 2008

     5     and 2010, they made public announcements that these patents,

     6     they believe, were essential and they made clear to the public

     7     that folks could use this technology because they recognized

     8     how important it was, but folks would be obligated to pay

     9     fair, reasonable, and nondiscriminatory royalties.          They made

    10     that clear, explicit, and public.

    11             In 2014 through 2017, PanOptis did the same.       PanOptis

    12     carefully analyzed the patents that it received for

    13     protection, and it is well, publicly announced the patents are

    14     essential, and made clear that folks could use the technology,

    15     but they were obligated to pay a fair, reasonable, and

    16     nondiscriminatory license fees in exchange for use of that

    17     technology.

    18             You heard reference by Judge Gilstrap to ETSI, the

    19     European Telecommunications Standards Institute.          And let me

    20     describe briefly what that is.

    21             The organization that creates LTE, that chooses what

    22     technology received the honor of being part of LTE, is called

    23     3GPP.    ETSI is a European organization that validates that

    24     process and collects the statements by companies who believe

    25     they may have patents that are essential and statements by

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 136 of 293 PageID #: 48836
                                                                                136



     1     companies that they will license those patents but folks have

     2     to pay fair, reasonable, and nondiscriminatory rates.          ETSI is

     3     the clearing house that you go to for patents information.

     4          Now, ETSI has made a very important instruction about

     5     what it means to be entitled to a fair, reasonable, and

     6     nondiscriminatory royalty.      They make clear that

     7     patentholders, IPR holders, IPR is the European word for

     8     patent, should be adequately and fairly rewarded.          Our patents

     9     were declared to ETSI.      As a result of that, we are entitled

    10     to a fair, reasonable, and nondiscriminatory royalty for their

    11     use by Apple.    We are entitled to be adequately and fairly

    12     rewarded.

    13          The next issue to focus on is what is the value of the

    14     patented technology to Apple.       Well, we actually have some

    15     information on this.

    16                  THE COURT:   You have 15 minutes remaining.

    17                  MR. SHEASBY:   We know that Apple charges

    18     extraordinary amounts of money for the use of long-term

    19     evolution.    You can buy an iPad Pro without cellular

    20     technology.    You can buy an iPad Pro with cellular technology.

    21     Apple will charge you $150 just for the access to cellular

    22     technology.    And you'll hear that the vast majority of

    23     cellular technology, cellular usage is long-term evolution.

    24          Let me give you another example.        Apple sells an iPod

    25     Touch, which is basically a fancy phone without cellular

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 137 of 293 PageID #: 48837
                                                                                137



     1     service.    And you can compare that to the price of an iPhone

     2     5s.   They were both marketed at the same time.        The only

     3     functional difference between these two products is cellular,

     4     and Apple charges $350 for access to cellular.

     5           Let me give you another example.       An Apple Watch without

     6     cellular sells for $199.      An Apple Watch with cellular sells

     7     for $299.    Apple charges $100 extra for cellular, for

     8     long-term evolution.

     9           This is objective evidence about the importance of this

    10     technology.

    11           We also know about the extraordinary use that Apple makes

    12     of long-term evolution.      In 2012, Apple launched its first LTE

    13     phone, and it touted that it was able to ship 100 megabits per

    14     second of data.    But as Apple built its phones, as Apple made

    15     them more complex, as Apple made them more valuable, it needed

    16     something.    It needed more and more long-term evolution.

    17           The last cell phone that it launched during the period of

    18     damages in this case was the iPhone 11, and they touted that

    19     it used 10 times more LTE than the one in 2012.         It's not just

    20     that from 2012 to 2020 Apple sold 500 million iPhones,

    21     tablets, and watches that used LTE.       Apple used more and more

    22     and more LTE.    It depended on LTE.     Its business was built on

    23     fast access to cellular technology.

    24           In order to quantify the amount of revenue that Apple

    25     generates from the 25 percent speed increase, PanOptis

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 138 of 293 PageID #: 48838
                                                                                138



     1     actually asked an independent economist who specialized in the

     2     creation of surveys, who was trained by an economist in the

     3     Federal Trade Commission, to quantify exactly how much damages

     4     Apple makes from its products.       And I'd like her to stand now.

     5     Her name is Dr. Rebecca Reed-Arthurs.

     6          Thank you, Doctor Arthurs.

     7          Between February of 2019 and August of 2020, solely from

     8     the use of these five patents, Apple has generated $868

     9     million in profits.     I want to be clear.     That's not the total

    10     amount of profits Apple has made on its cellular products.

    11     That is solely, solely, for the use of these patents.          From a

    12     period of 16 months, it generated $868 million.         You can

    13     understand the extraordinary importance and value of this

    14     technology to Apple.

    15          In addition to Ms. Reed-Arthurs, we've also asked an

    16     independent damages expert to speak.        His name is David

    17     Kennedy.   I'd like Mr. Kennedy to stand.

    18          Thank you, Mr. Kennedy.

    19          Mr. Kennedy has negotiated over 200 license agreements.

    20     In fact, he's the only independent expert you will hear from

    21     who has actually negotiated FRAND royalties on agreements.

    22     Apple has a damages expert.      But for reasons that are unclear,

    23     Apple chose not to bring someone who has any expertise

    24     negotiating FRAND license agreements.

    25          And what Mr. Kennedy will establish is that for each

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 139 of 293 PageID #: 48839
                                                                                139



     1     iPhone that Apple sells, solely from the use of the technology

     2     Apple makes $8.79 in profits.       And to put this in context,

     3     Apple is proposing that it pay essentially a cent for every

     4     cell phone it sells.     I want to be clear about that.       We are

     5     in the litigation today because Apple makes $8.75 per iPhone

     6     from the use of the technology, and Apple wants to pay a tenth

     7     of a cent.

     8          Ultimately, based on an analysis by Mr. Kennedy in a

     9     hypothetical negotiation where both parties have to give

    10     something up, Mr. Kennedy concludes that PanOptis would allow

    11     Apple to keep $360 million of the profits it obtains solely

    12     from the use of these patents, and PanOptis would take $506

    13     million.

    14          Mr. Huynh, can I have slide No. 17, please?

    15          In 2017, PanOptis approached Apple and asked Apple to

    16     take a license to its portfolio of patents.         And between 2017

    17     and February of 2019, PanOptis repeatedly, repeatedly,

    18     repeatedly asked Apple to take a license for the LTE

    19     technology that PanOptis held.       Apple declined.    In fact,

    20     Apple repeatedly told Mr. Blasius, our corporate

    21     representative, we don't use your patents and your patents are

    22     invalid.   Repeatedly.

    23          PanOptis made reasonable offers.        In fact, its first

    24     offer to Apple was approximately $500 million.         You will

    25     recognize that number because it's the number that we are

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 140 of 293 PageID #: 48840
                                                                                140



     1     asking for damages today, and it's been validated by Mr.

     2     Kennedy, the only licensing expert in this case.          Ultimately,

     3     Mr. Blasius will testify that Apple said, we want litigation.

     4          Your Honor, at this time I request that the courtroom be

     5     sealed.

     6                THE COURT:    Based on counsel's request, I'll order

     7     the courtroom sealed.     If you're present and not subject to

     8     the protective order that's been entered in this case, you

     9     should exit the courtroom and are to remain outside until the

    10     courtroom is reopened and unsealed.

    11                (The courtroom was closed.)

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 141 of 293 PageID #: 48841
                                                                                141



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 142 of 293 PageID #: 48842
                                                                                142



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 143 of 293 PageID #: 48843
                                                                                143



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 144 of 293 PageID #: 48844
                                                                                144



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 145 of 293 PageID #: 48845
                                                                                145



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 146 of 293 PageID #: 48846
                                                                                146



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 147 of 293 PageID #: 48847
                                                                                147



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 148 of 293 PageID #: 48848
                                                                                148



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 149 of 293 PageID #: 48849
                                                                                149



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 150 of 293 PageID #: 48850
                                                                                150



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 151 of 293 PageID #: 48851
                                                                                151



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 152 of 293 PageID #: 48852
                                                                                152



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 153 of 293 PageID #: 48853
                                                                                153



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 154 of 293 PageID #: 48854
                                                                                154



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 155 of 293 PageID #: 48855
                                                                                155



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 156 of 293 PageID #: 48856
                                                                                156



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 157 of 293 PageID #: 48857
                                                                                157



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 158 of 293 PageID #: 48858
                                                                                158



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 159 of 293 PageID #: 48859
                                                                                159



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 160 of 293 PageID #: 48860
                                                                                160



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 161 of 293 PageID #: 48861
                                                                                161



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 162 of 293 PageID #: 48862
                                                                                162



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10                THE COURT:    All right, counsel.

    11          At this time I am going to order the courtroom unsealed,

    12     and I will direct the Court Security Officer to invite the

    13     public to return.

    14          Mr. Mueller, you need to take down these demonstratives

    15     and turn the chart to a blank sheet, please.

    16                MR. MUELLER:    Yes, Your Honor.     Thank you.

    17                THE COURT:    Counsel, let me inquire, does either

    18     party wish to invoke the Rule?

    19                MR. MUELLER:    Yes, Your Honor.

    20                THE COURT:    Invoke the Rule including or excluding

    21     experts?

    22                MR. MUELLER:    Excluding experts, and excluding

    23     corporate representatives as well, Your Honor.

    24                THE COURT:    All right.    The Rule has been invoked.

    25     That means if you are a fact witness or you are not a

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 163 of 293 PageID #: 48863
                                                                                163



     1     designated representative for one of the parties, then you

     2     must excuse yourself and remain outside the courtroom until

     3     you are called to testify.

     4          And, counsel, I'll trust each side will monitor the

     5     contents of the gallery and let me know if there's anybody

     6     that is not outside the courtroom that should be.

     7          If you're a fact witness and not an expert witness and

     8     you're going to testify in this case, you should remain

     9     outside the courtroom until you are called to give testimony.

    10          Ladies and gentlemen, it's been an hour and 40 minutes

    11     since we came back from lunch.       We're going to take a short

    12     recess.   When we return, we will begin with the Plaintiff's

    13     first witness.

    14          This is one of those times when you can simply close your

    15     notebooks and leave them in your chairs.

    16          Please follow all my instructions, including not to

    17     discuss the case with each other.       And we will be back shortly

    18     to begin with Plaintiff's first witness.

    19          The jury is excused for recess.

    20                 (Whereupon, the jury left the courtroom.)

    21                 THE COURT:   Let me see lead and local counsel in

    22     chambers.

    23          The Court will stand in recess.

    24                                (Brief recess.)

    25                 THE COURT:   Be seated, please.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 164 of 293 PageID #: 48864
                                                                                164



     1             Plaintiff, are you prepared to call your first witness?

     2                  MR. SHEASBY:     Plaintiff is prepared to call its

     3     first witness, Your Honor.

     4                  THE COURT:   Let's bring in the jury, please.

     5                  (Whereupon, the jury entered the courtroom.)

     6                  THE COURT:   Please be seated, ladies and gentlemen.

     7             Plaintiff, call your first witness.

     8                  MR. SHEASBY:     Your Honor, Plaintiffs call our CEO,

     9     Mr. Brian Blasius.

    10                  THE COURT:   Mr. Blasius, please come forward and be

    11     sworn by our courtroom deputy.

    12                  (Whereupon, the oath was administered by the Clerk.)

    13                  THE COURT:   Please come around, have a seat here at

    14     the witness stand.

    15             Feel free to pour yourself a grass of water if you'd

    16     like.

    17             All right, counsel.    You may proceed with direct

    18     examination.

    19                                   BRIAN BLASIUS,

    20     testified under oath as follows:

    21                                 DIRECT EXAMINATION

    22     BY MR. SHEASBY:

    23     Q.      Good afternoon, Mr. Blasius.    Can you state your name,

    24     please?

    25     A.      Good afternoon.   My name is Brian Blasius.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 165 of 293 PageID #: 48865
                                                                                165



     1     Q.   And can you introduce your position?

     2     A.   Yes.    I am the president and CEO of PanOptis.

     3     Q.   Can you tell us a bit about yourself?

     4     A.   Sure.    I was born and raised in the suburbs outside of

     5     Chicago.    I am married to my wife Julie for the last 24 years.

     6     She had worked for a while and then stayed home to help raise

     7     our kids.    And then she went back to work where she's now a

     8     special education teacher with the local school district.

     9          We have three children.      My daughter is 20 years old.

    10     She attends college.     And I have two boys ages 18 and 15, and

    11     my oldest is going to be going to college in a few weeks.

    12     Q.   What do you do with your free time?

    13     A.   Well, when my children were growing up, they were very

    14     active in sports.     I spent a lot of time volunteering and

    15     coaching for a variety of their sporting initiatives,

    16     especially in baseball and football.        I continue to volunteer

    17     with the high school football team today.

    18     Q.   Can you tell us about your education?

    19     A.   I received my Bachelor's in finance from Northern

    20     Illinois University in 1993.      And then while I was working at

    21     Motorola, I ended up going back to school at night and I

    22     received my MBA from Northwestern University in 2002.

    23     Q.   Can you tell us what PanOptis is?

    24     A.   PanOptis was a company that was formed to help protect

    25     the innovations of some of the major contributors to today's

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 166 of 293 PageID #: 48866
                                                                                166



     1     modern-day cellular communications networks.

     2     Q.   What companies are these?

     3     A.   Those companies include LG, Panasonic, and Samsung, who

     4     are some of the major contributors to the cellular

     5     communications industry and specifically LTE technology.

     6     Q.   You said Samsung as a founder of the company.          Would

     7     you --

     8     A.   Oh, excuse me.     LG, Panasonic, and Ericsson, excuse me,

     9     that were -- helped create PanOptis.

    10     Q.   Who worked with these companies to create PanOptis?

    11     A.   Those companies ended up working with a group of patent

    12     lawyers and patent attorneys and technologists out of Plano,

    13     Texas.

    14     Q.   Does PanOptis own patents from any other source besides

    15     Ericsson, LG, and Panasonic?

    16     A.   Yes.   We actually own patents from Samsung.

    17     Q.   How did the patents become part of the PanOptis?          How did

    18     the Samsung patents become part of PanOptis?

    19     A.   Well, Samsung had approached PanOptis in 2016 to help

    20     solve some issues they were having with a company called

    21     Unwired Planet.    As part of that resolution, we actually

    22     acquired the company.     Samsung took a license to the patents

    23     and ended up transferring a number of patents from their

    24     portfolio to our program.

    25     Q.   How does PanOptis relate to the other Plaintiffs in this

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 167 of 293 PageID #: 48867
                                                                                167



     1     lawsuit?

     2     A.   Well, when PanOptis was created, the founders actually

     3     set up companies to hold the patents that it acquired from the

     4     original contributors.     In this case, we have Optis Wireless,

     5     Optis Cellular, Unwired Planet, and Unwired Planet

     6     International Limited.     Those companies were set up to hold

     7     the patents.

     8          And PanOptis Patent Management was the entity that was

     9     created to help protect those patents, manage the licensing

    10     activities, and then ultimately has the employees that work

    11     for the company.    We have approximately 12 to 15 employees and

    12     contractors.    They actually were employed by an entity called

    13     HillCo and were contracted out to the company to manage those

    14     licensing efforts.

    15     Q.   You referred a license.      What is a patent license?

    16     A.   A patent license is really a right to actually use the

    17     patent in exchange for a payment.       So if you think about it, a

    18     patent is a property right.      So much like a house or a car,

    19     you may allow others to use that house or car, but in exchange

    20     they would pay you a lease payment or a rent payment.

    21     Q.   How long have you -- how can PanOptis hold the patents

    22     that are invented by others?

    23     A.   Again, as I referred to a patent as a property right,

    24     those can be transferred to others.       Think about a land right

    25     or a mineral right.     You can transfer that to others for their

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 168 of 293 PageID #: 48868
                                                                                168



     1     use.

     2     Q.      Do Panasonic, LG, and Ericsson have an economic interest

     3     in Panasonic -- in PanOptis?

     4     A.      Yes, they do.

     5     Q.      How significant is that economic interest?

     6     A.      They actually receive a substantial portion of our

     7     revenues.

     8     Q.      How long have you spent in the cellular licensing

     9     industry?

    10     A.      Approximately twenty years.

    11     Q.      Are there any other companies that perform the same role

    12     as PanOptis performs?

    13     A.      Yes, there are.   There is companies like Via Licensing

    14     and MPEG LA that are actually set up to acquire patents and

    15     patent rights from companies that were innovators in their

    16     field, and then those companies actually license those patents

    17     to companies in the industry that use the underlying

    18     technologies.

    19     Q.      Are you familiar with similar business structures that

    20     Apple has used in the past in this industry?

    21     A.      Yes.

    22     Q.      Has Apple invested in companies like PanOptis in the

    23     past?

    24     A.      Yes, it has.

    25     Q.      Can you give us an example?

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 169 of 293 PageID #: 48869
                                                                                169



     1     A.   There's a company called Rockstar.

     2     Q.   What is the history of Rockstar?

     3     A.   Rockstar was formed when Apple, along with a consortium

     4     of other companies, actually acquired a large number of

     5     patents from a company called Nortel.        They actually set up

     6     Rockstar to own those patents, and then Rockstar licensed

     7     these patents to the industry.

     8     Q.   And Apple retained an interest in Rockstar?

     9     A.   Yes, they did.

    10     Q.   And is that the same model -- how does that relate to the

    11     model of PanOptis?

    12     A.   It's very similar to the model.        Rockstar owns patents

    13     from the original innovator, in this case Nortel, and then

    14     licenses those patents to the industry.

    15     Q.   As part of your job, do you follow important events

    16     within the cellular industry?

    17     A.   Yes, I do.

    18     Q.   From a business standpoint, what is the brief history of

    19     cellular technology?

    20                 MR. SHEASBY:   Mr. Huynh, can we have slide 4,

    21     please?

    22                 THE WITNESS:   Well, if you look at this slide, the

    23     left-hand side, cellular actually got its start in the early

    24     1980s.    And for much of the first few decades, there wasn't a

    25     lot of data being transmitted across those cellular networks.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 170 of 293 PageID #: 48870
                                                                                170



     1          In the mid 2000s, a group of engineers and companies got

     2     together and recognized that there was going to be a massive

     3     amount of data that was going to be transmitted across the

     4     next cellular network.     They ended up meeting to address that

     5     by building the next network called LTE, or long-term

     6     evolution.    It's really the backbone of all cellular

     7     communication traffic.

     8     Q.   (BY MR. SHEASBY)     Are Samsung, LG, and Panasonic the only

     9     entities that helped create LTE?

    10     A.   No, they're not.

    11     Q.   Did they play a significant role in the creation of LTE?

    12     A.   Yes, they did.

    13     Q.   Do you have an understanding of what caused the massive

    14     increase in data?

    15     A.   It was really the expectation -- yes, I do.

    16     Q.   What is that?

    17     A.   It was really the future smartphone revolution that was

    18     starting to come about in the middle of the 2000s.

    19     Q.   In what specifically does this case relate to?

    20     A.   This case relates to LTE communications and specifically

    21     the patents that LG, Samsung, and Panasonic invented and

    22     contributed to the industry and are essential to the LTE

    23     standard.

    24     Q.   Have PanOptis contributors commercialized LTE cellular

    25     technology?

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 171 of 293 PageID #: 48871
                                                                                171



     1     A.   Yes, they have.

     2     Q.   Can you give me some examples?

     3     A.   Sure.    LG and Samsung have both launched cellular

     4     communication devices around LTE technology.

     5     Q.   And when did they do that?

     6     A.   They did that about -- in 2010 for Samsung, and LG was

     7     shortly thereafter.

     8     Q.   And how does that relate to Apple's launch of LTE?

     9     A.   It was approximately one to two years before Apple

    10     actually launched its cell phone for LTE in late 2012.

    11     Q.   Are you familiar with the scale of investment made by

    12     Panasonic, LG, and Samsung in research?

    13     A.   Yes, I am.

    14     Q.   Can you give us an example of that?

    15     A.   Well, in 2008, which was at the time that the standards

    16     were being created, the combined R and D spend for those three

    17     companies was approximately $14 billion.

    18     Q.   As part of your job, have you gained an understanding of

    19     the importance of LTE from a business standpoint?

    20                  THE COURT:   Mr. Sheasby, could you slow down as you

    21     read those questions?

    22                  MR. SHEASBY:    Yes, Your Honor.

    23                  THE COURT:   Please do.

    24     Q.   (BY MR. SHEASBY)       As part of your job, have you gained an

    25     understanding of the importance of LTE from a business

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 172 of 293 PageID #: 48872
                                                                                172



     1     standpoint?

     2     A.   Yes, I have.     It's very important.

     3     Q.   Can you give us an example of that?

     4     A.   Sure.     In 2020, you think about what we do with our

     5     phones today.    We watch YouTube, we download Netflix, watch

     6     streaming movies, we share photos.       All of that has to go over

     7     the cellular networks.     So in that time frame, there was 43

     8     billion megabytes of data being transmitted across those

     9     networks each and every day.

    10     Q.   How do innovators address this massive data problem?

    11     A.   Well, they've recognized that even a small incremental

    12     improvement in the transmission across the networks would lead

    13     to a large benefit.     Think about the size of the U.S. economy.

    14     It's a very large number.      An incremental improvement in that

    15     is a large number.

    16     Q.   What is the dominant cellular network as of 2020?

    17     A.   It's LTE.

    18     Q.   And what percentage of the cellular technology do you

    19     realize in LTE?

    20     A.   83 percent of all data communication traffic is done

    21     through LTE.

    22     Q.   Do PanOptis contributors continue to remain ahead of

    23     Apple in cellular technology?

    24     A.   Yes, they do.

    25     Q.   Can you give us some examples?

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 173 of 293 PageID #: 48873
                                                                                173



     1     A.   Yes.    Well, you've heard of 5G and Panasonic and Ericsson

     2     have both launched 5G networks.       Samsung and LG -- Samsung has

     3     launched 5G phones into the marketplace.

     4     Q.   During the damages period in this case, did Apple have a

     5     5G phone?

     6     A.   No, it did not.

     7                  MR. SHEASBY:    Mr. Huynh, can we have the

     8     demonstrative that Mr. Mueller used in my slide deck, please,

     9     with the phones?    I believe it's the next slide.

    10     Q.   (BY MR. SHEASBY)       Were you present in opening when

    11     Apple's lead counsel showed this slide?

    12     A.   Yes, I was.

    13     Q.   From a business standpoint, is LTE the same in each of

    14     these phones?

    15     A.   No, it's not.

    16     Q.   Why do you say that?

    17     A.   Well, if you look at the phone on the left, the Doro

    18     phone, that's actually what we call a feature phone within the

    19     industry.    Those were available in the late 1990s, early

    20     2000s.   And it -- the BLU phone as well, both of those phones

    21     on the left have one-tenth of the ability to transmit data

    22     compared to the iPhone 11.

    23     Q.   Does the Doro allow for the downloading of applications

    24     or videos?

    25     A.   No, it does not.       It doesn't allow for either of those

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 174 of 293 PageID #: 48874
                                                                                174



     1     download capabilities.

     2     Q.     Do you believe this is a fair comparison to make between

     3     the Doro and BLU phone and a phone such as the iPhone 11 Pro

     4     Max?

     5     A.     No, I do no.

     6     Q.     Do you have any personal experience at the companies you

     7     work with with the importance of high speed bandwidth to phone

     8     manufacturers?

     9     A.     Yes, I do.

    10     Q.     Can you give us some examples?

    11     A.     Sure.   In -- while I was at Motorola, they actually set

    12     up its own cellular service where they acquired air time and

    13     bandwidth from major cellular communications providers,

    14     network providers, and packaged that together to be able to

    15     sell premier service to its customers.

    16            And then while I was at Google, they actually set up the

    17     same process where they acquired network capacity to be able

    18     to provide high class service to its customers.         They

    19     purchased that capacity from the network suppliers, and it's

    20     called Google Fox.

    21     Q.     How did the smartphone industry expand while you were at

    22     Motorola?

    23     A.     Well, the smartphone industry actually started in the

    24     early 2000s.    And then as the data capacity became available,

    25     it attracted a lot of new entrants into the marketplace.

                                 Shawn M. McRoberts, RMR, CRR
                               Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 175 of 293 PageID #: 48875
                                                                                175



     1     Apple, a number of other computer companies, and a number of

     2     Chinese smartphone manufacturers decided to enter the market.

     3     They didn't really have much involvement in developing the

     4     underlying standards around LTE connectivity, and then they

     5     ended up developing products and taking market share from the

     6     innovators.

     7     Q.   When did Samsung release its first cell phone?

     8     A.   In 1988.

     9     Q.   When did Apple release its first cell phone?

    10     A.   In 2007.

    11     Q.   When LG, Samsung, and Panasonic were helping to build

    12     LTE, what cellular telecommunications technology was Apple

    13     offering?

    14     A.   It was 2G GSM technology.

    15     Q.   Have you come to understand the role that Apple played in

    16     the creation of LTE?

    17     A.   Yes, I have.

    18     Q.   What was Apple's role?

    19     A.   It had no meaningful role at all in the creation of LTE.

    20     Q.   Mr. Mueller at break referred to -- in his opening

    21     referred to something he called 5G.       Do you remember that?

    22     A.   Yes.

    23     Q.   What is the relationship between LTE and 5G?

    24     A.   Well -- between LTE and 5G?

    25     Q.   Yes.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 176 of 293 PageID #: 48876
                                                                                176



     1     A.    Well, 5G is really a form of LTE.

     2     Q.    Do PanOptis contributors continue to remain ahead of

     3     Apple in cellular technology?

     4     A.    Yes, they do.

     5     Q.    When you said that LTE is a form of 5G, can you explain

     6     that a bit more?

     7     A.    Well, excuse me.       The LTE is a form of -- 5G.

     8     Q.    You said 5G is a form of LTE.      Can you explain that a

     9     little bit more?

    10     A.    Sure.    It's long-term evolution.     So basically with

    11     long-term evolution, 5G was really built on top of 4G.           4G, or

    12     LTE, is the underlying technology that really supports the

    13     ability for 5G transmission.

    14     Q.    All right.

    15                   MR. SHEASBY:    Can we have PX 9.7, Mr. Huynh?     Slide

    16     7.   One more.

    17     Q.    (BY MR. SHEASBY)       Did the original owners of the patents

    18     inform the industry about the importance of them?

    19     A.    Yes, they did.

    20     Q.    How did they do that?

    21     A.    They did that through a declaration process and -- when

    22     they informed the industry.       That declaration process is a

    23     process where they declare their patents essential to a

    24     particular standard.     They do that to a body called ETSI.        And

    25     in that declaration process, they end up informing people that

                                Shawn M. McRoberts, RMR, CRR
                              Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 177 of 293 PageID #: 48877
                                                                                177



     1     they're willing -- that they were willing to grant irrevocable

     2     licenses with the expectation that they would receive a fair,

     3     reasonable, and nondiscriminatory rate.

     4     Q.   Did these innovators commit to provide licenses to their

     5     patents?

     6     A.   Yes, they did.

     7     Q.   On what terms did they agree to provide licenses to these

     8     patents?

     9     A.   On fair, reasonable, and nondiscriminatory terms.

    10     Q.   Did PanOptis do anything to identify the importance of

    11     these patents?

    12     A.   Yes.     In fact, PanOptis did a couple of things.       First,

    13     they ended up actually checking the essentiality of these

    14     patents to verify in fact that they were truly essential.           And

    15     then they reaffirmed those commitments by saying it was

    16     prepared and -- declared to the standards body that it was

    17     prepared to grant irrevocable licenses with the expectation

    18     that it would be fairly rewarded.

    19     Q.   How does PanOptis manage its relationship with ETSI?

    20     A.   We actually have a gentleman on staff named James Warden,

    21     who is a technologist by trade.       He's actually participated in

    22     the standards bodies' meetings, went and helped form the

    23     standard through his decades of experience at Motorola and

    24     BlackBerry.

    25     Q.   Has PanOptis approached Apple about licensing its

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 178 of 293 PageID #: 48878
                                                                                178



     1     patents?

     2     A.   Yes, we have.

     3     Q.   When was the first event?

     4     A.   The first event was in January of 2017.

     5     Q.   And what did that involve?

     6     A.   That involved a letter that then Tom Miller, who was the

     7     head of licensing for PanOptis, sent a letter to Bruce Sewall,

     8     the general counsel of Apple.

     9     Q.   As part of your role as CEO of PanOptis, did you

    10     familiarize yourself with the Apple negotiations?

    11     A.   Yes, I did.

    12     Q.   Can you give me -- was there a meeting in February?

    13     A.   Yes, there was.

    14     Q.   What happened at that meeting?

    15     A.   At that meeting, Tom Miller, along with Ray Warren, who

    16     was the director of licensing at PanOptis, ended up -- ended

    17     up informing Apple that they were still willing to enter into

    18     licenses and discuss their SEP holdings.

    19     Q.   What was Apple's position on whether it needed PanOptis'

    20     patents?

    21     A.   They informed us that they did not want to take a

    22     license.

    23     Q.   Did they take a position on whether the patents were

    24     infringed and invalid?

    25     A.   Yes.   They ultimately determined from their perspective

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 179 of 293 PageID #: 48879
                                                                                179



     1     that they claimed that they were invalid and that the patents

     2     were not infringed.

     3     Q.   And they said that for all of PanOptis' patents?

     4     A.   Yes, they did.

     5     Q.   How many times did they say that in your estimation?

     6     A.   Multiple occasions, at least three times that I can

     7     recall.

     8     Q.   To you directly?

     9     A.   To me directly, they said it twice.

    10     Q.   Did you make offers to Apple?

    11     A.   Yes, we did.

    12     Q.   Did the offers change over time?

    13     A.   Yes, the offers did change over time.

    14     Q.   Why did they change?

    15     A.   They changed over time because we learned more

    16     information about this portfolio, number one.         We had patents

    17     that were actually found to be valid and essential to the

    18     standard.

    19          We actually ended up doing additional work on our patents

    20     to determine how many patents that we had that were really

    21     applicable to these discussions and were absolutely essential

    22     to the standard, and then we had some information from Apple

    23     about some claimed licenses that they had that ended up not to

    24     be true.

    25     Q.   Apple claimed they had a license to some of your patents?

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 180 of 293 PageID #: 48880
                                                                                180



     1     A.   Yes, they did.

     2     Q.   And what was the ultimate conclusion?

     3     A.   That that was incorrect.

     4     Q.   When you were making offers to Apple, did they dispute

     5     infringement and validity of your patents?

     6     A.   Yes, they did.

     7     Q.   And after they disputed validity and infringement of your

     8     patents, did Apple make an offer?

     9     A.   Yes, they did.

    10     Q.   So to be clear, Apple said none of PanOptis' patents are

    11     valid or infringed and --

    12                  MS. SMITH:   Your Honor, may we approach?

    13                  THE COURT:   Approach the bench.

    14                  (The following was had outside the hearing of the

    15                  jury.)

    16                  MS. SMITH:   I gave Mr. Sheasby a little leeway on

    17     saying that the communications that they're not valid, they're

    18     not infringed.    But he is going on and on about infringement

    19     and invalidity, which you've said, Your Honor, is not part of

    20     this case.

    21                  MR. SHEASBY:   Your Honor, I'm not talking about

    22     these specific patents.      I'm talking about the negotiations.

    23     I laid the foundation that during these negotiations, they

    24     repeatedly said PanOptis' patents were invalid and not

    25     infringed.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 181 of 293 PageID #: 48881
                                                                                181



     1          The door has been opened to the negotiation.          I was very

     2     clear about that.     I'm not asking about what is happening in

     3     the lawsuit.    I am talking specifically about the negotiations

     4     that occurred.

     5                 THE COURT:   Well, you mentioned it enough.       You

     6     don't need to dwell on infringement or invalidity going

     7     forward.

     8                 MR. SHEASBY:    Sure.

     9                 THE COURT:   All right.

    10                 MS. SMITH:   Thank you, Your Honor.

    11                 (The following was had in the presence and hearing

    12                 of the jury.)

    13                 THE COURT:   Let's proceed.

    14     Q.   (BY MR. SHEASBY)      During this time with PanOptis, did

    15     Apple make offering offers to PanOptis?

    16     A.   Yes.

    17     Q.   The first offer that Apple -- that PanOptis made to Apple

    18     in 2017, about how much was that for in terms of past damages

    19     in the U.S.?

    20     A.   Approximately $500 million.

    21     Q.     When you made the decision to initiate this lawsuit

    22     against Apple, who determined what patents to use?

    23     A.   We had a team of technologists and patent lawyers on

    24     staff that determined which patents to use.

    25     Q.   Who's going to teach the jury about the patents?

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 182 of 293 PageID #: 48882
                                                                                182



     1     A.   We actually have Professors Mahon and Madisetti, who are

     2     the world experts in this field to help teach the jury.

     3     Q.   Did you sit with them?

     4     A.   Yes, I did.

     5     Q.   Now, are you able to read and understand the patents on

     6     your own?

     7     A.   No, not on my own.      It's very technical documents.

     8     Q.   How did you learn them?

     9     A.   I actually spent time with Professors Mahon and Madisetti

    10     and participated in Zoom calls, phone calls, and in-person

    11     meetings to try to understand the underlying technology in the

    12     patents.

    13     Q.   Did LG, Panasonic, and Samsung provide information on

    14     these five patents when PanOptis took responsibility for

    15     protecting them?

    16     A.   Yes, they did.

    17     Q.   What did LG and Panasonic do?

    18     A.   LG and Panasonic actually supplied documents when they

    19     transferred the patents to us that designated whether or not

    20     the patents were actually essential to the -- declared

    21     essential to the LTE standard.       It wasn't every patent, but it

    22     was a subset of the patents they transferred to us.

    23          And then they actually went a further step and identified

    24     specified patents and, again, a subset of those declared

    25     patents that they confirmed were actually essential and had

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 183 of 293 PageID #: 48883
                                                                                183



     1     claim charts that they believed were essential to the standard

     2     for those specific patents.

     3     Q.   Ericsson check the analysis of LG and Panasonic?

     4     A.   Yes, it did in that process.

     5     Q.   And did Samsung identify the Patents-in-Suit?

     6     A.   Yes, it did.

     7     Q.   How did it do that?

     8     A.   In our contract with Samsung, they actually provided a

     9     list of patents as well and identified a certain subset of

    10     those patents that were essential to the standards.

    11     Q.   Does PanOptis use internal or external experts to

    12     determine the speed increase attributable to the patents?

    13     A.   In cases like these, we use external experts.          They are

    14     the most appropriate.

    15     Q.   Does PanOptis use internal or external experts to set

    16     FRAND damages in cases like these?

    17     A.   Again, in cases like these, we use external experts.

    18     They are the most appropriate.

    19     Q.   Have you contacted Apple since filing suit?

    20     A.   Yes, we have.

    21     Q.   What did Apple respond?

    22     A.   Well, they initially in their response said that they

    23     didn't infringe the patents, that they believed them to be

    24     invalid, and then said they welcomed to come to court.

    25     Q.   When you -- are you familiar with how much money PanOptis

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 184 of 293 PageID #: 48884
                                                                                184



     1     has invested in its business today?

     2     A.   Yes, I am.

     3     Q.   How much?

     4     A.   It is approximately $450 million through August of 2020

     5     with a substantial portion of that going back to the original

     6     innovating companies.

     7     Q.   Thank you, Mr. Blasius.

     8                 MR. SHEASBY:    Your Honor, I pass the witness.

     9                 THE COURT:   Cross-examination by the Defendant?

    10                 MS. SMITH:   Yes, Your Honor.

    11                 THE COURT:   What are you doing, Mr. Sheasby?

    12                 MR. SHEASBY:    I was handing the binders to

    13     Mr. Blasius.

    14                 THE COURT:   All right.    Proceed.    I just would like

    15     to know what you're doing and what you've got in your hand

    16     before you start walking around the courtroom.

    17                 MR. SHEASBY:    I understand, Your Honor.

    18                 THE COURT:   All right.    Let's proceed, Ms. Smith.

    19                 MS. SMITH:   Thank you, Your Honor.

    20                                CROSS EXAMINATION

    21     BY MS. SMITH:

    22     Q.   Good afternoon, Mr. Blasius.

    23     A.   Good afternoon.

    24     Q.   My name is Melissa Smith, and I represent Apple.          Nice to

    25     meet you.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 185 of 293 PageID #: 48885
                                                                                185



     1     A.   Nice to meet you.

     2     Q.   Mr. Blasius, you were here when the Judge read his

     3     preliminary instructions to the jury.        Correct?   You were

     4     seated at that table?

     5     A.   Yes.

     6     Q.   All right.    You understand that the issue for the jury

     7     here is to decide what a FRAND royalty would be for

     8     Plaintiffs' five patents.      Is that correct?

     9     A.   Yes.

    10                 MS. SMITH:    Your Honor, may I approach this flip

    11     chart?

    12                 THE COURT:    You may.

    13     Q.   (BY MS. SMITH)      And as you heard I believe from both

    14     sides in opening, FRAND stands for fair, reasonable, and

    15     nondiscriminatory, and you have no dispute with that, do you?

    16     A.   No, I do not.

    17     Q.   All right.    And each of the five patents here are

    18     committed to be licensed on FRAND terms and conditions.

    19     A.   That's correct.

    20     Q.   And Samsung, Panasonic, and LG each committed that they

    21     license the five Patents-in-Suit on FRAND terms.          Correct?

    22     A.   Correct.

    23     Q.   And then following along when Plaintiffs acquired the

    24     five patents at issue here, they also made that FRAND

    25     commitment.    Is that correct?

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 186 of 293 PageID #: 48886
                                                                                186



     1     A.   Yes.

     2     Q.   And that FRAND commitment is an irrevocable commitment.

     3     You can't take it back, can you?

     4     A.   Correct.

     5     Q.   Now, Mr. Blasius, you understand that the Plaintiffs here

     6     don't get to come to court -- you don't get to come to court

     7     for this trial and break those FRAND commitments.          You

     8     understand that?

     9     A.   Yes.

    10     Q.   Okay.     You're bound to them?

    11     A.   Yes, we are.

    12     Q.   And you take those commitments seriously.

    13     A.   Yes.

    14     Q.   And you understand the jurors here can hold you to those

    15     commitments.

    16     A.   Yes.

    17     Q.   Okay.     You were also here when Judge Gilstrap gave his

    18     preliminary instructions and talked about this case not being

    19     punitive.    Did you hear the Judge say that?

    20     A.   Yes.

    21     Q.   And so you'd agree that this case is not a case where

    22     you're asking the jury to punish Apple.        Is that correct?

    23     A.   Correct.

    24     Q.   You'd agree the jury's task is not the punish Apple.

    25     Correct?

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 187 of 293 PageID #: 48887
                                                                                187



     1     A.     Correct.

     2     Q.     Because the jury's only task is to determine what's fair,

     3     reasonable, and nondiscriminatory.       Correct?

     4     A.     Yes, correct.

     5     Q.     Okay.    So if somebody came to you and said, you know, I

     6     want to punish Apple with a royalty rate that's higher than

     7     FRAND because Apple is a successful company, you'd say that

     8     would be the wrong thing to do.       Correct?

     9     A.     Correct.

    10     Q.     And Samsung, LG, and Panasonic, they are all big

    11     companies, aren't they, sir?

    12     A.     Yes.

    13     Q.     And so if somebody was to say, well, you know what?         I

    14     think I want to discriminate against Apple because it's a big

    15     company, that would be the wrong thing to do, wouldn't it,

    16     sir?

    17     A.     You could characterize it that way.

    18     Q.     Okay.    Now, you visited with your attorney about the

    19     relationship between the Plaintiffs and Panasonic, LG, and

    20     Samsung.      Now, Panasonic, LG, and Samsung, they've got some

    21     continuing arrangements with the Plaintiffs, do they not?

    22     A.     Yes, that's correct.

    23     Q.     They're continuing contractual arrangements.

    24     A.     Yes.

    25     Q.     So Plaintiffs have an ongoing obligation to share their

                                Shawn M. McRoberts, RMR, CRR
                              Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 188 of 293 PageID #: 48888
                                                                                188



     1     licensing revenues with -- with LG and Panasonic.          Is that

     2     correct?

     3     A.   Correct.

     4     Q.   And so LG and Panasonic will receive a portion of any

     5     damages awarded in this case.       That would be Optis' revenue.

     6     Correct?

     7     A.   Yes.

     8     Q.   So LG and Panasonic have a direct financial interest in

     9     what the jurors decide here.      Is that correct?

    10     A.   Yes.

    11     Q.   And LG and Panasonic sell products in the marketplace

    12     along with Apple.     Correct?

    13     A.   Can you define products?

    14     Q.   Electronic products?

    15     A.   Electronic products?

    16     Q.   Yes.

    17     A.   Yes.

    18     Q.   All right.     And Samsung certainly sells electronic

    19     products and handsets along with Apple in the marketplace.           Is

    20     that correct?

    21     A.   That's correct.

    22     Q.   The truth is actually Samsung sells more phones than

    23     Apple.   Correct?

    24     A.   I don't know.

    25     Q.   All right.     Well, let's go back in 2012 first.       Back in

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 189 of 293 PageID #: 48889
                                                                                189



     1     2012, do you know whether or not Samsung was selling a lot

     2     more phones than Apple?

     3     A.   I don't recall the specific number at that time.

     4     Q.   Okay.

     5                  MS. SMITH:    Mr. Lee, if we could take a look at the

     6     Defense demonstrative, the Gartner exhibit, which is at tab 10

     7     please.

     8     Q.   (BY MS. SMITH)       Mr. Blasius, are you familiar with

     9     Gartner Marketing Research as a member of the licensing

    10     community?

    11                  MR. SHEASBY:    Your Honor, I object.    This is not in

    12     evidence.    This was not preadmitted.      It's a demonstrative.

    13     Counsel can refresh Mr. Blasius's recollection with this

    14     document, but it shouldn't be published to the jury.

    15                  MS. SMITH:    Your Honor, we didn't have an agreement.

    16     I'm not entering it into evidence as an exhibit.          It is a

    17     demonstrative, and there was no agreement to exchange

    18     demonstratives.    So this can't be considered some type of a

    19     surprise, and it's marketing research.        He's been in marketing

    20     for 25 years.    I assume he's familiar with it.

    21                  THE COURT:    If he has personal knowledge, he can

    22     testify within his personal knowledge.        Overruled.    If he

    23     doesn't have personal knowledge, he's not going to speculate

    24     about what it is.

    25          Let's proceed.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 190 of 293 PageID #: 48890
                                                                                190



     1                  MS. SMITH:    Of course.

     2     Q.   (BY MS. SMITH)       Mr. Blasius, you have been -- how long

     3     have you been doing licensing?

     4     A.   Approximately twenty years.

     5     Q.   All right.    And you keep track of what's going on in the

     6     market with various electronics companies that you're familiar

     7     with--Samsung, Apple, LG, Panasonic, companies like that?

     8     A.   Yes.

     9     Q.   I'm going to show you what has been put on the screen.

    10                  MS. SMITH:    And if we could go to table 1, Mr. Lee.

    11     Thank you.    And if we could cull out -- highlight the Samsung

    12     and Apple.

    13                  MR. SHEASBY:    Your Honor, I continue to object.

    14     This is not evidence.       The witness can be refreshed by looking

    15     at his binder.    We don't publish non-evidence to jurors.

    16                  MS. SMITH:    I'm going to ask if he's familiar with

    17     these numbers, if these look appropriate based upon the

    18     experience that he just testified to.        It's a demonstrative.

    19                  THE COURT:    If he has personal knowledge, he can

    20     testify to it.    If he doesn't know this level of detail, he'll

    21     have to say he doesn't know this level of detail.

    22          Let's proceed.

    23     Q.   (BY MS. SMITH)       Sir, do you have any recollection of the

    24     number of Samsung handsets sold back in 2012 versus the number

    25     of Apple handsets sold back in 2012?

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 191 of 293 PageID #: 48891
                                                                                191



     1     A.      I don't recall the specific numbers.

     2     Q.      So I'll make my question a little more broad.        Do you

     3     recall that Samsung, not asking you for specific numbers, do

     4     you recall that Samsung sold more phones than Apple in 2012,

     5     give or take 50,000 or 70,000?

     6     A.      I don't recall the specific numbers.

     7     Q.      Okay.    Thank you, sir.

     8                     MS. SMITH:    Mr. Lee, you can take that down.

     9     Q.      (BY MS. SMITH)       Now, we've talked about that ongoing

    10     revenue relationship between PanOptis and LG and Panasonic.           I

    11     want to talk about Samsung.

    12             Now, Samsung approached PanOptis about a business deal, I

    13     recall you telling Mr. Sheasby.         Is that correct?

    14     A.      Yes.

    15     Q.      And Samsung approached PanOptis and proposed that it

    16     would pay for the acquisition of Unwired Planet.           Is that

    17     correct?

    18     A.      That's incorrect.

    19     Q.      All right.    Well, as part of the deal, Samsung

    20     transferred patents to Plaintiffs, including the 774.            Can we

    21     agree on that?

    22     A.      That's correct.

    23     Q.      Okay.    Thank you, sir.

    24                     MS. SMITH:    Now, Mr. Lee, if you could put up DDX

    25     53.4.

                                  Shawn M. McRoberts, RMR, CRR
                                Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 192 of 293 PageID #: 48892
                                                                                192



     1     Q.      (BY MS. SMITH)      I've been stumbling over some of the

     2     entities.      There are five Plaintiffs in this case.      Correct,

     3     Mr. Blasius?

     4     A.      Yes.

     5     Q.      So we've got PanOptis Management up top here or kind of

     6     in the middle of the screen.        Is that correct?

     7     A.      Yes.

     8     Q.      And PanOptis Management actually doesn't own any patents.

     9     Is that correct?

    10     A.      Correct.

    11     Q.      Then we've got --

    12                    MS. SMITH:    Mr. Lee, if you'd pop up Optis Wireless

    13     Technology.

    14     Q.      (BY MS. SMITH)      Is that correct?   That's one of the

    15     Plaintiffs in this case?

    16     A.      Yes.

    17     Q.      And we've got Unwired Planet, LLC.      Another Plaintiff in

    18     this case?

    19     A.      Yes.

    20     Q.      Unwired Planet International is also a Plaintiff in this

    21     case.    Is that correct?

    22     A.      Yes.

    23     Q.      And then you mentioned to Mr. Sheasby, I believe, that

    24     even though you are up top here as the president and CEO of

    25     these five companies, you're not actually employed by any of

                                 Shawn M. McRoberts, RMR, CRR
                               Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 193 of 293 PageID #: 48893
                                                                                193



     1     the Optis entities, but you're employed by Hilco Global.           Is

     2     that correct?

     3     A.   I wouldn't characterize it that way.

     4     Q.   Would you -- would it be appropriate to say you are paid

     5     by Hilco Global or your compensation comes from Hilco Global?

     6     A.   Yes.

     7     Q.   And you're designated by Hilco to be the president, the

     8     designated president and CEO of the Plaintiffs.

     9     A.   Yes.

    10     Q.   You're the one who authorized the filing of the lawsuit.

    11     Is that correct?

    12     A.   Yes.

    13     Q.   And over on the right, I'm going to add Samsung,

    14     Panasonic, and LG.     Those are the entities that you would

    15     agree chose to transfer their cellular patents to Plaintiff.

    16     Is that correct?

    17     A.   Yes, that's correct.

    18     Q.   So is this a fair description of your corporate structure

    19     for purposes of this lawsuit?

    20     A.   It's not entirely accurate.

    21     Q.   All right.    Is it a fair description of the five

    22     Plaintiffs in this lawsuit?

    23     A.   Yes.

    24     Q.   Thank you.

    25          Now, none of the five plaintiffs that we're looking at

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 194 of 293 PageID #: 48894
                                                                                194



     1     produce any actual cellular products themselves, do they?

     2     A.   No, they do not.

     3     Q.   Okay.    And none of the five Plaintiffs that we see on the

     4     screen sell any baseband chips, do they?

     5     A.   No.

     6     Q.   So Plaintiffs can never use a supply of products or a

     7     supply of baseband chips as leverage in a patent negotiation,

     8     could they?

     9     A.   No.

    10     Q.   Plaintiffs don't have their own research and development

    11     departments, do they?

    12     A.   No.

    13     Q.   You did say something.      I believe you said that Optis had

    14     spent -- or the Panasonic-Lg entities had spent, did you say,

    15     $450 million on research and development when you were

    16     visiting with Mr. Sheasby?

    17     A.   No, that was -- that's incorrect.

    18     Q.   All right.    You're correct.     I'm sorry, Mr. Blasius.

    19          So the former owners we see here, they chose to work with

    20     Optis entities to license some of their cellular patents.

    21     Correct?

    22     A.   Correct.

    23     Q.   Okay.    And as we've discussed, LG, Panasonic, and Samsung

    24     all have some incentive for you to succeed in this case.           Is

    25     that correct?

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 195 of 293 PageID #: 48895
                                                                                195



     1     A.   That's not entirely correct.

     2     Q.   Okay.     Well, you certainly don't dispute that LG and

     3     Panasonic have an incentive for Plaintiffs to succeed here.

     4     Correct?

     5     A.   Yes.

     6     Q.   Okay.     Is your position that Samsung has no incentive for

     7     Plaintiffs to succeed here?

     8     A.   Yes, that's accurate.

     9     Q.   Okay.     Now, these companies that transferred the patents

    10     to PanOptis, they could have helped you out by providing you

    11     with information about performance benefits.         Correct?

    12     A.   Could have helped us out?

    13     Q.   If they had information about the performance benefits of

    14     the patents that they owned and gave to you, they could have

    15     provided you -- nothing prevented them from providing you that

    16     information.    Is that correct?

    17     A.   I don't know.

    18     Q.   Did you ask for it?

    19     A.   Not that I recall.

    20     Q.   And you certainly didn't present any evidence of that

    21     when you were testifying to this jury, did you?

    22     A.   Correct.

    23     Q.   Now, Plaintiffs are seeking a royalty of $4.22 per iPhone

    24     for the five asserted patents in this case.         Is that correct?

    25     A.   Yes.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 196 of 293 PageID #: 48896
                                                                                196



     1     Q.   And that is for a period of 18 months.         Did I get that

     2     right?

     3     A.   Correct.

     4     Q.   So at that per unit rate that the Plaintiffs are

     5     requesting, that could add up to far more than a half billion.

     6     It could be billions.      Is that correct?

     7     A.   It depends on the time period.

     8     Q.   Well, to be clear, the $506 million that you're asking

     9     the jury for is just for the time period between February of

    10     2019 through August of 2020.      Is that correct?

    11     A.   Yes.

    12     Q.   And Plaintiffs are going to ask this jury for that same

    13     $4.22 for an iPhone period from August '20 beyond through the

    14     expiration of the patents in a running royalty.         Isn't that

    15     correct?

    16     A.   That's correct.

    17     Q.   And these five patents aren't going to expire for many,

    18     many years.    Correct?

    19     A.   That's correct.

    20     Q.   So what you're asking for the jury for is actually

    21     billions of dollars, sir.      Is that correct?

    22                 MR. SHEASBY:    Your Honor, I object.     As a matter of

    23     law, running royalty is not decided by this jury.          On a

    24     royalty basis --

    25                 THE COURT:    I can't hear you, Mr. Sheasby.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 197 of 293 PageID #: 48897
                                                                                197



     1                  MR. SHEASBY:    Your Honor, I object.    This is a

     2     mischaracterization of the law.         Running royalty applicability

     3     of damages is decided by the Court, not the jury, and counsel

     4     should not be mischaracterizing the role between the jury and

     5     the Court.

     6                  MS. SMITH:    Your Honor, I believe this plaintiff

     7     wants an option, a running royalty option for this jury to

     8     decide, and that's what I'm addressing now.         If they're

     9     withdrawing that, I'll withdraw my questions.

    10                  MR. SHEASBY:    Your Honor, the problem is the

    11     suggestion that the jury will decide the future royalty as

    12     opposed to the Court.

    13                  THE COURT:    Ms. Smith, this is the corporate

    14     representative of the Plaintiff.        You can ask him if the

    15     corporation is seeking a running royalty, whether it's from

    16     the jury or some other source.       You don't need to go beyond

    17     are they or are they not seeking that running royalty over the

    18     life of the remaining life of the patents.

    19                  MS. SMITH:    Understood, Your Honor.

    20                  THE COURT:    All right.    Let's proceed.

    21     Q.   (BY MS. SMITH)       So, Mr. Blasius, you're seeking -- in

    22     addition to the half billion, you're also seeking a running

    23     royalty going forward through the life of the patents.           Is

    24     that correct?

    25     A.   I wouldn't characterize it that way.         We're seeking a

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 198 of 293 PageID #: 48898
                                                                                198



     1     running royalty.

     2     Q.   Now, working just with that $506 million or half-billion

     3     dollar number, you'd agree that Samsung, Panasonic, and LG as

     4     competitors of Apple, they wouldn't be too upset if Apple had

     5     to pay those royalties, would they?

     6     A.   I don't know what their position would be.

     7     Q.   Well, do you think Samsung, Panasonic, and LG might sell

     8     more of their own products if Apple is having to pay a half

     9     billion dollars out in royalties like that?

    10                 MR. SHEASBY:   Your Honor, I object.      This is a

    11     violation of Ericsson.     This is completely contrary to the

    12     hypothetical negotiation.      It has nothing to do with

    13     hypothetical negotiation in this case.        Ericsson is directly

    14     on point.   The question should be stricken.

    15                 THE COURT:   It calls for speculation.      This witness

    16     can't testify about what Samsung, Panasonic, or LG might

    17     think.   I'll sustain the objection.

    18                 MS. SMITH:   Understood, Your Honor.      And I'm

    19     actually going to move along now, and I need to seal the

    20     courtroom, Your Honor, if you'll allow me, because I'm going

    21     to talk about Plaintiffs' confidential information.

    22                 THE COURT:   That's fine.    Based on counsel's

    23     request, I'll order the courtroom sealed.

    24          Those present not subject to the protective order that's

    25     been entered in this case should excuse themselves until the

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 199 of 293 PageID #: 48899
                                                                                199



     1     courtroom's reopened and unsealed.

     2                MS. SMITH:    At the same time, Your Honor, may I

     3     approach and put a board on the easel, please?

     4                THE COURT:    You may.

     5                MS. SMITH:    Thank you.

     6                THE COURT:    Let's go off the record a minute.

     7          (A discussion was held off the record.)

     8          (The courtroom was closed.)

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 200 of 293 PageID #: 48900
                                                                                200



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 201 of 293 PageID #: 48901
                                                                                201



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 202 of 293 PageID #: 48902
                                                                                202



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 203 of 293 PageID #: 48903
                                                                                203



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 204 of 293 PageID #: 48904
                                                                                204



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 205 of 293 PageID #: 48905
                                                                                205



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 206 of 293 PageID #: 48906
                                                                                206



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 207 of 293 PageID #: 48907
                                                                                207



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 208 of 293 PageID #: 48908
                                                                                208



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 209 of 293 PageID #: 48909
                                                                                209



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 210 of 293 PageID #: 48910
                                                                                210



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 211 of 293 PageID #: 48911
                                                                                211



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 212 of 293 PageID #: 48912
                                                                                212



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 213 of 293 PageID #: 48913
                                                                                213



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 214 of 293 PageID #: 48914
                                                                                214



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 215 of 293 PageID #: 48915
                                                                                215



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 216 of 293 PageID #: 48916
                                                                                216



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 217 of 293 PageID #: 48917
                                                                                217



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 218 of 293 PageID #: 48918
                                                                                218



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 219 of 293 PageID #: 48919
                                                                                219



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 220 of 293 PageID #: 48920
                                                                                220



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 221 of 293 PageID #: 48921
                                                                                221



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 222 of 293 PageID #: 48922
                                                                                222



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 223 of 293 PageID #: 48923
                                                                                223



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 224 of 293 PageID #: 48924
                                                                                224



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 225 of 293 PageID #: 48925
                                                                                225



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 226 of 293 PageID #: 48926
                                                                                226



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 227 of 293 PageID #: 48927
                                                                                227



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 228 of 293 PageID #: 48928
                                                                                228



     1

     2

     3

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 229 of 293 PageID #: 48929
                                                                                229



     1

     2

     3

     4

     5

     6                  THE COURT:   You may step down, Mr. Blasius.

     7             I'll order the courtroom unsealed at this time.       I will

     8     ask the courtroom security officer to invite the public to

     9     return.

    10                  MR. SHEASBY:   Your Honor, may I approach and

    11     retrieve the binders?

    12                  THE COURT:   Yes, you may.

    13                  MS. SMITH:   Your Honor, may I approach to take this

    14     down?

    15                  THE COURT:   Yes, please do.

    16                  MS. SMITH:   Thank you.   And I'll also flip that

    17     over.

    18             May I approach?

    19                  THE COURT:   You may.

    20                  MS. SMITH:   Thank you.

    21                  THE COURT:   Plaintiff, call your next witness.

    22                  MR. SHEASBY:   Your Honor, Plaintiffs call Professor

    23     Mark Mahon.

    24                  THE COURT:   All right.   Professor Mahon, if you'll

    25     come forward and be sworn, please.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 230 of 293 PageID #: 48930
                                                                                230



     1                 MR. SHEASBY:    Your Honor, may I approach and hand

     2     binders?

     3                 THE COURT:   You may distribute binders.

     4                 (Whereupon, the oath was administered by the Clerk.)

     5                 THE COURT:   Please come around and have a seat on

     6     the witness stand.

     7          All right, Mr. Sheasby.      You may proceed with direct

     8     examination.

     9                 MR. SHEASBY:    Your Honor, with your permission, may

    10     Professor Mahon use a remote to advance the demonstratives

    11     that he's prepared.

    12                 THE COURT:   That's not a problem.      Hand it to the

    13     Court Security Officer and he will hand it to the witness.

    14          All right.    Let's proceed with direct examination.

    15                                 MARK MAHON, PhD,

    16     testified under oath as follows:

    17                                DIRECT EXAMINATION

    18     BY MR. SHEASBY:

    19     Q.   Good afternoon, Professor.

    20     A.   Good afternoon.

    21     Q.   Can you please introduce yourself?

    22     A.   Yes.   My name is Mark Mahon.      I'm employed by Penn State

    23     University as a professor in the school of electrical

    24     engineering and computer science.

    25     Q.   Can you tell us a little bit about yourself?

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 231 of 293 PageID #: 48931
                                                                                231



     1     A.   Yes.     I'm married.   We're going to be celebrating their

     2     33rd wedding anniversary are in two months.         I have two

     3     daughters.    My oldest daughter is a physician associate in

     4     Milwaukee, and she just had our first grandchild; and my

     5     younger daughter works as a healthcare consultant in

     6     Philadelphia.

     7     Q.   What is your education background?

     8     A.   I received my Master of Science and PhD from Penn State

     9     University.    My PhD was in acoustics.      My Master of Science

    10     was in electrical engineering.       Acoustics is a combination of

    11     electrical engineering and physics.       For example, I took the

    12     same communications theory, signal processing theory, and

    13     antenna theory courses that an electrical engineering student

    14     would take in addition to additional physics classes.

    15          I was also a research faculty member for 25 years at Penn

    16     State University, and currently I am a professor for the last

    17     six years teaching graduate and undergraduate classes in

    18     wireless and mobile networks.

    19     Q.   Altogether, how long have you been working in the

    20     cellular telecommunications field?

    21     A.   I've been working in the cellular telecommunications area

    22     for 33 years.    Right out of college, I was recruited by the

    23     Central Intelligence Agency to work on classified programs in

    24     the area of cellular comms--communications.

    25          I then went, as I said, to work for the Applied Research

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 232 of 293 PageID #: 48932
                                                                                232



     1     Lab at Penn State University for 25 years.         During that time,

     2     I worked on 2G, 2 and a half G, 3G, and LTE systems.

     3          Now, I also did classified work for the Department of

     4     Defense, and I can't tell you much about that, but one thing I

     5     can tell you about is the National Reconnaissance Office had a

     6     problem in the late '90s, and they were being told the problem

     7     could not be solved.     I came up with a solution.       I built a

     8     system, and we took it out to the desert and we tested it, and

     9     it worked.    And they were so pleased with the results, they

    10     renamed the program Desert Gold.       That led to $12 million

    11     additional research funding over the next 15 years.

    12     Q.   Can you tell us a little bit more about Desert Gold?

    13     A.   Yes.    Desert Gold -- the result of Desert Gold we used to

    14     develop equipment that was then deployed to Iraq and

    15     Afghanistan to help protect our troops against improvised

    16     explosive devices.     IEDs can be set off by wireless signals,

    17     including cellular signals, and our equipment helped protect

    18     our troops in the theater.

    19     Q.   Have you ever received commendations for your work?

    20     A.   Yes, I have.     The National Reconnaissance Office awarded

    21     me two commendation letters.

    22     Q.   I would like you to show those to the jury.

    23                  MR. SHEASBY:    Would you please do so?

    24     Q.   (BY MR. SHEASBY)       What are these commendations for?

    25     A.   These two commendation letters are from the National

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 233 of 293 PageID #: 48933
                                                                                233



     1     Reconnaissance Office for my work in the telecommunications

     2     area.

     3     Q.      And when it says "Mark is the genius behind the Bella

     4     software algorithms," is that you?

     5     A.      That is me.

     6     Q.      Are you being compensated for your work in this case?

     7     A.      Yes I am, sir; at $400 an hour, which is my standard

     8     consulting rate for this type of work.

     9     Q.      About how many hours have you worked on this case?

    10     A.      Approximately 550.

    11     Q.      What is your compensation based on?

    12     A.      The actual hours I work on the case.

    13     Q.      Have you ever worked for PanOptis before this litigation?

    14     A.      I have not.

    15     Q.      Have you ever investigated Apple's conduct before this

    16     litigation?

    17     A.      I was involved in one other case against Apple.

    18                  MR. SHEASBY:    Your Honor, we would like to offer

    19     Professor Mahon as an expert on cellular telecommunication

    20     systems.

    21                  THE COURT:   Is there an objection?

    22                  MR. MUELLER:    No objection Your Honor.

    23                  THE COURT:   Without objection, the Court will

    24     recognize this witness.

    25             Let's continue.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 234 of 293 PageID #: 48934
                                                                                234



     1                MR. SHEASBY:    Thank you, Your Honor.

     2     Q.   (BY MR. SHEASBY)     Professor, what will you testify about

     3     today?

     4     A.   I'm going to be testifying about the technical value to

     5     Apple for two patents, Patent No. 9,001,774, which I would

     6     refer to as the '774 Patent today, and Patent No. 8,385,284,

     7     which I will refer to as the '284 Patent.

     8     Q.   What technology area are the '774 and '284 patents

     9     related to?

    10     A.   High speed LTE communications.

    11     Q.   And what is LTE?

    12     A.   LTE stands for long term evolution.        A group of leading

    13     technology companies in the world who got together to create

    14     the next generation network, including LG, Samsung, Panasonic,

    15     and Ericsson, and they wanted to build a network that could

    16     evolve over time by increasing its capabilities to deliver

    17     high-speed data and massive amounts of data.

    18     Q.   What materials did you consider as part of your analysis?

    19     A.   I considered many materials that I list here on the

    20     slide.   Most importantly, what I'm going to talk about today

    21     is the source code--that is, what actually is running on the

    22     phones and devices--and also testing data.         The source code

    23     tells me what the device could do; the testing data tells me

    24     what the device actually does.

    25     Q.   What Apple products use the '774 and '284 Patent

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 235 of 293 PageID #: 48935
                                                                                235



     1     technology?

     2     A.      All Apple products that include the LTE functionality.

     3     On this slide I show you the iPhones and iPads offered to the

     4     public since 2012 and iWatches offered to the public since

     5     2015.    All these devices, based on my analysis, operate in the

     6     same way in relevant part.

     7                  MR. MUELLER:    And, Your Honor, I just want to move

     8     to strike to the extent there is any suggestion that the

     9     period at issue before the jury is anything other than the

    10     period from 2019 to 2020, as instructed by Your Honor.

    11                  THE COURT:    You can certainly clarify that on cross

    12     examination.    He's not precluded from offering whatever

    13     testimony he wants to.

    14                  MR. MUELLER:    Thank you, Your Honor.

    15                  THE COURT:    That request is overruled.     You'll deal

    16     with it on cross.

    17             Let's continue, Mr. Sheasby.

    18     Q.      (BY MR. SHEASBY)    Did you analyze source code as part of

    19     your investigation?

    20     A.      Yes, I did, sir.

    21     Q.      Have you seen any evidence that Apple advertises the

    22     speed of its LTE products?

    23     A.      Yes, I have.   So this is a great example of how the

    24     network designers for LTE understood that while their network

    25     evolved over time, device manufacturers' devices would evolve

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 236 of 293 PageID #: 48936
                                                                                236



     1     over time to be able to get faster and better.         So on this

     2     slide I show an example of how the iPhone 5, first release for

     3     LTE functionality, has evolved through the iPhone 11.          And

     4     Apple advertised in the beginning iPhone 5's blazing fast LTE

     5     speeds, and you can see on the right I highlight that their

     6     advertising for the iPhone 11 gigabit class LTE.          That's

     7     really, really fast.

     8     Q.   And this is Exhibit PX 2129?

     9     A.   That is correct.

    10     Q.   What claim of the '774 Patent is used in Apple's LTE

    11     products?

    12     A.   So claim 6 on this slide, on the left I show you the text

    13     from claim 6.    The '774 Patent was invented by a gentleman by

    14     the name of Dr. Farooq Khan of Samsung.

    15                 MR. SHEASBY:    Can we have the next demonstrative,

    16     please, Mr. Huynh?

    17     Q.   (BY MR. SHEASBY)      Do you recognize the document on the

    18     left-hand side of the slide?

    19     A.   Yes, I do.    That's an Apple document.

    20     Q.   And what is it identifying about Samsung, Panasonic, and

    21     LG portfolios?

    22     A.   It's showing you that these three companies have a much

    23     larger portfolio than the companies that are listed on the

    24     right.

    25     Q.   Let me stop you right there.       I apologize.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 237 of 293 PageID #: 48937
                                                                                237



     1     A.   I'm sorry, sir.

     2     Q.   This is an Apple document that shows Samsung, Panasonic,

     3     and LG leading in the creation of patented technology.           Is

     4     that correct?

     5     A.   That is correct.

     6     Q.   How does the industry view Samsung's level of innovation?

     7                  MR. MUELLER:    I object, Your Honor; lack of

     8     foundation as to who he's referring to, and hearsay.          The

     9     question was how does the --

    10                  THE COURT:   I heard the question, counsel.

    11          Is this not addressed in the expert's report?

    12                  MR. SHEASBY:    It is, Your Honor.

    13                  THE COURT:   Overruled.

    14     Q.   (BY MR. SHEASBY)       How does the industry view Samsung's

    15     level of innovation?

    16     A.   So industry views Samsung as a leader in innovation in

    17     the area of electronics and telecommunications.

    18     Q.   What LTE design does the '774 Patent relate to?

    19     A.   Okay.    So the '774 Patent is a great example again of

    20     this evolutionary process.      So if you remember back in the

    21     day, we used to have phones and you'd pull out a whip antenna,

    22     a single antenna on top of your phone, or you would have a

    23     little stub on top of your phone.       So your phone had a single

    24     antenna.   And a base station would typically talk to that

    25     single antenna on that phone with one antenna so they can send

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 238 of 293 PageID #: 48938
                                                                                238



     1     data back and forth.

     2                THE COURT:    Doctor Mahon, can you speak a little

     3     slower, please?

     4                THE WITNESS:    Yes, Your Honor.     I will try.

     5                THE COURT:    That would be helpful.

     6                THE WITNESS:    So the insight of the '774 is that

     7     they realize the devices were evolving and that they would

     8     have multiple antennas.      So now you could have two antennas in

     9     your phone talking to two antennas in the base station, so

    10     theoretically you could have twice the data throughput.

    11          So the '774 Patent that I show you -- the technology base

    12     that I show you on this slide, if you look on the right-hand

    13     side of the slide, you see a base station and I have arrows

    14     pointing to two antennas.      On the left I have highlighted

    15     portions of schematics from Apple devices, and I have

    16     highlighted an upper and lower antenna showing you the device

    17     had two antennas.

    18     Q.   What are the challenges with multiple antenna systems?

    19     A.   So it sounds real easy, but it's actually pretty

    20     complicated.    So let's take a step back and look at this

    21     slide.

    22          So at the slide, again, I'm showing you a base station on

    23     the right sending two waves.      That's the green and the red

    24     wave to the phone.     Okay?   So it's two data streams.      Now, it

    25     might seem easy that the phone can just receive those signals;

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 239 of 293 PageID #: 48939
                                                                                239



     1     however, it turns out that those waves have to be synchronized

     2     properly to be able to receive that data so that if they

     3     interfere with each other, you don't get the double capacity.

     4          Now, what makes that a problem -- so the challenge, if

     5     you're sitting in your home with your phone, you're in one

     6     environment and the path between the base station and your

     7     phone is pretty steady.      If you're walking down the street

     8     carrying your phone, you're in a different environment and the

     9     signals between the base station and your phone are changing

    10     as you're walking.     It's also reflecting off of things like

    11     cars and buildings.     If you're sitting in a car going 60 miles

    12     an hour as a passenger and you're looking at your phone, the

    13     environment is changing very fast.       The base station has no

    14     idea about the local environment for your phone, so the base

    15     station cannot synchronize those waves so your phone can

    16     receive them in the most optimal fashion.

    17     Q.   Can you illustrate what would happen if the waves used to

    18     send data are not synchronized according to the patent?

    19     A.   Yes.   So on this animation I have for you, a base station

    20     sending two streams of data.      I'm representing the data as one

    21     set is red one set is green.      Those little square boxes you

    22     can think of as a data packet.       So if the waves aren't

    23     synchronized, they interfere.       And you see some of those

    24     packets flying off representing errors in the system, meaning

    25     you're not receiving the data as fast as you could, and that's

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 240 of 293 PageID #: 48940
                                                                                240



     1     because they're interfering with each other.         And it's

     2     possible that if there's enough interference, you could

     3     actually be back to the single antenna case where your speeds

     4     are as slow as using a single antenna.

     5     Q.   How does the '774 Patent address this challenge?

     6     A.   So the inventor of the '774 Patent had a great insight.

     7     He realized that if you can take -- if your phone can take a

     8     measurement of your local environment and send that

     9     information to the base station--we're calling it a processing

    10     parameter here; again, a measurement of the local environment

    11     for your phone in the car, down the street, sitting in your

    12     house--the base station can use that information to optimize

    13     the signals, customize the signals it's sending to your phone.

    14          Now, the base station could choose also to use other

    15     parameters.    So in addition to this, the base station is going

    16     to send customized control information to your phone to tell

    17     you how it did the customization of the signals.          That way

    18     when your phone receives that information, it can coherently

    19     receive those waves and optimize the data throughput.

    20     Q.   What steps did you take to investigate the scale of use

    21     of the '774 technology?

    22     A.   So what I did is I looked at the source code, so we

    23     talked about that; but to actually see the use, I had to look

    24     at data.   So I analyzed two data sets.       The first, as I show

    25     on the slide on top, was taken by a team of independent

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 241 of 293 PageID #: 48941
                                                                                241



     1     engineers that are experienced in the area of basically data

     2     collection for wireless systems.       The second set of data I

     3     looked at was Apple internal data on the technology that I'm

     4     going to be talking about that I can consider to be associated

     5     with the '774 Patent.

     6     Q.   When is the '774 Patent technology used?

     7     A.   So referring to that top data set, that independent data

     8     set, based on my analysis any time something is called --

     9     something called transmission mode 4 is seen in the data, my

    10     analysis shows that it's also associated with a data format

    11     that is linked to the '774 Patent.

    12          Now, if you remember, those two steps in the '774 Patent,

    13     step 1 and step 2, I'm going to refer to that as a closed loop

    14     feedback.   So any time I say closed loop feedback or closed

    15     loop spatial multiplexing, I'm referring to the '774

    16     technology.    And based on my analysis of the independent data,

    17     when I see transmission mode 4, I know the '774 technology is

    18     used because I saw that spatial multiplexing -- closed loop

    19     spacial multiplexing was associated with it.

    20     Q.   How often is transmission 4 mode used in the United

    21     States, according to Apple's data?

    22     A.   So this data was taken from actual Apple users, and you

    23     notice it was sampled across the entire U.S. 650,000 cells

    24     across the U.S., and you can see that, based on my analysis

    25     that transmission mode 4 represents the '774 technology, it's

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 242 of 293 PageID #: 48942
                                                                                242



     1     used nearly 72 percent of the time.

     2     Q.   Was independent testing also performed?

     3     A.   Yes, it was.     So I worked with a team of engineers that I

     4     mentioned from a company called TechPats, and they were

     5     supervised by a gentleman by the name of Mr. Claude Royer who

     6     has 30 years of experience.      He was a director at

     7     RIM--BlackBerry.

     8     Q.   Doctor Mahon, I'm sorry for interpreting you.          Let me ask

     9     you a slightly different question.

    10          Did you analyze the data that was generated by TechPats?

    11     A.   Yes, I did.

    12     Q.   Did you discuss the methodology that TechPats employed in

    13     some of its testing?

    14     A.   Yes, I did.

    15     Q.   Are you confident with the methodology that they used?

    16     A.   Yes, I am.    I spent many years doing testing, and through

    17     my discussions with the engineers I am very confident in their

    18     technical approach.

    19     Q.   What was the scope of the testing?

    20     A.   The scope of the testing, which I show on this slide, is

    21     that they did data analysis from data they collected from 2012

    22     through 2019.    They tested across 24 cities and, as I show,

    23     eight states, against all four major LTE network carriers

    24     Verizon, AT&T, T-Mobile, and Sprint.

    25                THE COURT:    Let me interrupt at this point.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 243 of 293 PageID #: 48943
                                                                                243



     1          Ladies and gentlemen, it's been right at two hours since

     2     we've had a recess.     This testimony is expected to go for some

     3     considerable length.     Let's take a short recess at this time.

     4     We'll come back and continue with the direct examination of

     5     Doctor Mahon by the Plaintiff.

     6          Just simply close your notebooks and leave them in your

     7     chairs, if you will.     Follow all my instructions, including

     8     not to discuss the case among yourselves.        Use this

     9     opportunity to stretch your legs and get a drink of water, and

    10     we'll be back here shortly to continue.

    11          The jury is excused for recess.

    12                (Whereupon, the jury left the courtroom.)

    13                THE COURT:    While we're on recess, Doctor Mahon,

    14     practice speaking slower.      All right.

    15                THE WITNESS:    Yes, Your Honor.

    16                THE COURT:    Court stands in recess.

    17                                (Brief recess.)

    18                THE COURT:    Be seated, please.

    19          Mr. Sheasby, you are going to have to be louder so that

    20     we can all hear you.

    21                MR. SHEASBY:    Yes, Your Honor.

    22                THE COURT:    My court reporter is having trouble

    23     hearing you and he's much too young to have hearing problems,

    24     and I'm having trouble hearing you and I'm much too young to

    25     have hearing problems.     You are going to have to speak up.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 244 of 293 PageID #: 48944
                                                                                244



     1     The lawyer that can't make himself heard's got a problem.

     2                 MR. SHEASBY:    Yes, Your Honor.

     3                 THE COURT:   And are you going to slow down for me,

     4     Doctor Mahon?

     5                 THE WITNESS:    I am, Your Honor.

     6                 THE COURT:   Okay.   Let's bring in the jury.

     7                 (Whereupon, the jury entered the courtroom.)

     8                 THE COURT:   Please be seated, ladies and gentlemen.

     9          We'll continue with the direct examination of the witness

    10     by the Plaintiff.

    11          Mr. Sheasby you may proceed.

    12                 MR. SHEASBY:    Thank you, Your Honor.

    13     Q.   (BY MR. SHEASBY)      Can you talk about the independent

    14     testing that was performed on the use of the '774 Patent?

    15     A.   Yes.    This slide shows you two unique testing

    16     configurations that were designed by the company TechPats.            On

    17     the left you see something called a wave judge.         So the

    18     apparatus on the left was built around the wave judge.           What

    19     the wave judge does it's like a vacuum cleaner.         It sucks up

    20     all the wireless signals in a given area over a short period

    21     of time.    That allowed them to see what transmission modes,

    22     for example, were in the area.

    23          On the right you see something called Accuver.          That's

    24     software that you connect to the phone that's under testing to

    25     see what messages and what data is being sent to the phone so

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 245 of 293 PageID #: 48945
                                                                                245



     1     you can see what transmission modes and what formats -- data

     2     formats are being seen by the phone.        These two configurations

     3     allowed me to see the data that was being shown to the devices

     4     under test.

     5     Q.      Does it matter whether TechPats ran these tests with

     6     Android phones or Apple phones?

     7     A.      No, because the network determines the transmission mode

     8     and the data format, so the presence of either an iPhone or an

     9     Android phone wouldn't change what transmission mode and data

    10     format was used.

    11     Q.      Is the testing specific for the use of the '774 Patent?

    12     A.      Yes, it is.   Again, based on my analysis, every time

    13     based on this data we were able to see -- I was able to see

    14     the relationship between something called transmission mode 4

    15     and the data format associated with the '774 technology, that

    16     closed loop feedback.

    17     Q.      What trend of usage does TechPats data show?

    18     A.      So over the entire data set from 2012 to 2019, it shows

    19     an increasing use of TM4, the mode associated with the '774

    20     technology, so over time the networks were using that

    21     transmission mode, that technology more and more.

    22     Q.      Were there any limits on the 2019 testing?

    23     A.      Yes.   There were several test sets taken at the end of

    24     2019.    However, due to COVID restrictions, we weren't able to

    25     take additional data in 2020, so for my analysis I included

                                Shawn M. McRoberts, RMR, CRR
                              Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 246 of 293 PageID #: 48946
                                                                                246



     1     -- went back to 2015, because that's the date that the '774

     2     Patent was granted, and I analyzed the data from 2015 to 2019.

     3     Q.      How often is TM4 used in the damages period?

     4     A.      So the damages period, which is February 2019 to August

     5     2020, the '774 mode is used 100 percent of the time.

     6     Q.      From 2015 to 2019, how often is the '774 Patent mode

     7     used?

     8     A.      It's used -- I found it to be used 64 percent of the

     9     time, so to do my analysis and to be very conservative, to

    10     give Apple the benefit of the doubt, from my analysis going

    11     forward I used the 64 percent number.

    12     Q.      How often is the '774 Patent used by Apple, based on your

    13     analysis?

    14     A.      So, again, thinking back to the Apple data, they said

    15     it's used 72 percent of the time.       The independent testing

    16     said between 64 and 100 percent.       So again, to be very, very

    17     conservative, I used the 64 percent number.

    18     Q.      How did you quantify the technical value of the '774

    19     Patent?

    20     A.      What I wanted to do is I wanted to see what incremental

    21     value the '774 technology added to the Apple device, not any

    22     value associated with it being standardized.

    23     Q.      To do this, what did you compare it to?

    24     A.      So what I did is I compared the '774 mode to something

    25     called transmit diversity, and by comparing the performance of

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 247 of 293 PageID #: 48947
                                                                                247



     1     the '774 technology to the closest alternative that I could

     2     find, transmit diversity, I would be able to quantify the

     3     difference in the -- using the '774 technology.

     4     Q.   Is your analysis an analysis of the incremental benefit

     5     provided by the '774 Patent over the alternatives available to

     6     Apple?

     7     A.   Yes, it is.    Again, I wanted to focus on what incremental

     8     improvement that the '774 technology brought to the Apple

     9     device compared to the baseline of the next closest

    10     alternative, which was transmit diversity, in my opinion.

    11     Q.   How does transmit diversity differ from the '774 Patent?

    12     A.   So in this animation I show you an animation of the

    13     transmit diversity mode.      Transmit diversity consists of

    14     taking one data set, so one color there, using two antennas,

    15     so you see two data streams; however, there's no closed loop

    16     feedback in the system, so you might end up with a little bit

    17     of error but, in general, transmit diversity is kind of slow

    18     and steady.    It's a nice solid technology.

    19     Q.   And how does that differ from the '774 Patent?

    20     A.   So as we saw before, the '774 technology includes that

    21     closed loop feedback where the phone is taking measurements

    22     and sending those to the base station.

    23     Q.   Did you analyze potential -- other potential alternatives

    24     that could have been used?

    25     A.   Yes, I did, and there were no good alternatives.          All the

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 248 of 293 PageID #: 48948
                                                                                248



     1     other alternatives were performing much worse or, as I show on

     2     this slide, they would also be covered by the use of the

     3     Plaintiffs' patents or they were rejected by the LTE

     4     standards.

     5     Q.   How much faster is the '774 Patent solution than the

     6     closest alternative?

     7     A.   So based on my analysis, the '774 Patent is 14 percent

     8     faster than the next closest alternative.

     9     Q.   Has Apple argued that there was another alternative it

    10     could have used?

    11     A.   Yes.    They claim using something called open loop spatial

    12     multiplexing could be used.

    13     Q.   Is open loop spatial multiplexing an acceptable

    14     alternative?

    15     A.   No, it isn't, because it's also covered by a patent of

    16     the Plaintiff.

    17     Q.   Have you seen any data on the usage of open loop spatial

    18     multiplexing compared to the '774 Patent technology?

    19     A.   Yes, I have.     The open loop spatial multiplexing is

    20     associated with something called transmission mode 3.          So the

    21     '774 is transmission mode 4.      So Apple's own data showed me if

    22     I can find it -- can we bring up the demonstrative --

    23                  MR. SHEASBY:   I think it's slide 29, Mr. Huynh.

    24                  THE WITNESS:   So here's the open loop mode

    25     transmission mode 3, and here is the '774 mode based on my

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 249 of 293 PageID #: 48949
                                                                                249



     1     analysis.    And you can see that the open loop mode is used

     2     much less often than the closed loop mode associated with the

     3     '774 Patent.

     4     Q.      (BY MR. SHEASBY)   And this is PX 0020?

     5     A.      Correct.

     6     Q.      What is your final conclusion regarding the benefit

     7     provided by the '774 Patent?

     8     A.      My final conclusion is that the '774 Patent provides at

     9     least 14 percent benefit, and then if I discount that by the

    10     conservative estimate of its usage of 64 percent, to Apple the

    11     next closest alternative that they could use would make their

    12     device 8.3 percent slower than if they used the '774

    13     technology.

    14     Q.      What claims of the '284 Patent are at issue?

    15     A.      Claims 1, 14, and 27.   I show text from claim 1 on the

    16     left.

    17     Q.      Who invented the '284 Patent?

    18     A.      The '284 Patent was invented by several engineers from

    19     Panasonic.    All of them were prolific inventors.

    20     Q.      What is the industry's view of Panasonic's record of

    21     innovation?

    22     A.      Again, we've seen this slide before, but if you look at

    23     the slide you'll see that Panasonic was viewed as an innovator

    24     due to their holdings in the patent area.

    25     Q.      And what is the source of this slide?

                                Shawn M. McRoberts, RMR, CRR
                              Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 250 of 293 PageID #: 48950
                                                                                250



     1     A.   This is from Apple.      This is an Apple document.

     2     Q.   What problem does the '284 Patent address?

     3     A.   Okay.    So LTE communications involve sending data packets

     4     from the base station to the phone and from the phone to the

     5     base station.    Well, those packets contain two things,

     6     actually--control information and data.        The '284 Patent is

     7     directed to reducing the amount of control information in that

     8     packet without adding additional errors into the system.           So I

     9     have highlighted on the slide that they're focused on reducing

    10     the amount of bits in that data packet.        A bit is the 1 or 0

    11     used to send information in communication systems.          And you

    12     notice they say they do not introduce additional errors into

    13     the system.

    14     Q.   Why is there a need to reduce the number of bits for a

    15     control signal?

    16     A.   So if you look at this slide, on the left I show in

    17     orange control information, and then in blue you see data, and

    18     this square is the data packet I've been talking about.

    19          Now, if you could reduce the amount of control

    20     information, you could actually have more data in that packet.

    21     So reducing the amount of control information is a very

    22     important goal if you want to send additional data through

    23     your network.

    24     Q.   Is there a risk of reducing control information?

    25     A.   Yes, there sure is.      If you notice on the slide, I call

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 251 of 293 PageID #: 48951
                                                                                251



     1     the control information 'assembly instructions', because that

     2     tells the phone how to read data sent by the base station or

     3     how to format data to send it up to the base station.          And if

     4     that's not done right, there's errors in the system, your

     5     video will hang up, your text message won't go through, your

     6     call will drop.

     7     Q.   How many bits would the '284 Patent save?

     8     A.   The '284 Patent saves two bits overall.         Now, that

     9     doesn't sound like a lot of data; however, these packets are

    10     flowing hundreds and millions of times a second.          The slide in

    11     front of you -- I'm sorry.

    12                  MR. SHEASBY:    Can we advance the next slide,

    13     Mr. Huynh?

    14     Q.   (BY MR. SHEASBY)       When is the '284 --

    15                  MR. SHEASBY:    Slide 37.

    16     Q.   (BY MR. SHEASBY)       When is the '284 Patent used by Apple?

    17     A.   The '284 Patent is used any time the device needs to send

    18     data up to the network.      So if your phone has data to send, it

    19     has to use the '284 technology to send that data.

    20     Q.   Is there objective evidence that the industry recognize

    21     the importance of this solution?

    22     A.   Yes, there is.     3GPP, that's THE standard body made up of

    23     engineers from leading technology corporations around the

    24     world, would get together and choose which proposed

    25     technologies were superior and to include into the LTE

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 252 of 293 PageID #: 48952
                                                                                252



     1     standard.   Panasonic competed against other companies and

     2     their proposal won out.

     3     Q.   What other options did the LTE body consider before

     4     adopting the '284 solution?

     5     A.   So on the slide I show you three examples of other

     6     solutions considered by 3GPP, and they rejected them in favor

     7     of Panasonic's proposal.

     8     Q.   How did you analyze the technical value of the Panasonic

     9     invention which won out in LTE?

    10     A.   First I compared it to the next best available

    11     alternatives, noninfringing alternative, and I did a

    12     performance analysis of the impact of not using the '284

    13     technology.

    14     Q.   Were there any good alternatives available?

    15     A.   There were no good alternatives available because the

    16     available other alternatives, as I indicate here, were either

    17     rejected by 3GPP because they added error to the system, or

    18     they were much less efficient, or they still used '284

    19     technology.

    20     Q.   Based on your technical analysis, what is the closest

    21     alternative to Apple?

    22     A.   Something called the separate field approach, which is

    23     the first row on that table.

    24     Q.   Why is separate field the closest alternative?

    25     A.   Because it does not add additional errors into the

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 253 of 293 PageID #: 48953
                                                                                253



     1     system.

     2     Q.   Did you quantify the performance improvement of the '284

     3     Patent over the separate field approach?

     4     A.   Yes, I did.    So the analysis I summarize here is actually

     5     fairly complex.    What I had to do is I had to average the

     6     impact of the '284 technology over time and also over

     7     something called resource blocks, which are involved in the

     8     telecommunications network.

     9          Now, the first bullet shows you that I took into account

    10     the two-bit savings.     The next two bullets show you that I

    11     took into account how often those two-bit savings would be

    12     used or sent in the network.      And then the last bullet, I took

    13     into account how often Apple's device would be using that

    14     particular piece of information.

    15     Q.   Can speed also be understood in terms of increased

    16     network capacity?

    17     A.   So network capacity you can think of as how much either

    18     data you can send or how many users you can support.          Now, if

    19     you have a fixed network capacity, and let's just say the

    20     resources that the network could use are bits, if you take

    21     away some of those bits--right?--the download speeds would

    22     slow down.   So you can compensate by that if you added

    23     additional network resources meaning, say, another base

    24     station.   So you can actually -- there's a direct general

    25     relationship between network capacity and upload and download

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 254 of 293 PageID #: 48954
                                                                                254



     1     speeds.

     2     Q.   How does the savings in network capacity affect download

     3     speed in this case?

     4     A.   So in this case, based on my analysis, I came to the

     5     conclusion that the '284 technology saves between .19 percent

     6     and .35 percent of network capacity.        It increases the

     7     capacity by that amount.

     8          Now, taking the relationship into account I just talked

     9     about, you could also consider that as if you -- if you're not

    10     using the '284 technology, that would be the direct equivalent

    11     between a .19 and a .35 percent slow-down in the network if

    12     you're not using the technology.

    13     Q.   Can you think about the '284 Patent in terms of savings

    14     of cellular data?

    15     A.   Yes.   Again, this calculation is fairly complicated, but

    16     I took into account how often the average user is using the

    17     phone to send data; how many packets are sent per

    18     millisecond--a thousand packets a second; how often that

    19     control information is sent by the network--30 percent at a

    20     time; how many bits are saved over the three-year life span of

    21     the phone; and I concluded that per day per device it saves

    22     900,000 bytes or 900 megabytes over the life of the phone, a

    23     single phone in a single cell.       We have 650 cells in the U.S.

    24     and there is hundreds of millions of phones.

    25     Q.   Is there evidence that cellular providers care

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 255 of 293 PageID #: 48955
                                                                                255



     1     particularly about the '284 Patent technology?

     2     A.   Yes.    This document is from a network operator named

     3     T-Mobile.   This document shows you that they require any

     4     device manufacturer to support three particular 3GPP

     5     standards, 36.211, 36.212, and 36.213, which are directly

     6     related to the '284 technology.       They also require,

     7     approximately, a small number of additional specs, 25 or so,

     8     and they require adherence to TS 36.321 and TS 36.311 -- 331.

     9     Q.   What part of the Apple device is -- that's Exhibit

    10     PX 2055.    Is that correct?

    11     A.   That is correct.

    12     Q.   What part of the Apple device is involved in the use of

    13     the '774 and '284 Patents?

    14     A.   Yes.    As Apple's own representative testified, that every

    15     part of the device is involved in transmissions, and he

    16     testified that in order to send and receive data, every part

    17     of the iPhone is used.     And I agree with this in particular

    18     because the baseband processor has to interact with all the

    19     other components on the device.

    20     Q.   Can you show some examples of the components needed to

    21     practice the '774 and '284 Patents?

    22     A.   Yes.    This is a circuit board from the iPhone X.        It

    23     shows transceivers, amplifiers, antennas -- pointing out the

    24     antennas, but there's also things such as filters on there,

    25     too, and all these elements are involved in practicing or

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 256 of 293 PageID #: 48956
                                                                                256



     1     implementing technology.      And I also have here a circuit board

     2     from the iPhone 11 Pro Max also illustrating all the

     3     components in the phone that interact to be able to implement

     4     the technology of the '284 and the '774 Patents.

     5     Q.   Were you here when Apple's counsel in opening suggested

     6     that all of the operation of the patents occurs in something

     7     called the baseband chip?

     8     A.   I was, yes.

     9     Q.   Is that an accurate statement?

    10     A.   No, not in my opinion and my experience.         I've done data

    11     analysis with cell devices and software analysis, and I've

    12     built devices based on cell technology over the last few

    13     decades, and the baseband processor definitely has to interact

    14     be able to implement LTE or other generation technologies.

    15     Q.   We discussed the Qualcomm-Apple settlement agreement?

    16     A.   Yes, I was.

    17     Q.   And that was the agreement that had a very large number

    18     associated with it.     Correct?

    19     A.   Yes, it did.

    20     Q.   Did you analyze the patents that were involved in that

    21     agreement?

    22     A.   Yes, I did.

    23     Q.   What was your conclusion?

    24     A.   My conclusion was the patents were directed to the same

    25     general area as the '284 and the '774 Patents because they

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 257 of 293 PageID #: 48957
                                                                                257



     1     dealt with efficiencies and signaling in LTE systems.

     2     Q.   Does Apple identify the Qualcomm patents as something it

     3     could use as an alternative to the Patents-in-Suit?

     4     A.   They do not.

     5     Q.   Can you please summarize your findings on the technical

     6     value of the patents you analyzed?

     7     A.   Yes.   Based on my technical analysis of the incremental

     8     benefits that these patents provide to the devices and that

     9     included how often the patent technology was used in the Apple

    10     products, the extent of the use in the networks for the '774

    11     technology, my analysis showed that if they didn't use that

    12     technology, it would result in a reduction in speed of 8.3

    13     percent.

    14          For the '284 technology, my analysis showed that if they

    15     did not use that and they used the next closest alternative,

    16     it would result in a between .19 and.35 percent reduction in

    17     speed.

    18     Q.   Thank you, Professor Mahan.

    19                 MR. SHEASBY:   Your Honor, I pass the witness.

    20                 THE COURT:   Cross examination by the Defendant?

    21                 MR. MUELLER:   Your Honor, may we pass out some

    22     binders?

    23                 THE COURT:   You may.    Give them to the Court

    24     Security Officer.     You don't need to approach the witness

    25     directly.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 258 of 293 PageID #: 48958
                                                                                258



     1                MR. MUELLER:    May I proceed Your Honor.

     2                THE COURT:    You may proceed.

     3                               CROSS EXAMINATION

     4     BY MR. MUELLER:

     5     Q.   Good afternoon, Doctor Mahon.

     6     A.   Good afternoon.

     7     Q.   It's good to see you.

     8     A.   It's good to see you, too.

     9     Q.   Now, I'd like to ask you a few questions, if I could,

    10     about your role in this case.       Okay?

    11     A.   Yes, sir.

    12     Q.   You understand that this particular trial is a trial in

    13     which the ladies and gentlemen of the jury are charged with

    14     setting a fair, reasonable, and nondiscriminatory royalty for

    15     the five patents in this case.

    16     A.   Yes, I do.

    17     Q.   And you're here to testify about two of them.          Correct?

    18     A.   Yes, I am.

    19     Q.   Now, to be clear, you're not here to actually offer a

    20     royalty rate that you're advocating to the jury.          Correct?

    21     A.   No, I'm not.

    22     Q.   You're here on some technical issues, sir.         Is that

    23     right?

    24     A.   Absolutely, yes.

    25     Q.   Now, the technical issues in this case relate to

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 259 of 293 PageID #: 48959
                                                                                259



     1     standards.   Correct?

     2     A.   The technical issues relate to how the standards are

     3     implemented and whether the technology is in those standards.

     4     Q.   And the particular standard for these five patents, the

     5     two that you looked at and the three others, is LTE.          Correct?

     6     A.   That is correct.

     7     Q.   And we're going to come back to that.

     8          But there's other standards in everyday life.          Right?

     9     A.   I'm not sure what you're referring to.

    10     Q.   Let me give you one example.       You were here for the

    11     opening statements?

    12     A.   Yes, I was.

    13     Q.   And did you hear me refer to the standard on plugs,

    14     electrical plugs?

    15     A.   Yes, I did.

    16     Q.   And that is, in fact, a standard.        Plugs are

    17     standardized.    Correct?

    18     A.   That is true, yes.

    19     Q.   And the purpose of that is that no matter who makes a

    20     particular device, the plug will fit into the wall in a given

    21     place.   Correct?

    22     A.   In general, yes.

    23     Q.   So here in the U.S., we have an American standard for

    24     plugs.   Correct?

    25     A.   That's correct.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 260 of 293 PageID #: 48960
                                                                                260



     1     Q.      And if you traveled to certain different countries, it's

     2     possible they might have a different plug design there.

     3     Right?

     4     A.      Correct.

     5     Q.      But here we want to make sure everyone's using the same

     6     electrical plug.      Correct?

     7     A.      Ideally, yes.

     8     Q.      Now, with that plug design, different companies can add

     9     their own innovations on top of the plug.        Right?

    10     A.      They can manufacture the devices to use the electricity

    11     to do whatever they want.

    12     Q.      So let me give you an example, if I could, sir.

    13             You are, of course, familiar with televisions.

    14     A.      Yes.

    15     Q.      And there's a huge variety of televisions out there in

    16     the world.     Right?

    17     A.      Yes, there are.

    18     Q.      There are some very simple ones.     Fair?

    19     A.      In terms of complexity?

    20     Q.      Just lower costs or a simpler televisions.        Those are out

    21     there.

    22     A.      There are cheaper televisions and more expensive ones,

    23     yes.

    24     Q.      And then there are some high-end fancy televisions as

    25     well.    Correct?

                                 Shawn M. McRoberts, RMR, CRR
                               Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 261 of 293 PageID #: 48961
                                                                                261



     1     A.   Yes, there are.

     2     Q.   Now, Samsung, for example, makes televisions.          Right?

     3     A.   Yes, they do.

     4     Q.   And they make some very good ones, don't they?

     5     A.   I believe so, yes.

     6     Q.   The Samsung high-end televisions use the same plug as the

     7     simple low-cost televisions.      Correct?

     8     A.   That's correct.

     9     Q.   Now, Samsung has done a lot of hard work and probably put

    10     a lot of engineers to work designing all of the innovations

    11     that go into their high-end televisions.        Correct?

    12     A.   I'm sure they have.

    13     Q.   And they've achieved quite a bit of success as a result.

    14     Right?

    15     A.   They are a well-known technology company.

    16     Q.   And Samsung has a pretty decent segment of the television

    17     market, the best of your knowledge.       Correct?

    18     A.   I really don't know, but I believe that's the case.

    19     Q.   If we go to an electronics store, we're likely to see

    20     some pretty fancy Samsung TVs offered for sale.         Correct?

    21     A.   Most likely, yes.

    22     Q.   Now, sir, from a technical perspective, a technical

    23     perspective, if somebody who had a patent on part of the plug

    24     went to Samsung and said, You've been awfully successful

    25     selling your fancy TVs and I want you to pay me a huge royalty

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 262 of 293 PageID #: 48962
                                                                                262



     1     as a result, would that seem fair?

     2     A.   That analogy doesn't work to the patents under --

     3     Q.   Sir, not my question.      In my hypothetical, would that --

     4                  THE COURT:   Counsel, if you think the witness is

     5     non-responsive, don't instruct the witness.         Take it up with

     6     the Court.

     7                  MR. MUELLER:    Thank you, Your Honor.

     8          I would move to strike that answer as non-responsive.

     9                  THE COURT:   I'll sustain that objection.

    10     Q.   (BY MR. MUELLER)       Doctor Mahon, in my hypothetical from a

    11     technical perspective, would that be fair?

    12     A.   Could you repeat the question, please?

    13     Q.   Sure, absolutely.      If a person or company that had a

    14     patent on a part of the electrical plug went to Samsung and

    15     said, I see you've been very successful with your fancy

    16     televisions and I want you to pay me a huge royalty because of

    17     your success, I hold a patent on part of the plug, would that

    18     seem fair?

    19     A.   Well, if the TV was a doorstop without it, I would think

    20     so, yes.

    21     Q.   Well, sir, no TV is going to work without electricity.

    22     Right?

    23     A.   That is correct.

    24     Q.   But the electricity is not what made that Samsung TV

    25     special, is it, sir.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 263 of 293 PageID #: 48963
                                                                                263



     1     A.    I wouldn't speculate on that.

     2     Q.    What made that TV special was all of the hard work the

     3     Samsung engineers did to add their own features and

     4     innovations on top of the plug.       Correct?

     5     A.    I wouldn't speculate on that.

     6     Q.    Let's take a look at the slide I showed in my opening

     7     statement, if we could.

     8     A.    Sure.

     9     Q.    And Doctor Mahon, you saw this.       Right?

    10     A.    I did.

    11     Q.    Whole bunch of different ways to design devices that have

    12     plugs.   Correct?

    13     A.    Agreed.

    14     Q.    The plug remains constant.      Correct?

    15     A.    The format of the plug, you mean?

    16     Q.    The format of the plug remains constant.

    17     A.    Yes.

    18     Q.    That's the whole point of the standard--to make sure

    19     everyone has the same plug.      Correct?

    20     A.    For electrical appliances like the blender, yes.

    21     Q.    And then on top of that, all of these companies can

    22     compete to add their own features and innovations and their

    23     own hard work.    Correct?

    24     A.    They're free to do with the electricity what they want

    25     to.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 264 of 293 PageID #: 48964
                                                                                264



     1     Q.   Now, let's talk about cellular standards.

     2     A.   Please.

     3     Q.   LTE is one example of cellular standards.         Correct?

     4     A.   Correct.

     5     Q.   And they're available for everyone to use.         Right?

     6     A.   Any device manufacturer that wants to develop a device,

     7     and if they adhere to the LTE standards and they go through

     8     the conformance testing, they can interoperate with the

     9     networks.

    10     Q.   So let's pull another slide I used in my opening

    11     statement.    This is DTX 5.15.

    12                  MR. MUELLER:    I'm sorry, Mr. Lee.    It's the one --

    13     the various types of phones with LTE.        I may have the number

    14     wrong.   I apologize.

    15     Q.   (BY MR. MUELLER)       Doctor Mahon, you saw when I discussed

    16     this slide in my opening statement?

    17     A.   Yes, I did.

    18     Q.   And did you hear me say that all of these different

    19     phones support LTE?     Correct?

    20     A.   I did hear you say that.

    21     Q.   So all of these different phones get to use the LTE

    22     standard.    Right?

    23     A.   It's my understanding that they are all LTE phones.

    24     Q.   Just like all the different TVs get to use the plug.

    25     Correct?

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 265 of 293 PageID #: 48965
                                                                                265



     1     A.   Correct.

     2     Q.   Now, on top of the standard, different companies have

     3     chosen to make different phone designs.        Right?

     4     A.   In terms of implementation?

     5     Q.   In terms of the features they've added to the device

     6     beyond LTE.    Correct, sir?

     7     A.   You mean like the screen or the battery size.

     8     Q.   Those are good examples, sir.

     9     A.   Sure.

    10     Q.   And we have here on the left-hand side a relatively

    11     inexpensive Doro phone.      Correct?

    12     A.   I'm not aware of the cost, but it looks inexpensive.

    13     Q.   Fair enough.     But it's a relatively simple phone.

    14     Correct?

    15     A.   It appears to be.

    16     Q.   And it supports LTE.      Right?

    17     A.   It's my understanding it does.

    18     Q.   And, in fact, you would agree, sir, from a technical

    19     perspective, someone can buy a phone that fully practices LTE

    20     for a very small amount of money these days.         Right?

    21     A.   Could you define 'fully practicing LTE'?

    22     Q.   It supports the LTE standard.       I can call someone over

    23     the LTE network --

    24                  THE COURT:   One at a time, please.

    25          Go ahead and answer.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 266 of 293 PageID #: 48966
                                                                                266



     1                  THE WITNESS:    Meaning you can make a call?       Yes.

     2     Q.   (BY MR. MUELLER)       Now, as you move across the screen, we

     3     see some phones that are a little bit fancier.         Correct?

     4     A.   Yes.

     5     Q.   It's a very fancy Samsung phone right there called the

     6     Galaxy Fold.    Is that correct?

     7     A.   That is correct.

     8     Q.   That phone actually has a folding screen.         Right?

     9     A.   It appears to, yes.

    10     Q.   Now, that screen reflects the hard work of the Samsung

    11     engineers.    Correct?

    12     A.   I don't know if Samsung developed the screen or not.

    13     Q.   Well, Samsung has some of the most sophisticated high-end

    14     phones in the world, don't they?

    15     A.   They compete in the phone market, yes.

    16     Q.   Not just in the phone market.       They compete at the upper

    17     echelon of the phone market--Samsung.

    18     A.   They are a leading technology company.

    19     Q.   And the iPhone here is on the right as well.          Correct?

    20     A.   Yes, it is.

    21     Q.   Now, that also supports LTE.       Right?

    22     A.   Yes, it does.

    23     Q.   And Doctor Mahon, you're not here to say the Apple

    24     engineers have not done a lot of hard work of their own that

    25     went into the iPhone.       Correct?

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 267 of 293 PageID #: 48967
                                                                                267



     1     A.   I made no such statement.

     2     Q.   And there's a lot of features and innovations and

     3     technologies that resulted from Apple's own hard work.

     4     Correct?

     5     A.   Apple is known for innovations in the software area and

     6     in the screen area particularly.

     7     Q.   Now, there were some references -- and I'm not going to

     8     get into the numbers with you, but there were some references

     9     with the last witness.     You were there for that?

    10     A.   I was here for most of it.

    11     Q.   To Apple being successful from a profit perspective.           And

    12     I'm not going to get into the numbers right now, but did you

    13     hear that testimony?

    14     A.   I believe I did.

    15     Q.   And, sir, you'd agree from a technical perspective,

    16     technological perspective, there's a whole bunch of reasons

    17     for Apple's success beyond LTE.

    18     A.   You can think of Apple as a very sophisticated phone.

    19     Q.   Sir, my question is, from a technical perspective there's

    20     a whole bunch of reasons for Apple's success beyond LTE.

    21     A.   Well, I quibble with you a little bit there.

    22     Q.   Sir, if just practicing LTE made a company successful,

    23     everyone would do it.     Right?

    24     A.   So anyone who would meet the LTE standards could sell a

    25     phone.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 268 of 293 PageID #: 48968
                                                                                268



     1     Q.      Sir, if achieving the success of Apple just required LTE,

     2     everyone would do it.        Right?

     3     A.      I don't understand what you're asking.

     4     Q.      Sir, the reason why Apple's been so successful is because

     5     they don't just have LTE; they have an enormous assortment of

     6     features and technologies that they came up with through their

     7     own hard work.      Correct?

     8     A.      So not associated with the signaling technology, yes.

     9     Q.      You agree with me, sir.       Right?

    10     A.      Their screens are great.

    11     Q.      A lot more than just the screens being great.       You're not

    12     here to denigrate the work of the Apple engineers, are you?

    13     A.      Not at all.

    14     Q.      Okay.   Now, if we look at an Apple iPhone and just look

    15     at it from the outside and then go in -- would you be able to

    16     do that with me just for a few steps?

    17     A.      Sure.

    18     Q.      Okay.   So if we start on the outside, there's a glass

    19     case.    Correct?

    20     A.      Yes, a composite, yes.

    21     Q.      And if we were to crack open that glass case and look

    22     inside, there's going to be several hundred, if not thousands,

    23     of components.      Right?

    24     A.      There is many components.

    25     Q.      And even on the glass screen, if you look right behind

                                 Shawn M. McRoberts, RMR, CRR
                               Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 269 of 293 PageID #: 48969
                                                                                269



     1     it, there's a very sophisticated touch interface.          Right?

     2     A.      Yes.

     3     Q.      There's a very nice camera?

     4     A.      Typically, yes.

     5     Q.      There's multiple computer chips inside this device.

     6     Right?

     7     A.      Correct.

     8     Q.      And it would be true for a high-end Samsung phone as

     9     well.    Those also have lots of components within them.

    10     Correct?

    11     A.      They would have a lot of components, yes.

    12     Q.      Now, if we make our way down, we would eventually arrive

    13     at something called the baseband chip set.         Correct?

    14     A.      Correct.

    15     Q.      That includes not only a baseband chip but something

    16     called a power management chip.

    17     A.      Yes.

    18     Q.      And a transceiver.

    19     A.      Yes, indeed.

    20     Q.      Now, the baseband chip is a special type of computer

    21     chip.    Correct, sir?

    22     A.      Yes.   It's optimized for processing.

    23     Q.      And it's optimized for processing a very specific

    24     thing--cellular communications information.         Right?

    25     A.      Yes, such as we talked about today.

                                Shawn M. McRoberts, RMR, CRR
                              Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 270 of 293 PageID #: 48970
                                                                                270



     1     Q.     Now, you reviewed some source code in this case, didn't

     2     you?

     3     A.     Yes, I did.

     4     Q.     What source code did you review?      Where was it running?

     5     A.     I reviewed baseband processor code for Qualcomm and Intel

     6     chips.

     7     Q.     And that was the most relevant source code you could look

     8     at.    Correct?

     9     A.     That was the source code I could look at to see if the

    10     technologies were being practiced.

    11     Q.     But to be very clear, it was running on a baseband chip.

    12     Right?

    13     A.     It was running on the chip which interacts with other

    14     components, yes.

    15     Q.     And that would do the processing for all of the cellular

    16     standards that a device supports.       Correct?

    17     A.     No, I'd have to disagree with you there.

    18     Q.     It would run the code -- for example, LTE specification

    19     code would run on that baseband chip.        Right?

    20     A.     There are also other parts of the standard that run on,

    21     for example, the general processor, such as the TCP/IP stack.

    22     Q.     Sir,   true or false, there is LTE code running on the

    23     baseband chip.

    24     A.     That's true.

    25     Q.     Now, the LTE standard was developed by an organization

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 271 of 293 PageID #: 48971
                                                                                271



     1     called the European Telecommunications Standards Institute

     2     Correct?

     3     A.   That was one organization, yes.

     4     Q.   And a whole bunch of folks went to meetings at that

     5     organization to create the standard.        Right?

     6     A.   Yes.   I had to follow their meetings very closely for

     7     decades.

     8     Q.   And you know from your close following of those meetings

     9     that there were dozens of companies that went.         Right?

    10     A.   There were many companies involved in the process.

    11     Q.   It wasn't just Samsung, Panasonic, and LG.         Correct?

    12     A.   Attending the meetings, you mean?

    13     Q.   Attending the meetings; making proposals.

    14     A.   Well, in general there are many, many companies

    15     participating, but very limited companies actually making

    16     major contributions.

    17     Q.   Sir, Panasonic, Samsung, and LG were not the only

    18     companies making contributions.       Correct?

    19     A.   There were a few others.

    20     Q.   Qualcomm?

    21     A.   Qualcomm, yes.

    22     Q.   Intel went as well?

    23     A.   Intel was there, too, yes.

    24     Q.   And Qualcomm and Intel make baseband chips, or have

    25     historically.    Correct?

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 272 of 293 PageID #: 48972
                                                                                272



     1     A.   Correct.

     2     Q.   Now, the size of the LTE standard, we're talking about a

     3     pretty large document.     Correct?

     4     A.   Define the standard.

     5     Q.   The LTE standard technical specifications that have been

     6     promulgated by ETSI.

     7     A.   So TS documents that we're talking about and we're

     8     talking about documents pertinent to LTE.

     9     Q.   And those are thousands of pages long.         Correct?

    10     A.   Well, certain documents are limited to 70, 80, 100 pages;

    11     other documents are like 800 pages long.

    12     Q.   And if you add them up, thousands.

    13                 MR. SHEASBY:    Your Honor, I object as absolutely

    14     irrelevant--the lengths of the LTE specification.          There is no

    15     relevance whatsoever.

    16                 THE COURT:   Overruled.

    17     Q.   (BY MR. MUELLER)      Within that specification, Doctor

    18     Mahon, you believe the two patents that you looked at, '284

    19     and the '774, related to particular sections within LTE.

    20     Right?

    21     A.   Yes, it does.

    22     Q.   And I think you told the ladies and gentlemen of the jury

    23     a few of them, but let's just make sure we know all of them.

    24     These sections go by TS codes.       Is that right, sir?

    25     A.   Yes.   TS means technical specification.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 273 of 293 PageID #: 48973
                                                                                273



     1     Q.   Now, for the '774 Patent, you believe it's relevant to

     2     TS 36.201.   Correct?

     3     A.   Not 201, no.

     4     Q.   36.211?

     5     A.   211, yes.

     6     Q.   36.212?

     7     A.   Correct.

     8     Q.   36.213?

     9     A.   Correct.

    10     Q.   36.300?

    11     A.   No.

    12     Q.   36.331?

    13     A.   No.

    14     Q.   Okay.   But we can agree on -- why don't you give me the

    15     list of the ones you agree on?

    16     A.   211, 212, and 213.

    17     Q.   Thank you, sir.

    18          Now, for the '284 Patent, do you believe it's relevant to

    19     TS 36.201?

    20     A.   No.

    21     Q.   36.212?

    22     A.   Yes.

    23     Q.   36.213?

    24     A.   Yes.

    25     Q.   And 36.321?

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 274 of 293 PageID #: 48974
                                                                                274



     1     A.   No.

     2     Q.   Okay.   So give me the list of the ones you do agree with.

     3     A.   211, 212, and 213.

     4     Q.   Now, for those particular sections in the standard, other

     5     companies have also declared patents as essential.          Correct?

     6     A.   I'm not aware of any.

     7     Q.   You do understand, sir, that the five patents in this

     8     case are not the only patents that have been declared

     9     essential for LTE.     Right?

    10     A.   That's outside my area of expertise.

    11     Q.   Fair enough.     Fair enough.

    12          Now, the sections that you've just described, of course,

    13     are available for use by the world on a fair, reasonable and

    14     nondiscriminatory basis.      Correct?

    15     A.   Again, I'm not into licensing.       I don't know that.

    16     Q.   Let me ask you this, sir.       When you spoke with

    17     Mr. Sheasby about the testing that you relied on, he asked you

    18     the question if it mattered whether the testing were Android

    19     phones or Apple phones.      Do you recall those questions?

    20     A.   I do.

    21     Q.   And you said it didn't matter.       Right?

    22     A.   For the testing we were talking about, it didn't impact.

    23     Q.   Because, in your view, all of those different phones were

    24     using the same sections of the standard.        Correct?

    25     A.   No, that's incorrect.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 275 of 293 PageID #: 48975
                                                                                275



     1     Q.   Sir, you did rely on testing of a variety of different

     2     phones.   Correct?

     3     A.   Yes, I did.

     4     Q.   And you treated that as relevant to the value of the

     5     standard to Apple.     Fair?

     6     A.   Yes.

     7     Q.   Now, let's talk a bit more about the technologies and

     8     whether they are similar or dissimilar.        Do you have that

     9     subject in mind?

    10     A.   Yes.

    11     Q.   So let me start you off with an analogy.

    12                  MR. MUELLER:    If we could pull up DDX 54.5.

    13     Q.   (BY MR. MUELLER)       I'm going to ask you some questions

    14     about an analogy in which you're interested in buying a new

    15     truck.    Okay?

    16     A.   Okay.

    17     Q.   So let's assume you're interested in buying that truck on

    18     the left.    I think it's a Ford F150, and that's the one you

    19     are interested in.     Are you still with me?

    20     A.   I see, yes.

    21     Q.   Now, if you were interested in buying that vehicle, would

    22     you look at the prices of a Ferrari from a technological

    23     perspective to try to figure out what a fair price would be

    24     for the truck?

    25                  MR. SHEASBY:    Your Honor, I object.    This is

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 276 of 293 PageID #: 48976
                                                                                276



     1     completely unrelated to the technological analysis that

     2     Professor Mahon did.

     3                 THE COURT:   He is entitled to ask this kind of

     4     question.   It's a hypothetical.

     5          Go ahead, counsel.      Overruled.

     6                 MR. MUELLER:    Thank you, Your Honor.

     7                 THE WITNESS:    So I wouldn't speculate because the

     8     Ferrari and, quite frankly, the F150 have a lot of different

     9     technology components to them, and I'd have to see what

    10     components we are talking about.

    11     Q.   (BY MR. MUELLER)      Fair enough.

    12                 MR. MUELLER:    Let's go to the next slide, if we

    13     could.

    14     Q.   (BY MR. MUELLER)      What if we had a broken down vehicle

    15     that's pretty old.     Would you consider the price of that

    16     vehicle from a technological perspective to be relevant to the

    17     price of the truck?

    18     A.   I wouldn't speculate in that area.        It's not my field.

    19     Q.   So you can't tell me one way or the other if you would

    20     look at the price of the vehicle on the right and find that

    21     that would be relevant to the vehicle on the left?

    22     A.   Again, I'm not a mechanic.       I don't make those kind of

    23     decisions in my technical work.

    24     Q.   All right.    Let's look at the next one.

    25          What if you have a very similar but not quite identical

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 277 of 293 PageID #: 48977
                                                                                277



     1     truck.    Would you consider that to be relevant from a

     2     technological perspective to your truck purchase?

     3     A.   Again, it would depend on the chip sets and the

     4     technology in the particular vehicles whether they were

     5     technologically relevant.

     6     Q.   What if it were the exact same truck, if we go to the

     7     next slide, but a different color.       Technologically would you

     8     consider that to be relevant to your purchase?

     9     A.   My favorite color is red, so I prefer that one.

    10     Q.   So you'd actually put a higher value than the one on the

    11     right.    Do I have that?

    12     A.   Well, I'm not sure how I would be able to -- if it's the

    13     exact same technology in two vehicles, I don't think it would

    14     matter.

    15     Q.   Let's go one more.      What if it's the exact same truck

    16     from a technological perspective.       Will you be interested in

    17     knowing the price of precisely the same vehicle, same trim

    18     level, everything, but one is offered down the street, one's

    19     offered up the street?      Would you do some comparison shopping

    20     in that circumstance, sir?

    21     A.   I do comparative shopping.

    22     Q.   So in that case, you'd want to know what the two dealers

    23     have as a price to make sure they were in the same ballpark

    24     before you buy.

    25     A.   Well, I want the best price.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 278 of 293 PageID #: 48978
                                                                                278



     1     Q.   All right.    Let's talk about LTE.

     2                  MR. MUELLER:    And if we can go to the next slide.

     3     Q.   (BY MR. MUELLER)       If you were trying to figure out the

     4     value of an LTE patent from a technological perspective, would

     5     you look to a license covering patents for electrical plugs?

     6     A.   I see no relationship.

     7                  MR. MUELLER:    Let's go to the next slide.

     8     Q.   (BY MR. MUELLER)       You're familiar with the VCRs.     We all

     9     had one at one point.

    10     A.   Yes.

    11     Q.   And those actually had a standard, too.         In some VCRs it

    12     was called VHS.    That was the standard for the format of the

    13     videotape?

    14     A.   Yes.

    15     Q.   If you were interested in a license to LTE patents, would

    16     you consider from a technological perspective the VHS

    17     technology or a license to VHS technology?

    18     A.   I guess I can't understand the question because I don't

    19     see the connection between the two.

    20     Q.   Too far afield?

    21     A.   I don't see the connection.

    22                  MR. MUELLER:    All right.   Let's go to the next

    23     slide.

    24     Q.   (BY MR. MUELLER)       What if we were looking at a license to

    25     5G cellular?    Is that close enough?     Would you consider that

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 279 of 293 PageID #: 48979
                                                                                279



     1     to be a relevant data point for LTE?

     2     A.   I don't deal with licensing issues.

     3     Q.   Sir, I'm asking you from a technological perspective.

     4     That's what your expertise is.       Correct?

     5     A.   Correct.

     6     Q.   And from a technological perspective, would you consider

     7     a license on 5G to be relevant to a license on 4G?

     8     A.   Again, that's outside my areas of expertise.          I do not do

     9     licensing.

    10     Q.   So you can't offer this jury any opinion on the

    11     technological similarity or dissimilarity on that

    12     circumstance?

    13     A.   I can talk to the technology all day.         I cannot talk to

    14     licensing.

    15     Q.   Okay.    Just a couple of more for you, sir, if you would

    16     indulge me.

    17          What if we were to compare a license to LTE with a

    18     license to LTE.    We can certainly agree in that

    19     circumstance--same standard, it's relevant.         Correct.

    20     A.   I understand what you're saying, but again, this is

    21     outside my area of expertise.

    22     Q.   Sir, from a technological perspective, LTE is LTE.           Is

    23     that correct?

    24     A.   That is a correct statement.

    25     Q.   All right.    Let's go one more.     What about a license to

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 280 of 293 PageID #: 48980
                                                                                280



     1     the particular subsections of LTE that are at issue in my

     2     hypothetical and the particular subsections of LTE that are

     3     covered by another license.      That would be very relevant.

     4     Correct?

     5     A.   Again, I wouldn't speculate on licensing issues.

     6     Q.   But, sir, I'm just saying from a technological

     7     perspective, the subsections are exactly the same.          Right?

     8     A.   A TS 36.211 is a TS 36.211.

     9     Q.   The last few questions I have for you, Doctor Mahon.

    10          You spoke to the ladies and gentlemen of the jury about

    11     some performance testing.      Correct?

    12     A.   Yes.

    13     Q.   And you made some estimates as to the performance

    14     benefits of practicing the '284 and '774 patents.          Right?

    15     A.   Yes, I did.

    16     Q.   Now, to be clear, Doctor Mahon, you yourself did not do

    17     that testing.    Correct?

    18     A.   So I worked with, as I mentioned, a company for the '774

    19     to do the data collection.      I did the data analysis.      The

    20     '284, that was my math.

    21     Q.   Sir, I'm just saying, for the actual testing itself, you

    22     didn't do it.    Correct?    You say you did some analysis, but

    23     you didn't do actual testing yourself.        Correct?

    24     A.   I spoke to the engineers to make sure that I knew what

    25     they were going to do, and we designed the test together and

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 281 of 293 PageID #: 48981
                                                                                281



     1     they executed the tests.

     2     Q.      Now, the question I'm about to ask is not meant to get

     3     criticism, but you have been compensated for your time on this

     4     case.    Correct?

     5     A.      Yes, I have.

     6     Q.      You've been paid at this point over -- well over a

     7     hundred thousand dollars.        Is that right?

     8     A.      Yes.

     9     Q.      Okay.    But you didn't do this particular testing

    10     yourself.       Right?

    11     A.      That's correct.

    12     Q.      Now, you relied on an organization called TechPats.

    13     Correct?

    14     A.      Yes, I did.

    15     Q.      And if we could pull up the slide where you referred to

    16     their independent testing.        Here we go.

    17             You described this:      Independent testing using

    18     specialized equipment.         Right?

    19     A.      That is correct.

    20     Q.      Now, TechPats, what do you know about them?

    21     A.      I know they've been around for a number of years.        Their

    22     employees are engineers that have been working in the field

    23     for at least a decade or so.

    24                     MR. MUELLER:   If we could cull out as a

    25     demonstrative the TechPats web page.

                                  Shawn M. McRoberts, RMR, CRR
                                Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 282 of 293 PageID #: 48982
                                                                                282



     1     Q.   (BY MR. MUELLER)     Let me focus your attention if we

     2     could, sir, a little further down where it says, "When looking

     3     for patent litigation support services."        It says, "When

     4     looking for patent litigation support services"--right in the

     5     middle there--"you want a silent partner behind your patent

     6     litigation efforts who exemplifies expertise in intellectual

     7     property."

     8          Do you see that, sir?

     9     A.   Yes, I do.

    10     Q.   Silent partner.      Do you see that, sir?

    11     A.   I do see those words.

    12     Q.   And they're offering themselves out as a silent partner,

    13     not an independent testing facility.        Correct?

    14     A.   Well, I disagree based on my interactions with them.

    15     Q.   Sir, the words are not independent here.          It says silent

    16     partner.   Correct?

    17     A.   Incorrect.    That doesn't imply lack of independence.

    18     Q.   Sir, listen to my question.       The words silent partner are

    19     right here.    Correct?

    20     A.   That is correct.

    21     Q.   And above that, if we look at the paragraph right above,

    22     it talks about empowering you to achieve a favorable outcome

    23     for your case.    Do you see that?

    24     A.   I do see that.

    25     Q.   And that's what they're offering.        Right?

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 283 of 293 PageID #: 48983
                                                                                283



     1     A.      Those words are on the page.

     2     Q.      It doesn't talk about independence, but talks about

     3     helping you achieve a favorable outcome for your case.

     4     Correct?

     5     A.      It does, but that does not exclude independence.

     6     Q.      And this set of services they are offering are in the

     7     service of monetizing patents, and they describe that right

     8     here--monetized intellectual property patents.         Do you see

     9     that, sir?

    10     A.      No, I don't.

    11     Q.      Let's find the line here to make sure we are on the same

    12     page.    It's near the bottom, actually.      In fact, it talks

    13     about protecting my -- I'm sorry.

    14                  MR. MUELLER:    If you go a little further up.

    15     Q.      (BY MR. MUELLER)    We'll come back to this, sir.

    16             But it certainly talks about helping you achieve the best

    17     outcomes in court through the help of the silent partner.

    18     Right, sir.

    19     A.      The words are there.   I worked with engineers.      That's

    20     all I can say.

    21     Q.      Thank you, sir.    I have no further questions.

    22                  THE COURT:    You pass the witness, counsel.

    23                  MR. MUELLER:    I do, Your Honor.   I apologize.

    24                  THE COURT:    Is there redirect?

    25                  MR. SHEASBY:    Yes, Your Honor.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 284 of 293 PageID #: 48984
                                                                                284



     1                THE COURT:    Proceed with redirect.

     2                             REDIRECT EXAMINATION

     3     BY MR. SHEASBY:

     4     Q.   Professor Mahon, does this case have anything whatsoever

     5     to do with electrical plugs?

     6     A.   Absolutely not.     The complexity between the analogy used

     7     for the electrical plug and the LTE standards, which I spent

     8     decades studying in detail and sweating over, there is -- it

     9     has nothing to do with the two.

    10                THE COURT:    Doctor Mahon, you answered the question

    11     fully when you said "absolutely not."        If counsel had wanted

    12     you to explain further, he'd ask you to.        Please try to limit

    13     your answers to the questions asked.

    14                THE WITNESS:    Yes, sir.

    15                THE COURT:    All right.    Next question, Mr. Sheasby.

    16     Q.   (BY MR. SHEASBY)     What is unique about the data sets that

    17     TechPats had available?

    18     A.   The data sets that TechPats had available offered me a

    19     view of how the network technology evolved over time.

    20     Q.   Who showed more use of the '774 Patent--the TechPats data

    21     or Apple's own internal data?

    22     A.   Apple's own internal data actually showed greater use of

    23     the transmission mode associated with the '774 technology than

    24     the TechPats data.

    25     Q.   What number did you choose--the higher number or the

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 285 of 293 PageID #: 48985
                                                                                285



     1     lower number?

     2     A.   I used the lower number in my analysis.

     3                MR. SHEASBY:    Can we have DDX 51.15?      Or Mr. Huynh,

     4     if you are in control, that would be Mr. Blasius' slide five.

     5     Q.   (BY MR. SHEASBY)     Do you remember this slide that was

     6     shown to you by counsel?

     7     A.   Yes, I do.

     8     Q.   Do you know what the LTE download speed is of these

     9     phones?

    10     A.   I don't off the top of my head, but I think it's around

    11     100 megabits per second.

    12     Q.   So the LTE speed for these phones is about a hundred

    13     megabits per second.

    14     A.   That is based on my recollection, yes.

    15     Q.   Do you know what the LTE download speed is of the iPhone

    16     11 Pro Max?

    17     A.   Yes, I do.

    18     Q.   What is it?

    19     A.   1.6 gigabytes per second.

    20     Q.   How much more capacity -- how much more LTE does the

    21     iPhone 11 Pro Max use than the Doro and BLU phone?

    22     A.   So if you do the math, it's a factor of 16.

    23                MR. SHEASBY:    Pass the witness, Your Honor.

    24                THE COURT:    Is there additional cross?

    25                MR. MUELLER:    Yes, Your Honor, briefly.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 286 of 293 PageID #: 48986
                                                                                286



     1                THE COURT:    All right.    Proceed with additional

     2     cross, Mr. Mueller.

     3                MR. MUELLER:    Thank you, Your Honor.

     4                              RECROSS EXAMINATION

     5     BY MR. MUELLER:

     6     Q.   Just a few final questions for you, Doctor Mahon.

     7          In addition to TechPats, you also relied on a Doctor

     8     Royer.   Do I have that right?

     9     A.   There is a Mr. Royer that supervised the testing, and I

    10     relied on his tests -- I'm sorry.       His report and the data.

    11     Q.   Mr. Royer.     Is that right, sir?

    12     A.   Mr. Royer, yes.

    13     Q.   Do you know that Mr. Royer didn't keep all the data?

    14     A.   That would not surprise me because it's typical in a

    15     testing scenario.

    16     Q.   Sir, he didn't keep all the data, did he?

    17     A.   I would not be surprised because I do that all the time.

    18     When I'm setting my test up, I get rid of data.

    19     Q.   I'm not if you are surprised.       He didn't keep all the

    20     data, did he?

    21     A.   I haven't been informed whether he did or he didn't.

    22                MR. MUELLER:    Pull up the demonstrative from just

    23     now one last time, the various phones.

    24     Q.   (BY MR. MUELLER)     Mr. Sheasby focused your attention on

    25     the low cost phones on the left-hand side.         Right, sir?

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 287 of 293 PageID #: 48987
                                                                                287



     1     A.   We looked at three of the phones on this slide.

     2     Q.   And he compared those to the iPhone.        Right?

     3     A.   We did a speed comparison.

     4     Q.   Sir, there's actually another phone on the screen.

     5     Correct?

     6     A.   Yes.

     7     Q.   It's a Samsung phone.      Right?

     8     A.   Yes, it is.

     9     Q.   And that's an awfully fancy, powerful, high-speed Samsung

    10     phone.   Correct?

    11     A.   I know the display technology is very expensive.

    12     Q.   Sir, that is a high-end, high-performance Samsung phone.

    13     Correct?

    14     A.   To my knowledge, yes.

    15     Q.   And, sir, you understand from the testimony in this case

    16     that Samsung has a license to the very same five patents at

    17     issue in this case.      You know that, sir.    Right?

    18     A.   Again, licensing isn't my area.

    19     Q.   Sir, did you hear the testimony that Samsung has a

    20     license to these five patents?

    21     A.   I was in the room during licensing discussions.

    22     Q.   Doctor Mahon --

    23                 THE COURT:    Wait a minute.    Did you hear it or not

    24     hear it?    Answer the question.

    25                 THE WITNESS:    Yes, I did.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 288 of 293 PageID #: 48988
                                                                                288



     1     Q.   (BY MR. MUELLER)      And Doctor Mahon, you understand that

     2     the five patents, for which the ladies and gentlemen of the

     3     jury need to set a FRAND rate, from a technological

     4     perspective are the identical five patents within the Samsung

     5     licenses.   Correct?

     6     A.   I believe -- to my knowledge, that seems correct, but I

     7     didn't exactly pay attention to the details.

     8     Q.   Let's put it this way.      His Honor has instructed the jury

     9     these are standard essential patents.        Correct?

    10     A.   Correct.

    11     Q.   That means they are essential to the standard that

    12     everybody uses.    Correct?

    13     A.   Correct.

    14     Q.   Apple doesn't get a different version of those patents.

    15     Correct?

    16     A.   Not that I'm aware of, no.

    17     Q.   They get the same version from a technological

    18     perspective that Samsung got.       Correct?

    19     A.   It's my understanding a patent is a patent, yes.

    20     Q.   Thank you, sir.     Nothing further.

    21                 MR. MUELLER:    No further questions, Your Honor.

    22                 THE COURT:   Additional direct?

    23          Go ahead, Mr. Sheasby.

    24                              REDIRECT EXAMINATION

    25     BY MR. SHEASBY:

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 289 of 293 PageID #: 48989
                                                                                289



     1     Q.      Do you know what the LTE download capacity of the Samsung

     2     Galaxy Fold?

     3     A.      I would be speculating.    I know it's above a gigabyte,

     4     but I don't know exactly what the speed is.

     5     Q.      Before counsel was speaking about saving data, tell me

     6     why data is not often saved in testing?

     7     A.      So when you go to do a field test, you set up your

     8     equipment and you check it out to bring out any errors or

     9     problems, cabling issues, antenna problems, data collection

    10     issues, and you collect data, you analyze it to see if the

    11     system is working, and then you flush all of that because you

    12     want to keep careful records of the system configuration and

    13     what you're collecting from that point forward, so it's

    14     typical to get rid of that kind of data, setup data.

    15     Q.      Did you examine the actual data sets used by TechPats?

    16     A.      Yes, I did.

    17     Q.      Are you satisfied with their integrity?

    18     A.      Yes, I am.

    19                  MR. SHEASBY:    Pass the witness, Your Honor.

    20                  THE COURT:    Additional cross examination?

    21                  MR. MUELLER:    I have nothing further for Doctor

    22     Mahon, Your Honor.

    23                  THE COURT:    All right.   Doctor Mahon, you my step

    24     down.

    25                  THE WITNESS:    Thank you, sir, Your Honor.

                                  Shawn M. McRoberts, RMR, CRR
                                Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 290 of 293 PageID #: 48990
                                                                                290



     1                 THE COURT:   You're welcome.

     2          Ladies and gentlemen of the jury, we're going to recess

     3     for the evening.

     4          I'm going to ask you to take your notebooks to the jury

     5     room when you leave the courtroom.       Leave them closed on the

     6     table there.    Please travel safely to your homes overnight.

     7          Let me remind you that we're going to try to start

     8     promptly at 8:30 in the morning.       Try to arrange your travel

     9     wherever you're coming from so that you can be here in advance

    10     of that time and we can start at 8:30.        I might also remind

    11     you that, in addition to the weather, check your local school

    12     district.   There are a lot of kids starting school in the next

    13     couple of days that may put school busses and other vehicles

    14     on the road, so take all those factors into account.

    15          Please follow all my instructions, including among them

    16     not to communicate about this case with anyone in any way.

    17     Have a good evening, and you are excused until tomorrow

    18     morning.

    19                 (Whereupon, the jury left the courtroom.)

    20                 THE COURT:   Counsel, be seated, please.

    21          For your information, we've used a total of two hours and

    22     43 minutes of allocated trial time today.        Plaintiff has used

    23     an hour and 25 minutes and the Defendant has used an hour and

    24     17 minutes.

    25          Let me also remind you to follow my clear instructions on

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 291 of 293 PageID #: 48991
                                                                                291



     1     meeting and conferring overnight and reporting to the Court

     2     any disputes that can't be resolved through your strenuous

     3     meet and confer efforts.      I'll be available in chambers by

     4     7:30 tomorrow morning if we need to meet and take anything up.

     5          Are there any issues either party needs to raise before

     6     we recess for the evening?

     7                MR. BAXTER:    Can Doctor Mahon be excused if he needs

     8     to be?

     9                THE COURT:    I see no reason why not.

    10          Is there any objection?

    11                MR. MUELLER:    No, Your Honor.

    12                THE COURT:    Doctor Mahon, you are excused.

    13          Anything from Defendant?

    14                MR. MUELLER:    Just one, Your Honor.      And I don't

    15     want to belabor this now, but I will come back to Your Honor

    16     if we keep hearing language like 'takers'.         I think that runs

    17     afoul of the MIL on hold out inflammatory language.          I didn't

    18     want to interrupt today, but I would ask that we --

    19                THE COURT:    Don't tell me what you're going to do.

    20     If you think there's been a MIL violation, you are entitled to

    21     raise an objection and I will deal with it when you raise it.

    22                MR. MUELLER:    I do object to the language 'taker'.

    23                THE COURT:    Well, raise it when a violation takes

    24     place and then I will consider it a timely objection.

    25                MR. MUELLER:    Understood.    Thank you, Your Honor.

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 292 of 293 PageID #: 48992
                                                                                292



     1                THE COURT:    All right.    We stand in recess until

     2     tomorrow morning.

     3                (The proceedings were concluded at 6:15 p.m.)

     4

     5

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
Case 2:19-cv-00066-JRG Document 691 Filed 09/01/21 Page 293 of 293 PageID #: 48993
                                                                                293



     1                            I HEREBY CERTIFY THAT THE FOREGOING IS A

     2                            CORRECT TRANSCRIPT FROM THE RECORD OF

     3                            PROCEEDINGS IN THE ABOVE-ENTITLED MATTER.

     4                            I FURTHER CERTIFY THAT THE TRANSCRIPT FEES

     5                            FORMAT COMPLY WITH THOSE PRESCRIBED BY THE

     6                            COURT AND THE JUDICIAL CONFERENCE OF THE

     7                            UNITED STATES.

     8

     9                            S/Shawn McRoberts                   08/10/2021

    10                            __________________________DATE____________
                                  SHAWN McROBERTS, RMR, CRR
    11                            FEDERAL OFFICIAL COURT REPORTER

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

                               Shawn M. McRoberts, RMR, CRR
                             Federal Official Court Reporter
